            Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 1 of 97 PageID 11




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 22530242
Notice of Service of Process                                                                            Date Processed: 01/07/2021

Primary Contact:           Arnold D'Angelo
                           Zurich North America
                           1299 Zurich Way
                           Schaumburg, IL 60196-1056

Electronic copy provided to:                   Vicky Russell

Entity:                                       Empire Indemnity Insurance Company
                                              Entity ID Number 2747028
Entity Served:                                Empire Indemnity Insurance Company
Title of Action:                              Las Brisas Condominium Homes Condominium Association, Inc. vs. Empire
                                              Indemnity Insurance Company
Matter Name/ID:                               Las Brisas Condominium Homes Condominium Association, Inc. vs. Empire
                                              Indemnity Insurance Company (8661333)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Lee County Circuit Court, FL
Case/Reference No:                            20-CA-008541
Jurisdiction Served:                          Florida
Date Served on CSC:                           01/07/2021
Answer or Appearance Due:                     20 Days
Originally Served On:                         FL Chief Financial Officer on 01/04/2021
How Served:                                   Electronic SOP
Sender Information:                           Shaun J. Marker
                                              561-855-2120

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                 Exhibit "C:
             Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 2 of 97 PageID 12
                                                                                                 *21000000535*

 CHIEF UNANCIALOFHCER
 JIMMY PATRONIS
      S rAIE Of FLORIDA




LAS BRISAS CONDOMINIUM HOMES                                          CASE #:      20-CA-008541
CONDOMINIUM ASSOCIATION, INC.                                         COURT:       20TH JUDICIAL CIRCUIT COURT
                                                                      COUNTY:      LEE
PLAINTIFF(S)                                                          DFS-SOP #:   21-000000535

VS.

EMPIRE INDEMNITY INSURANCE COMPANY

DEFENDANT(S)

SUMMONS, COMPLAINT, NOTICE OF PROVIDING ELECTRONIC MAIL ADDRESS, STANDING ORDER IN CIVIL
CASES IN THE TWENTIETH JUDICIAL CIRCUIT AMENDED MARCH 10 2020




                                NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on Monday,
January 4, 2021 and a copy was forwarded by ELECTRONIC DELIVERY on Thursday, January 7, 2021
to the designated agent for the named entity as shown below.


           EMPIRE INDEMNITY INSURANCE COMPANY
           LYNETTE COLEMAN
           1201 HAYS STREET
           TALLAHASSEE, FL 32301




*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent filings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080



                                                                      ?W?11;~-
                                                                      Jimmy Patronis
                                                                      Chief Financial Officer




SHAUN JAMES MARKER
MERLIN LAW GROUP, P.A.
222 LAKE VIEW AVENUE
SUITE 950
WEST PALM BEACH, FL 33401                                                                               BB1




                                      Office of the General Counsel Service of Process Section
                                                                  -



                          200 East Gaines Street P.O. Box 6200- Tallahassee, FL 32314-6200 (850)413-4200
                                               -                                            -
                    Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 3 of 97 PageID 13
      Filing # 118528354 E-Filed 12/21/2020 10:39:22 AM

                                 IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL
                                      CIRCUIT IN AND FOR LEE COUNTY, FLORIDA
                                                   CIVIL DIVISION

                                                                                   CASE NO.:      20-CA-008541
                  LAS BRISAS CONDOMINIUM HOMES
                  CONDOMINIUM ASSOCIATION, INC.,

                                Plaintiff,
                  vs.

                  EMPIRE INDEMNITY INSURANCE COMPANY,

                                Defendant.


                                                             SUMMONS
                  THE STATE OF FLORIDA
                  TO EACH SHERIFF OF THE STATE:

                         YOU ARE COMMANDED to serve this Summons and a copy of the Complaint or
                  Petition in this action on the Defendant(s):

                                              Empire Indemnity Insurance Company
WE                                                 Chief Financial Officer as RA
I-
co                                                   200 East Gaines Street
                                                 Tallahassee, FL 32399-4201

                         Each Defendant is required to serve written defenses to the Complaint or Petition
              E   on Plaintiff's Attorney, whose name and address is:

i o                                           Shaun J. Marker, Esquire
co
   w.                                       Florida Bar Number 0017378
                                          222 Lakeview Avenue, Suite 1250
                                           West Palm Beach, Florida 33401
                         s.markermerlinlawgroup.com AND rgregorymerlinlawgroup.com AND
LU
WQ
     C4   .   '                           dmyskowski@merlinlawgroup.com

                  within 20 days after service of this Summons upon the Defendant, exclusive of the day of
                  service, and to file the original of the written defenses with the Clerk of this Court either
                  before service on Plaintiff or immediately thereafter. If a Defendant fails to do so, a default
                  will be entered against the Defendant for the relief demanded in the Complaint or Petition.

                         DATED: This                day of    12/23/2020                ,2020.

                                                    Linda Doggett    As Clerk of the Court

                                                              By_____
                                                                            As Deputy Clerk




                                             eFiled Lee County Clerk of Courts Page 1
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Filing# 118528354 E-Filed 12/21/2020 10:39:22 AM



                       IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL
                            CIRCUIT IN AND FOR LEE COUNTY, FLORIDA

                                            CIVIL DIVISION

                                                                      CASE NO.:     20-CA-008541
        LAS BRISAS CONDOMINIUM HOMES
        CONDOMINIUM ASSOCIATION, INC.,

              Plaintiff,

        vs.

        EMPIRE INDEMNITY INSURANCE COMPANY,

              Defendant.


                                    COMPLAINT FOR BAD FAITH

              Plaintiff, LAS BRISAS CONDOMINIUM HOMES CONDOMINIUM ASSOCIATION,

        INC., by and through the undersigned counsel hereby files this Complaint for Bad Faith

        and Demand for Jury Trial against Defendant, EMPIRE INDEMNITY INSURANCE

        COMPANY, and as grounds therefore would state as follows:

                                      GENERAL ALLEGATIONS

              1.      The amount in controversy in this action exceeds the sum of Thirty

        Thousand and 00/100 ($30,000.00) Dollars, exclusive of pre-judgment interest, court

        costs, and attorney fees.

              2.      At all times relevant hereto, Plaintiff was and is the owner of the property

        located in Lee County at the addresses 9050, 9060, 9070 Palmas Grandes Boulevard,

        Bonita Springs, Florida 34135 and 28060 Palmas Grandes Lane, Bonita Springs, Florida

        34135.

              3.      Upon information and belief, at all times relevant hereto, Defendant is and

        was a Florida Corporation doing business in the State of Florida, including Lee County.
                                                Page 1 0f2
  Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 5 of 97 PageID 15




       4.      Upon information and belief, Defendant is an authorized insurance carrier

by the State of Florida to engage in the business of insurance with Plaintiff.

       5.      In consideration of the premium paid by Plaintiff, Defendant issued to

Plaintiff in Lee County, Florida, a Policy of Insurance, Policy No. ECL9490372-04, which

was in full force and effect at the time the damage occurred to the insured premises

located at 9050, 9060, 9070 Palmas Grandes Boulevard, Bonita Springs, Florida 34135

and 28060 Palmas Grandes Lane, Bonita Springs, Florida 34135, of or about September

10, 2017. A copy of the applicable Commercial Lines Policy is attached hereto as

Exhibit "A."

       6.      Jurisdiction and venue are proper before this Court.

       7.      On or about September 10, 2017, the subject property was damaged as a

result of a Hurricane Irma loss event, which is a covered peril under the Policy.

       8.      Plaintiff timely submitted the insurance claim to Defendant.

       9.      Defendant assigned claim number 5630013280 to the loss.

       10.     All conditions precedent to obtaining payment of insurance benefits under

the Policy issued by Defendant have been complied with, met, or waived.

       11.     Plaintiff made an application for benefits under the policy, but Defendant,

refused to pay all of the benefits owed to Plaintiff for the subject loss.

       12.     Defendant originally accepted coverage for the claim but failed to

adequately assess and pay for all damages sustained as a result of the subject loss.

       13.     Defendant wrongfully failed and refused to promptly tender all insurance

benefits due and owing to Plaintiff.

       14.     As a result, Plaintiff filed, as a condition precedent to the instant action, a

Civil Remedy Notice of Insurer Violations dated September 20, 2018, with the Florida

                                          Page 2 of 3
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Department of Financial Services. A copy of the filing for the Civil Remedy Notice of

Insurer Violations is attached hereto as Exhibit "B." Same was sent to Defendant by

email and Certified Mail, Return Receipt Requested.           See correspondence dated

September 20, 2018 attached hereto as Exhibit "C."

        15.     Section 624.155(2)(d), Florida Statutes, provides: (d) No action shall lie if,

within 60 days after filing notice, the damages are paid or the circumstances giving rise

to the violations are corrected."

        16.     In a letter dated August 7, 2019, Defendant invoked the Appraisal provision

of the subject policy. A copy of the August 7, 2019 letter is attached hereto as Exhibit



        17.     Plaintiff and Defendant engaged the appraisal process, which ultimately

resulted in an Appraisal Award in favor of Plaintiff. A copy of the Appraisal of Insurance

Claim   -   Award Form dated July 8, 2020 attached hereto as Exhibit "E."

        18.     Defendant did not pay damages or correct the circumstances within the

mandated sixty (60) days of the Civil Remedy Notice of Insurer Violation. See, Fla. Stat.

Sect. 624.155. More specifically, Defendant failed to tender proper insurance benefits or

correct the advised of statutory violation until over a year following the filing of the Civil

Remedy Notice of Insurer Violations.

        19.     An insurance contract is a contract of adhesion and should be construed in

the light most favorable to the insured.

        20.     The concept of insurance is that the insurance is the insurer's granting of

prompt indemnity or security against a contingent loss.




                                           Page 3 of 4
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       21.     Inherent in any insurance contract is the premise that payment must be

made promptly so that the insured may mitigate the damages and be put back into the

position they were prior to the loss as quickly as possible.

       22.     Florida Statute Section 626.877 entitled, Adjustments to comply with

insurance contract law," states that [e]very adjuster shall adjust or investigate every

claim, damage, of loss made or occurring under an insurance contract, in accordance

with the terms and conditions of the contract and of the applicable laws of this state."

       23.     Florida Statute Section 627.4135 entitled, Casualty insurance contracts

subject to general provisions for insurance contracts," states that [a]ll contracts of

casualty insurance covering subjects business, located, or to be performed in this state

shall be subject to the applicable provisions of this part and to the other applicable

provisions of this code."

       24.     In Florida, the work of adjusting insurance claims engages the Public Trust.

             COUNT I   -   UNFAIR CLAIMS PRACTICES PURSUANT TO FLA. STAT.
                                SECTIONS 624.155 AND 626.9541

       25.     Plaintiff re-alleges the allegations contained in paragraphs 1 through 27 as

if fully set forth herein and further states the following.

       26.    As a condition of recovery to this action, all underlying contractual issues in

the above-noted claim were resolved favorably to Plaintiff. Plaintiff received substantially

more in damages at the conclusion of the appraisal process than was ever adjusted

previously by Defendant.

       27.     Defendant did not pay damages or cure the circumstances within sixty (60)

days of the Notice of Acceptance of Plaintiff's Civil Remedy Notice of Insurer Violation by

the Department of Financial Services, September 20, 2018.



                                           Page 4 of 5
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       28.       Defendant is engaged in the business of insurance and is subject to the

Florida statutes, Florida regulations, and Florida law while involved and engaged in the

business of insurance.

       29.       Rather than carrying out its contractual, statutory, regulatory, and ethical

duties, Defendant committed acts during the adjustment of the claim and underlying

appraisal, which were not in good faith" and were in violation of Florida Statute Sections

624.155(1)(b)(1) and 626.9541 (1)(i) et        g. These acts include, but are not limited to,

the following:

             a. Delaying to adjust Plaintiff's subject claim;

             b. Delaying the adjustment process;

             c. Delaying the appraisal process;

             d. Mishandling of Plaintiff's claim;

             e. Improperly attempting to not pay all covered damages;

             f. Underestimating the value of Plaintiff's claim;

             g. Failing to properly train, supervise, or otherwise manage adjusters,

                 representatives, and investigators of Defendant to properly, and in good

                 faith, investigate and adjust claims so that a prompt and fair evaluation of

                 the claim can be made and proper indemnity be paid, resulting in the failure

                 to timely pay a covered claim;

             h. Failing to adopt and implement standards for the proper investigation of

                 Plaintiff's claim, resulting in the aforementioned conduct;

             i. Misrepresenting and/or omitting pertinent facts related to the coverages

                 and/or facts of the loss at issue, so as to provide an illegitimate basis for




                                           Page 5 of 6
  Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 9 of 97 PageID 19




                  delay of the claim, including the obligations of both the insured and the

                  insurer during the adjustment of this claim;

             j. Failing to acknowledge and act promptly upon written and oral

                  communications with respect to the claim, such that Defendant itself caused

                  the delays in adjustment and payment of the claim;

             k. Delay of Plaintiff's claim without conducting a reasonable investigation

                  based upon available information;

             I.   Misuse of the claims handling process to pay less than what is owed so that

                  Defendant reaped profits;

             m. Failing to properly supervise its independent adjusters and verify that they

                  were properly trained/licensed; and

             n. Failing to supervise the subject claim resulting in, and subjecting Plaintiff to,

                  aggressive tactics.

       30.        The above conduct demonstrates a failure to comply in good faith with the

terms and conditions of the insurance policy.

       31.        Due to the aforementioned actions, Plaintiff's complained of damages

include, but are not limited to:

             a. Costs associated with the professional assistance to submitting and

                  maintaining the claim;

             b. Interest and pre-judgment interest;

             c. Non-taxable costs;

             d. Non-reimbursed attorney fees;

             e. Costs of appraisal;

             f. Other damages according to proof;

                                              Page 6 of 7
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          g. That Plaintiff has retained the undersigned attorney and have agreed to pay

              them reasonable fees and costs which are compensable pursuant to Florida

              Statute Section 624.155, et

       WHEREFORE, Plaintiff, LAS BRISAS CONDOMINIUM HOMES CONDOMINIUM

ASSOCIATION, INC., demands judgment against Defendant, EMPIRE INDEMNITY

INSURANCE COMPANY, for actual and compensatory damages, post judgment interest,

pre-judgment interest, costs, attorney fees, disgorge of all unlawful or illegitimate monies

Defendant profited by its bad faith claim handling practices or unfair insurance claims

practices utilized against its insured, including but not limited to, any interest or monies

Defendant made from such unlawful or illegitimate monies, as well as any other damages

and relief that are deemed just and proper by this Court.

                                   DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all issues so triable.

       Dated: December 21, 2020

                                           Is! Shaun J. Marker, Esquire
                                           SHAUN J. MARKER, ESQUIRE
                                           Florida Bar No. 0017378
                                           ROBERT H. GREGORY, ESQUIRE
                                           Florida Bar No. 0101736
                                           MERLIN LAW GROUP, P.A.
                                           222 Lakeview Avenue, Suite 1250
                                           West Palm Beach, FL 33401
                                           561-855-2120 I 561-249-1283 fax
                                           s. marker(merlinlawciroup. com
                                           rqreqory(merlinlawqroup. com
                                           dmyskowski(merlinlawqroup. com
                                           Attorneys for Petitioners




                                          Page 7 of 7
Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 11 of 97 PageID 21




.1ii1iiiT1.Th1 Unes Policy


  This policy consists of:
  • Declarations
  • Common policy conditions
  • One or more coverage parts

  A coverage part consists of:
  • One or more coverage forms
  • Applicable forms and endorsements




  Empire Indemnity Insurance Company
  Executive Office:
  13810 FN Parkway, P0 Box 542003
  Omaha, Nebraska 681548003
  Phone: 800-228-9283

  A Stock Company




                                        EXHIBIT
                                                                     EM 25 02 (08-07)
      Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 12 of 97 PageID 22




Important Claim Reporting Information
                                                                           0
                                                                        ZURICH




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                                                                           EM 25 06 (04/16)
                                                                               Page 1 of 1
       Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 13 of 97 PageID 23




Policy Number: ECL9490372-04
Renewal Number: ECL9490372-03

 El     EMPIRE FIRE AND MARINE INSURANCE COMPANY            I Agent
                                                              49605253
 EXI    EMPIRE INDEMNITY INSURANCE COMPANY
                                                            I Hull & Company, Inc., DBA Sigma Underwriting Managers
        Executive Office: 13810 FNB Parkway, P.O. Box 542003 4000 Hollywood Blvd., Suite 350 North Tower
                                                            I
        Omaha, Nebraska 681548003                           I Hollywood, FL 33021
NAMED INSURED: Las Brisas Condominium Homes Condominium Association, Inc


MAILING ADDRESS: do Resort Management
                2685 Horseshoe Drive S, #215                                                                            Flat Cancellation
                Naples, FL 34104                                                                                         Not Permitted

POLICY PERIOD: FROM                    03/27/2017            TO            03/27/2018                  12:01 A.M. Standard Time At Your Mailing
                                                                                                       Address Shown Above. (Unless otherwise
                                                                                                       endorsed)

Business Description Operators Of Dwellings Other Than Apartment Buildings

 IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH
 YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED. THIS PREMIU
                                    MAY BE SUBJECT TO ADJUSTMENT.
                                                                                                                                PREMIUM
  Commercial Property                                                                                               $                       33,351.00
  Commercial General Liability                           PLEASE EXAMINE THIS                                        $                     Not Covered
  Commercial Crime                                       DOCUMENT CAREFULLY. IF ANY                                                       Not Covered
                                                                                                                    $
                                                         OF THE TERMS OR CONDITIONS
  Commercial Inland Marine                               VARY FROM THOSE THAT YOU                                   $                     Not Covered
                                                         REQUESTED, PLEASE NOTIFY US
  Certified Acts of Terrorism                                                                                       $                         Rejected
                                                         IMMEDIATELY IN WRITING
                                                                                                            Total   $                         33,351.00
  Insured Producer:                                                                            Inspection Fee       $                            675.00
  Lutgert Insurance, 1395 Panther Lane Ste 100, Naples FL                                          Policy Fee       $                             35.00
  34109
                                                                                            Surplus Lines Tax       $                          1,703.05
                                                                                          Stamping Office Fee       $                             51.09
                                                                                                   EMPA Fee         $                              4.00
                                                                                                                    $
                                                                                                                    $
                                                                                                         TOTAL      $                         35,819.14
  Premium shown is payable       At Inception D Per Payment Form Attached
  Audit Period: Annual, unless otherwise stated

  FORMS APPLICABLE TO ALL COVERAGE PARTS (SHOW NUMBERS):
  See Attached Schedule Of Endorsements
                                                                                                   -




Date Issued:         04/10/2017                               Countersigned By

COINSURANCE CONTRACT THE RATE CHARGED IN THIS POLICY
                               -                                                                                              tFve
IS BASED UPON THE USE OF THE COINSURANCE CLAUSE                                                          Jeffrey Haupert
ATTACHED TO THIS POLICY, WITH THE CONSENT OF THE INSURED                                                 Surplus Lines Agent A113850


This insurance is issued pursuant to the Florida Surplus Lines Law. Persons Insured by Surplus Lines Carriers do not have the protection of
the Florida Insurance Guaranty Act to the extent of any right of recovery for the obligation of an Insolvent unlicensed insurer.


EM 36 01(03-03)                                       Includes copyrighted material of ISO Properties                                             Page 1 of 1
      Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 14 of 97 PageID 24




               COMMERCIAL PROPERTY COVERAGE PART
                      DECLARATIONS PAGE
POLICY NUMBER:             ECL9490372-04         EFFECTIVE DATE:         03/27/2017            0 "X°" If Supplemental
RENEWAL NUMBER:            ECL9490372-03                                                         Declarations Is Attached

 lAMED INSURED
 Las Brisas Condominium Homes Condominium Association, Inc



Prem.    Bldg.      Location, Construction And Occupancy
No.      No.
 See Attached Schedule, SUM 05

COVERAGES PROVIDED                Insurance At The Described Premises Applies Only For Coverages For Which A Limit
                                  Of Insurance Is Shown
Prem. Bldg.                                                     Limit            Covered
No.   No.   Coverage                                        Of Insurance      Causes Of Loss          Coinsurance*        Rates

 See Attached Schedule, SUM 01
                                                         *If Extra Expense Coverage, Limits On Loss Payment
                                                    When Entries Are Made In The Schedule Below
Prem.    Bldg.                                                                                          Cost
No.      No.        Expiration Date       Coy.         Amount           Building          Pers. Prop.          Including "Stock"



            Inflation Guard (%)            *Monthly Limit Of                Maximum Period                  *Extended Period
            Bldg.      Pers. Prop.         Indemnity (Fraction)             Of Indemnity (X)                Of Indemnity (Days)

 See Attached Schedule (If Applicable), SUM 03

                                  *Applies to Business Income Only


                             PREMIUM FOR ENDORSEMENTS:              $33,351.00
               STATE TAX OR OTHER (if applicable):                   $2,468.14
                               TOTAL PREMIUM:                       $35,819.14
MORTGAGEHOLDERS
Prem. No.      Bldg. No.   Mortgageholder Name And Mailing Address

  See Attached Schedule (If Applicable), SUM 04

DEDUCTIBLE                                                                                      EARTHQUAKE DEDUCTIBLE
 See Attached Schedule, SUM 02                                                                      See Attached Schedule, SUM 01     -


                                                                                                    General Policy Information (If Applicable)
 FORMS APPLICABLE TO ALL COVERAGES:
 To All Coverages:

  See Attached Schedule of Endorsements, U-GU-619-A CW (10/02)




EM 36 06 (03-02)      Includes copyrighted material of ISO Properties, Inc., with its permission.                    Page 1 of I
             Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 15 of 97 PageID 25




POLICY NUMBER: ECL9490372-04

                                          COVERAGES PROVIDED SCHEDULE

                                             Location Coverage Information

Prem. Bldg.   Item                         Limit of      Covered
 #     #    Description Coverage          Insurance    Causes of Loss    Valuation    Coins.%      Rate    Premium


1        1    Location       Building     $1,611,131    Special Form    Replacement     Waived,    0.400   $6,445
              1/Building                                                   Cost       Agreed Value

1        1    Location     Ordinance or                                                                    $100
              1/Building       Law

1        1    Location     Equipment                                                                       $512
              1/Building   Breakdown

1        2    Location       Building     $1,932,403    Special Form    Replacement     Waived,    0.400   $7,730
              1/Building                                                   Cost       Agreed Value

1        3    Location       Building     $2,318,684    Special Form    Replacement     Waived,    0.400   $9,275
              1/Building                                                   Cost       Agreed Value

1        4    Location       Building     $2,318,684    Special Form    Replacement     Waived,    0.400   $9,275
              1/Building                                                   Cost       Agreed Value

1        5    Location       Building     $3,596        Special Form    Replacement     Waived,    0.400   $14
              1/Building                                                   Cost       Agreed Value




SUM 01
          Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 16 of 97 PageID 26




POLICY NUMBER: ECL9490372-04

                                                   [t.AYA1cI*1th(s1v1I,]1iM:liliuju
                                                             General Policy Information
All locations, all buildings unless indicated elsewhere.
All Commercial Property coverages on this policy are subject to these terms unless specially changed.


3%                     Calendar Year Hurricane Deductible, subject to a $25,000 Minimum Deductible per Calendar Year


Ordinance or Law       Ordinance or Law       -   Full A, 10% B and C combined (BLANKET ALL BUILDINGS)




 Building--:                 $8,184,498

 Contents:

Business Income:

Total Insured Value:         $8,184,498

               Building limit includes any scheduled sign, fence, light poles, satellite dish/antenna, swimming pools, tennis courts, guard house,
               gates, fountains or monuments and outdoor lighting as scheduled on the policy.




SUM 01
             Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 17 of 97 PageID 27




POLICY NUMBER: ECL9490372-04




Prem. Bldg.           Item
    #   #            Description             Coverage           AOP Deductible   Other Deductibles

1        1         Location 1/Building     Building             $5,000

                                                                                  Refer to form SUM 01-
1        1         Location 1/Building    Ordinance or Law
                                                                                  COVERAGES PROVIDED

1        1         Location 1/Building    Equipment Breakdown   $5,000            SCHEDULE (General
                                                                                  Policy Information) for
1        2         Location 1/Building     Building             $5,000            Wind and Other Deductible
                                                                                  Information.
1        3         Location 1/Building     Building             $5,000


1        4          Location 1/Building    Building             $5,000


1        5         Location 1/Building     Building             $5,000




SUM 02
          Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 18 of 97 PageID 28



    POLICY NUMBER: ECL9490372-04



                                                       SCHEDULE


                   AGREED VALUE                                    REPLACEMENT COST (X)
 PREM.#   BLDG.#   EXPIRATION DATE   COVERAGE            AMOUNT    BUILDING  PERSONAL PROPERTY           INCLUDING "STOCK"
 ALL      ALL                        1uJIuii1Eel




                INFLATION GUARD (Percentaqe)       *
                                                       MONTHLY LIMIT OF INDEMNITY   *
                                                                                     MAXIMUM PERIOD* EXTENDED PERIOD
  PREM.# BLDG.# BUILDING    PERSONAL PROPERTY              (Fraction/Percent)       OF INDEMNITY (X) OF INDEMNITY (Days)




SUM 03                                                                                   *   Applies to Business Income only
          Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 19 of 97 PageID 29




POLICY NUMBER: ECL9490372-04

                                           1i.11EThi:E.]I.J.*1


Prem. #    Bldg. #   Name and Mailing Address




SUM 04
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POLICY NUMBER: ECL9490372-04

                                               DESCRIPTION OF PREMISES
                                                        SCHEDULE

                                                # of Stories/                                            Protection
Prem. # Bldg. #      Locations Address          ISO Class #        Construction       Occuancv             Class
  1       1       9050 Palmas Grandes Blvd,        2      JM (2)                  Condominium Residential CC 5
                  Bonita Springs, FL 34135                                        0342 I OC 2




          2       9060 Palmas Grandes Blvd,        2      JM (2)                  Condominium Residential CC 5
                  Bonita Springs, FL 34135                                        0342 / OC 2




  A.      3       9070 Palmas Grandes Blvd,               JM (2)                  Condominium Residential CC 5
                  Bonita Springs, FL 34135                                        0342 / OC 2




  As      4       28060 Palmas Grandes Lane,              JM (2)                  Condominium Residential CC 5
                  Bonita Springs, FL 34135                                        0342 / OC 2




  J.      5       28060 Palmas Grandes Lane,              JM (2)                  Condominium Residential CC 5
                  Bonita Springs, FL 34135                                        0342 / OC 2
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                                                                                   Policy Number: ECL9490372-04

                                                                   [.]*1iiIii1

Named Insured: Las Brisas Condominium Homes Condominium Association, Inc              Effective Date: 03/27/2017
                                                                                                       12:01 A.M., Standard Time


COMMERCIAL PROPERTY

STF GU 645 A           08   09                    FLORIDA NOTIFICATION OF SURPLUS LINES POLICY
EM 25 06               04   16                    IMPORTANT CLAIM REPORTING INFORMATION
EM 36 01               03   03                    COMMON POLICY DECLARATIONS
EM 36 06               03   02                    COMMERCIAL PROPERTY COVERAGE PART
                                                  DECLARATIONS PAGE
SUM 01                00    00                    COVERAGES PROVIDED SCHEDULE
SUM 02                00    00                    DEDUCTIBLE SCHEDULE
SUM 03                00    00                    OPTIONAL COVERAGES SCHEDULE
SUM 04                00    00                    MORTGAGE HOLDERS SCHEDULE
SUM 05                00    00                    DESCRIPTION OF PREMISES SCHEDULE
U GU 630 D CW         01    15                    DISCLOSURE OF IMPORTANT INFORMATION RELATING
                                                  TO TERRORISM RISK INSURANCE ACT
U GU 681 C CW         01    15                    EXCLUSION OF CERTIFIED ACTS OR TERRORISM
U GU 1191 A CW        03    15                    SANCTIONS EXCLUSION ENDORSEMENT
IL 00 17              11    98                    COMMON POLICY CONDITION
IL 00 03              09    08                    CALCULATION OF PREMIUM
U CP 750 A CW         05    15                    MINIMUM EARNED PREMIUM (HURRICANE SEASON)
CP 00 17              06    07                    CONDOMINIUM ASSOCIATION COVERAGE FORM
EM 06 03              08    09                    ADDITIONAL PROPERTY NOT COVERED
IL 01 12              06    10                    FLORIDA CHANGES   MEDIATION OR APPRAISAL
                                                                           -


                                                  (COMMERCIAL RESIDENTIAL PROPERTY)
CP 01 91              07 10                       FLORIDA CHANGES   RESIDENTIAL CONDOMINIUM
                                                                           -


                                                  ASSOCIATIONS
CP   00   90          07    88                    COMMERCIAL PROPERTY CONDITIONS
CP   10   30          06    07                    CAUSES OF LOSS   SPECIAL FORM
                                                                      -


CP   04   05          04    02                    ORDINANCE OR LAW COVERAGE
CP   10   46          10    12                    EQUIPMENT BREAKDOWN CAUSE OF LOSS
CP   03   23          06    07                    FLORIDA CALENDAR YEAR HURRICANE PERCENTAGE
                                                  DEDUCTIBLE (RESIDENTIAL RISKS)
CP   01   40          07    06                    EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
CP   10   32          08    08                    WATER EXCLUSION ENDORSEMENT
EM   67   02          04    09                    ADDITIONAL COVERAGE ENDORSEMENT
EM   67   03          01    09                    ADDITIONAL PROPERTY IN   TRANSIT COVERAGE
                                                                                        -


                                                  ENDORSEMENT
IL 09 35              07    02                    EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
CP 01 25              02    12                    FLORIDA CHANGES
IL 01 75              09    07                    FLORIDA CHANGES   LEGAL ACTION AGAINST US
                                                                          -


STF CP 387 A          06    16                    FLORIDA CHANGES   CANCELLATION AND NONRENEWAL
                                                                          -


STF GU 199 B          01    09                    IMPORTANT NOTICE   SERVICE OF SUIT AND IN
                                                                               -


                                                  WITNESS CLAUSE
U GU 619 A CW          10 02                      FORMS SCHEDULE




                                                                                                  U-GU-619-A CW(10/02)
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Insured Name: Las Brisas Condominium Homes Condominium Association, In'
Policy Number: ECL9490372-04
Effective Date: 03/27/2017
                                                                                                                        ZURICH

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Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
 Rejected

*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act ("TRIA"), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    Januaryl, 2015— December 31, 2015 federal share: 85%
    Januaryl, 2016— December 31, 2016 federal share: 84%
    Januaryl, 2017— December 31, 2017 federal share: 83%
    Januaryl, 2018— December 31, 2018 federal share: 82%
    Januaryl, 2019— December 31, 2019 federal share: 81%
    Januaryl, 2020    -   December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
    of Treasury.
I.wvnl rirnr'

    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.


    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
    provisions of the federal Terrorism Risk Insurance Act ("TRIA"), to be an act of terrorism. The Terrorism Risk
    Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
                                                                                                                          U-GU-630-D CW (01/15)
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3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
   (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
   principally in the United States, on which United States income tax is paid and whose insurance coverage is
   subject to regulation in the United States), or the premises of a United States mission; and
4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
   United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
Congress (except for workers' compensation) or if losses resulting from the act, in the aggregate for insurance subject
to TRIA, do not exceed $5,000,000.




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Insureds Name                                                           Policy Number                   Effective     Endorsement
 Las Brisas Condominium Homes Condominium Association,                                                  Date          Number
 Inc                                                                    ECL9490372-04                   03/27/2017


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This endorsement modifies your insurance:               Commercial Property Coverage Part




The exception relating to certain fire losses applies to property located in the following state(s), if covered by this
insurance:




information required to complete the Schedule, if not shown above, will be shown in the Declarations.
A. Exclusion of Certified Acts of Terrorism
     We will not pay for loss or damage caused directly or indirectly by a "certified act of terrorism", including action in
     hindering or defending against an actual or expected "certified act of terrorism". Such loss or damage is excluded
     regardless of any other cause or event that contributes concurrently or in any sequence to the loss.
B. Exception Relating to Fire Losses Applicable to Property Located in Certain States
     If the "certified act of terrorism" results in fire, we will pay for the direct physical loss or damage to Covered
     Property caused by that fire. This exception does not apply to any other loss or damage including but not limited
     to business income, extra expense, any additional coverage and any coverage extension.
[•   'Iflh1tT

     "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance with the
     provisions of the federal Terrorism Risk Insurance Act ("TRIA"), to be an act of terrorism. The Terrorism Risk
     Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
     1. To be an act of terrorism;
     2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
     3. To have resulted in damage within the United States, or outside of the United States in the case of an air
        carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel
        based principally in the United States, on which United States income tax is paid and whose insurance
        coverage is subject to regulation in the United States), or the premises of a United States mission; and
     4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of
        the United States or to influence the policy or affect the conduct of the United States Government by coercion.
     No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
     Congress (except for workers' compensation) or if losses resulting from the act, in the aggregate for insurance
     subject to TRIA, do not exceed $5,000,000.
                                                                                                                        U-GU-681-C CW (01/15)
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    The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
    terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
    limited or restricted under this policy.
                      1,TI.1ltr VTT               iT1 flT
    If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a
    calendar year (January 1 through December 31) and we have met our insurer deductible under the Terrorism
    Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that
    exceeds $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
    accordance with procedures established by the Secretary of Treasury.


All other terms and conditions of this policy remain unchanged.




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SANCTIONS EXCLUSION                                                                                 ZURICH
ENDORSEMENT




The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
insured would violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.




                                                                                            U-GU-I 191-A CW (03/15)
                                                                                                          Page I of I
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                                                                                                       IL 00 17 11 98




All Coverage Parts included in this policy are subject to the following conditions.

                                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
      tions may cancel this policy by mailing or deliv-              c. Recommend changes.
      ering to us advance written notice of cancella-             2. We are not obligated to make any inspections,
      tion.                                                          surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliver-               such actions we do undertake relate only to in-
      ing to the first Named Insured written notice of               surability and the premiums to be charged. We
      cancellation at least:                                         do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-               dertake to perform the duty of any person or
          lation if we cancel for nonpayment of premi-               organization to provide for the health or safety
          um; or                                                     of workers or the public. And we do not warrant
                                                                     that conditions:
       b. 30 days before the effective date of cancel-
          lation if we cancel for any other reason.                  a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first                b. Comply with laws, regulations, codes or
      Named Insured's last mailing address known to                     standards.
      us.                                                         3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end               service or similar organization which makes in-
      on that date.                                                  surance inspections, surveys, reports or rec-
                                                                     ommendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                 4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first              any inspections, surveys, reports or recom-
      Named Insured cancels, the refund may be                       mendations we may make relative to certifica-
      less than pro rata. The cancellation will be ef-               tion, under state or municipal statutes, ordi-
      fective even if we have not made or offered a                  nances or regulations, of boilers, pressure ves-
      refund.                                                        sels or elevators.
   6. If notice is mailed, proof of mailing will be suffi-    E. Premiums
      cient proof of notice.                                      The first Named Insured shown in the Declara-
B. Changes                                                        tions:
   This policy contains all the agreements between                1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                     and
   The first Named Insured shown in the Declarations              2. Will be the payee for any return premiums we
   is authorized to make changes in the terms of this                pay.
   policy with our consent. This policy's terms can be        F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued                  Policy
   by us and made a part of this policy.
                                                                  Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                          transferred without our written consent except in
   We may examine and audit your books and rec-                   the case of death of an individual named insured.
   ords as they relate to this policy at any time during          If you die, your rights and duties will be transferred
   the policy period and up to three years afterward.             to your legal representative but only while acting
D. Inspections And Surveys                                        within the scope of duties as your legal representa-
   1. We have the right to:                                       tive. Until your legal representative is appointed,
                                                                  anyone having proper temporary custody of your
       a. Make inspections and surveys at any time;               property will have your rights and duties but only
                                                                  with respect to that property.




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                                                                                     IL 00 03 09 08




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                                           2L']J J                         I [I] I
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was comput-
ed based on rates in effect at the time the policy was
issued. On each renewal, continuation, or anniversary
of the effective date of this policy, we will compute the
premium in accordance with our rates and rules then
in effect.




IL 00 03 09 08                              0 ISO Properties, Inc., 2007                Page 1 of 1   D
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                                                                                                                          0
Minimum Earned Premium                                                                                               ZURICH

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This endorsement modifies insurance provided under the:
    Commercial Property Coverage Part
    Common Policy Conditions

The following is added, and to the extent permitted by law, supersedes any provision to the contrary with respect to
premium refund:
If this policy is cancelled, we will send the first Named Insured any premium refund due, subject to the following:
A. If we cancel, the refund will be calculated on a pro-rata basis.
B. If the first Named Insured cancels and the policy was in force at any time during the period of June list to November
   30th, the amount of premium refund due is the annual premium times the Unearned Factor listed below:
                          Days Policy in Force                                               Unearned Factor
            1-180                                                          20%
            18A210                                                         15%
            211-240                                                        10%
            241-270                                                        7.5%
            271-300                                                        5.0%
            301-330                                                        2.5%
            331 or more                                                    0%

C. If the First Named Insured cancels and the policy was not in force at any time between June 1St and November 30th,
   then the premium refund will be equal to 90% of the pro rata unearned premium as of the effective date of
   cancellation subject to a minimum earned premium of 25% of the annual premium.
D. If this policy has been extended beyond the end of the policy period and the policy is cancelled at any time during
   such extended policy period, there will be no premium refund.


All other terms, conditions, provisions and exclusions of this policy remain the same.




                                                                                                                     U-CP-750-A CW (05/15)
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Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H., Definitions.


                                                                           (b) Materials, equipment, supplies, and
   We will pay for direct physical loss of or damage to                        temporary structures, on or within
   Covered Property at the premises described in the                           100 feet of the described premises,
   Declarations caused by or resulting from any Cov-                           used for making additions, altera-
   ered Cause of Loss.                                                         tions or repairs to the building or
                                                                               structure; and
   1. Covered Property
                                                                      (6) Any of the following types of property
      Covered Property, as used in this Coverage                          contained within a unit, regardless of
      Part, means the type of property described in                       ownership, if your Condominium Asso-
      this section, A.1., and limited in A.2., Property                   ciation Agreement requires you to insure
      Not Covered, if a Limit of Insurance is shown in                    it:
      the Declarations for that type of property.
                                                                           (a) Fixtures, improvements and altera-
       a. Building, meaning the building or structure                          tions that are a part of the building or
          described in the Declarations, including:                            structure; and
         (1) Completed additions;                                          (b) Appliances, such as those used for
         (2) Fixtures, outside of individual units,                            refrigerating, ventilating, cooking,
             including outdoor fixtures;                                       dishwashing, laundering, security or
                                                                               housekeeping.
         (3) Permanently installed:
                                                                       But Building does not include personal
             (a) Machinery; and
                                                                       property owned by, used by or in the care,
            (b) Equipment;                                             custody or control of a unit-owner except for
         (4) Personal property owned by you that is                    personal property listed in Paragraph
             used to maintain or service the building                  A.1.a.(6) above.
             or structure or its premises, including:               b. Your Business Personal Property located
             (a) Fire-extinguishing equipment;                         in or on the building described in the Decla-
                                                                       rations or in the open (or in a vehicle) within
            (b) Outdoor furniture;
                                                                       100 feet of the described premises, consist-
             (c) Floor coverings; and                                  ing of the following:
            (d) Appliances used for refrigerating,                    (1) Personal property owned by you or
                ventilating, cooking, dishwashing or                      owned indivisibly by all unit-owners;
                laundering that are not contained
                                                                      (2) Your interest in the labor, materials or
                within individual units;
                                                                          services furnished or arranged by you
         (5) If not covered by other insurance:                           on personal property of others;
             (a) Additions under construction, altera-                (3) Leased personal property for which you
                 tions and repairs to the building or                     have a contractual responsibility to in-
                 structure;                                               sure, unless otherwise provided for un-
                                                                          der Personal Property Of Others.
                                                                       But Your Business Personal Property does
                                                                       not include personal property owned only
                                                                       by a unit-owner.




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      c. Personal Property Of Others that is:                     n. Electronic data, except as provided under
        (1) In your care, custody or control; and                    the Additional Coverage, Electronic Data.
                                                                     Electronic data means information, facts or
        (2) Located in or on the building described                  computer programs stored as or on, creat-
            in the Declarations or in the open (or in                ed or used on, or transmitted to or from
            a vehicle) within 100 feet of the de-                    computer software (including systems and
            scribed premises.                                        applications software), on hard or floppy
         However, our payment for loss of or dam-                    disks, CD-ROMs, tapes, drives, cells, data
         age to personal property of others will only                processing devices or any other reposito-
         be for the account of the owner of the prop-                ries of computer software which are used
         erty.                                                       with electronically controlled equipment.
                                                                     The term computer programs, referred to in
   2. Property Not Covered
                                                                     the foregoing description of electronic data,
      Covered Property does not include:                             means a set of related electronic instruc-
      a. Accounts, bills, currency, food stamps or                   tions which direct the operations and func-
         other evidences of debt, money, notes or                    tions of a computer or device connected to
         securities. Lottery tickets held for sale are               it, which enable the computer or device to
         not securities;                                             receive, process, store, retrieve or send da-
                                                                     ta;
      b. Animals, unless owned by others and
         boarded by you;                                          o. The cost to replace or restore the infor-
                                                                     mation on valuable papers and records, in-
      c. Automobiles held for sale;
                                                                     cluding those which exist as electronic data.
      d. Bridges, roadways, walks, patios or other                   Valuable papers and records include but
         paved surfaces;                                             are not limited to proprietary information,
      e. Contraband, or property in the course of                    books of account, deeds, manuscripts, ab-
         illegal transportation or trade;                            stracts, drawings and card index systems.
                                                                     Refer to the Coverage Extension for Valua-
      f. The cost of excavations, grading, backfilling               ble Papers And Records (Other Than Elec-
         or filling;                                                 tronic Data) for limited coverage for valua-
      g. Foundations of buildings, structures, ma-                   ble papers and records other than those
         chinery or boilers if their foundations are                 which exist as electronic data;
         below:                                                   p. Vehicles or self-propelled machines (includ-
        (1) The lowest basement floor; or                            ing aircraft or watercraft) that:
        (2) The surface of the ground if there is no                (1) Are licensed for use on public roads; or
            basement;                                               (2) Are operated principally away from the
      h. Land (including land on which the property                     described premises.
         is located), water, growing crops or lawns;                 This paragraph does not apply to:
      L Personal property while airborne or water-                        (a) Vehicles or self-propelled machines
        borne;                                                                or autos you manufacture or ware-
      j. Bulkheads, pilings, piers, wharves or docks;                         house;
      k. Property that is covered under this or any                       (b) Vehicles or self-propelled machines,
         other policy in which it is more specifically                        other than autos, you hold for sale;
         described, except for the excess of the                          (c) Rowboats or canoes out of water at
         amount due (whether you can collect on it                            the described premises; or
         or not) from that other insurance;
                                                                          (d) Trailers, but only to the extent pro-
      I. Retaining walls that are not part of a build-                        vided for in the Coverage Extension
         ing;                                                                 for Non-owned Detached Trailers;
     m. Underground pipes, flues or drains;




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      q. The following property while outside of                     (4) We will pay up to an additional $10,000
         buildings:                                                      for debris removal expense, for each lo-
         (1) Grain, hay, straw or other crops; or                        cation, in any one occurrence of physi-
                                                                         cal loss or damage to Covered Property,
         (2) Fences, radio or television antennas                        if one or both of the following circum-
             (including satellite dishes) and their                      stances apply:
             lead-in wiring, masts or towers, trees,
             shrubs, or plants (other than "stock" of                      (a) The total of the actual debris removal
             trees, shrubs or plants), all except as                           expense plus the amount we pay for
             provided in the Coverage Extensions.                              direct physical loss or damage ex-
                                                                               ceeds the Limit of Insurance on the
                          jS3j
  KI!1   Yn   (I.tItU                                                          Covered Property that has sustained
     See applicable Causes Of Loss Form as                                     loss or damage.
     shown in the Declarations.                                            (b) The actual debris removal expense
  4. Additional Coverages                                                      exceeds 25% of the sum of the de-
                                                                               ductible plus the amount that we pay
     a. Debris Removal
                                                                               for direct physical loss or damage to
         (1) Subject to Paragraphs (3) and (4), we                             the Covered Property that has sus-
               will pay your expense to remove debris                          tained loss or damage.
               of Covered Property caused by or re-
                                                                         Therefore, if (4)(a) and/or (4)(b) apply,
               sulting from a Covered Cause of Loss
                                                                         our total payment for direct physical loss
               that occurs during the policy period. The
                                                                         or damage and debris removal expense
               expenses will be paid only if they are
                                                                         may reach but will never exceed the
               reported to us in writing within 180 days
                                                                         Limit of Insurance on the Covered Prop-
               of the date of direct physical loss or
                                                                         erty that has sustained loss or damage,
               damage.
                                                                         plus $10,000.
         (2) Debris Removal does not apply to costs
                                                                     (5) Examples
             to:
                                                                           The following examples assume that
              (a) Extract "pollutants" from land or
                                                                           there is no Coinsurance penalty.
                  water; or
                                                            EXAMPLE #1
              (b) Remove, restore or replace polluted
                  land or water.                            Limit of Insurance:                           $       90,000
         (3) Subject to the exceptions in Paragraph         Amount of Deductible:                         $          500
             (4), the following provisions apply:           Amount of Loss:                                       50,000
                                                                                                          $
                   The most we will pay for the total of    Amount of Loss Payable:                       $       49,500
                   direct physical loss or damage plus
                                                                                                   ($50,000        $500)
                   debris removal expense is the Limit
                                                                                                              -




                   of Insurance applicable to the Cov-      Debris Removal Expense:                       $       10,000
                   ered Property that has sustained         Debris Removal Expense Payable                $       10,000
                   loss or damage.                          ($10,000 is 20% of $50,000.)
              (b) Subject to (a) above, the amount we       The debris removal expense is less than 25% of the
                   will pay for debris removal expense      sum of the loss payable plus the deductible. The sum
                   is limited to 25% of the sum of the      of the loss payable and the debris removal expense
                   deductible plus the amount that we       ($49,500 + $10,000 = $59,500) is less than the Limit
                   pay for direct physical loss or dam-     of Insurance. Therefore, the full amount of debris
                   age to the Covered Property that has     removal expense is payable in accordance with the
                   sustained loss or damage.                terms of Paragraph (3).




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I4ig.I I 1                                                            No Deductible applies to this Additional
                                                                      Coverage.
Limit of Insurance:                        $ 90,000
                                                                   d. Pollutant Clean-up And Removal
Amount of Deductible:                      $    500
                                                                      We will pay your expense to extract "pollu-
Amount of Loss:                            $ 80,000                   tants" from land or water at the described
Amount of Loss Payable:                    $ 79,500                   premises if the discharge, dispersal, seep-
                                     ($80,000 $500)
                                               -
                                                                      age, migration, release or escape of the
                                                                      "pollutants" is caused by or results from a
Debris Removal Expense:                    $ 30,000
                                                                      Covered Cause of Loss that occurs during
Debris Removal Expense Payable                                        the policy period. The expenses will be paid
                   Basic Amount:           $ 10,500                   only if they are reported to us in writing
                   Additional Amount:      $ 10,000                   within 180 days of the date on which the
                                                                      Covered Cause of Loss occurs.
The basic amount payable for debris removal ex-
pense under the terms of Paragraph (3) is calculated                  This Additional Coverage does not apply to
as follows: $80,000 ($79,500 + $500) x .25 = $20,000;                 costs to test for, monitor or assess the ex-
capped at $10,500. The cap applies because the sum                    istence, concentration or effects of "pollu-
of the loss payable ($79,500) and the basic amount                    tants". But we will pay for testing which is
payable for debris removal expense ($10,500) cannot                   performed in the course of extracting the
exceed the Limit of Insurance ($90,000).                              "pollutants" from the land or water.
The additional amount payable for debris removal                      The most we will pay under this Additional
expense is provided in accordance with the terms of                   Coverage for each described premises is
Paragraph (4), because the debris removal expense                     $10,000 for the sum of all covered expens-
($30,000) exceeds 25% of the loss payable plus the                    es arising out of Covered Causes of Loss
deductible ($30,000 is 37.5% of $80,000), and be-                     occurring during each separate 12-month
cause the sum of the loss payable and debris removal                  period of this policy.
expense ($79,500 + $30,000 = $109,500) would ex-                   e. Increased Cost Of Construction
ceed the Limit of Insurance ($90,000). The additional                (1) This Additional Coverage applies only to
amount of covered debris removal expense is                              buildings to which the Replacement
$10,000, the maximum payable under Paragraph (4).                        Cost Optional Coverage applies.
Thus the total payable for debris removal expense in
this example is $20,500; $9,500 of the debris removal                (2) In the event of damage by a Covered
expense is not covered.                                                  Cause of Loss to a building that is Cov-
                                                                         ered Property, we will pay the increased
      b. Preservation Of Property                                        costs incurred to comply with enforce-
         If it is necessary for you to move Covered                      ment of an ordinance or law in the
         Property from the described premises to                         course of repair, rebuilding or replace-
         preserve it from loss or damage by a Cov-                       ment of damaged parts of that property,
         ered Cause of Loss, we will pay for any di-                     subject to the limitations stated in e.(3)
         rect physical loss or damage to that proper-                    through e.(9) of this Additional Cover-
         ty:                                                             age.
         (1) While it is being moved or while tempo-                 (3) The ordinance or law referred to in e.(2)
             rarily stored at another location; and                      of this Additional Coverage is an ordi-
                                                                         nance or law that regulates the con-
         (2) Only if the loss or damage occurs within
                                                                         struction or repair of buildings or estab-
             30 days after the property is first moved.
                                                                         lishes zoning or land use requirements
      c. Fire Department Service Charge                                  at the described premises, and is in
         When the fire department is called to save                      force at the time of loss.
         or protect Covered Property from a Cov-                     (4) Under this Additional Coverage, we will
         ered Cause of Loss, we will pay up to                           not pay any costs due to an ordinance
         $1,000, unless a higher limit is shown in the                   or law that:
         Declarations, for your liability for fire de-
                                                                           (a) You were required to comply with
         partment service charges:
                                                                               before the loss, even when the build-
         (1) Assumed by contract or agreement prior                            ing was undamaged; and
             to loss; or
                                                                           (b) You failed to comply with.
         (2) Required by local ordinance.




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        (5) Under this Additional Coverage, we will                        (b) If the building is repaired or replaced
            not pay for:                                                       at the same premises, or if you elect
           (a) The enforcement of any ordinance or                             to rebuild at another premises, the
               law which requires demolition, repair,                          most we will pay for the Increased
               replacement, reconstruction, remod-                             Cost of Construction, subject to the
               eling or remediation of property due                            provisions of e.(6) of this Additional
               to contamination by "pollutants" or                             Coverage, is the increased cost of
               due to the presence, growth, prolif-                            construction at the same premises.
               eration, spread or any activity of                          (c) If the ordinance or law requires relo-
               "fungus", wet or dry rot or bacteria;                           cation to another premises, the most
               or                                                              we will pay for the Increased Cost of
           (b) Any costs associated with the en-                               Construction, subject to the provi-
               forcement of an ordinance or law                                sions of e.(6) of this Additional Cov-
               which requires any insured or others                            erage, is the increased cost of con-
               to test for, monitor, clean up, re-                             struction at the new premises.
               move, contain, treat, detoxify or neu-                (8) This Additional Coverage is not subject
               tralize, or in any way respond to, or                     to the terms of the Ordinance Or Law
               assess the effects of "pollutants",                       Exclusion, to the extent that such Exclu-
               "fungus", wet or dry rot or bacteria.                     sion would conflict with the provisions of
        (6) The most we will pay under this Addi-                        this Additional Coverage.
            tional Coverage, for each described                      (9) The costs addressed in the Loss Pay-
            building insured under this Coverage                         ment and Valuation Conditions, and the
            Form, is $10,000 or 5% of the Limit of                       Replacement Cost Optional Coverage,
            Insurance applicable to that building,                       in this Coverage Form, do not include
            whichever is less. If a damaged building                     the increased cost attributable to en-
            is covered under a blanket Limit of In-                      forcement of an ordinance or law. The
            surance which applies to more than one                       amount payable under this Additional
            building or item of property, then the                       Coverage, as stated in e.(6) of this Addi-
            most we will pay under this Additional                       tional Coverage, is not subject to such
            Coverage, for that damaged building, is                      limitation.
            the lesser of: $10,000 or 5% times the                 f. Electronic Data
            value of the damaged building as of the
            time of loss times the applicable Coin-                  (1) Under this Additional Coverage, elec-
            surance percentage.                                          tronic data has the meaning described
                                                                         under Property Not Covered, Electronic
            The amount payable under this Addi-                          Data.
            tional Coverage is additional insurance.
                                                                     (2) Subject to the provisions of this Addi-
        (7) With respect to this Additional Cover-                       tional Coverage, we will pay for the cost
            age:                                                         to replace or restore electronic data
           (a) We will not pay for the Increased                         which has been destroyed or corrupted
               Cost of Construction:                                     by a Covered Cause of Loss. To the ex-
               (i) Until the property is actually re-                    tent that electronic data is not replaced
                   paired or replaced, at the same                       or restored, the loss will be valued at the
                   or another premises; and                              cost of replacement of the media on
                                                                         which the electronic data was stored,
                 (ii) Unless the repairs or replace-                     with blank media of substantially identi-
                      ment are made as soon as rea-                      cal type.
                      sonably possible after the loss or
                      damage, not to exceed two
                      years. We may extend this period
                      in writing during the two years.




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        (3) The Covered Causes of Loss applicable
            to Your Business Personal Property ap-                 Except as otherwise provided, the following Ex-
            ply to this Additional Coverage, Elec-                 tensions apply to property located in or on the
            tronic Data, subject to the following:                 building described in the Declarations or in the
           (a) If the Causes Of Loss        -   Special            open (or in a vehicle) within 100 feet of the de-
               Form applies, coverage under this                   scribed premises.
               Additional Coverage, Electronic Da-                 If a Coinsurance percentage of 80% or more is
               ta, is limited to the "specified causes             shown in the Declarations, you may extend the
               of loss" as defined in that form, and               insurance provided by this Coverage Part as
               Collapse as set forth in that form.                 follows:
           (b) If the Causes Of Loss Broad Form
                                        -
                                                                   a. Newly Acquired Or Constructed
               applies, coverage under this Addi-                     Property
               tional Coverage, Electronic Data, in-
               cludes Collapse as set forth in that                  (1) Buildings
               form.                                                       You may extend the insurance that ap-
           (c) If the Causes Of Loss Form is en-                           plies to Building to apply to:
               dorsed to add a Covered Cause of                            (a) Your new buildings while being built
               Loss, the additional Covered Cause                              on the described premises; and
               of Loss does not apply to the cover-                        (b) Buildings you acquire at locations,
               age provided under this Additional                              other than the described premises,
               Coverage, Electronic Data.                                      intended for:
           (d) The Covered Causes of Loss include                              (i) Similar use as the building de-
               a virus, harmful code or similar in-                                scribed in the Declarations; or
               struction introduced into or enacted
               on a computer system (including                                (ii) Use as a warehouse.
               electronic data) or a network to                            The most we will pay for loss or damage
               which it is connected, designed to                          under this Extension is $250,000 at
               damage or destroy any part of the                           each building.
               system or disrupt its normal opera-
               tion. But there is no coverage for
                                                                     (2) Your Business Personal Property
               loss or damage caused by or result-                         (a) If this policy covers Your Business
               ing from manipulation of a computer                             Personal Property, you may extend
               system (including electronic data) by                           that insurance to apply to:
               any employee, including a temporary                             (i) Business    personal     property,
               or leased employee, or by an entity                                 including such property that you
               retained by you or for you to inspect,                              newly acquire, at any location
               design, install, modify, maintain, re-                              you acquire other than at fairs,
               pair or replace that system.                                        trade shows or exhibitions;
        (4) The most we will pay under this Addi-                             (ii) Business     personal     property,
            tional Coverage, Electronic Data, is                                   including such property that you
            $2,500 for all loss or damage sustained                                newly acquire, located at your
            in any one policy year, regardless of the                              newly constructed or acquired
            number of occurrences of loss or dam-                                  buildings at the location de-
            age or the number of premises, loca-                                   scribed in the Declarations; or
            tions or computer systems involved. If
            loss payment on the first occurrence                             (iii) Business personal property that
            does not exhaust this amount, then the                                 you newly acquire, located at the
            balance is available for subsequent loss                               described premises.
            or damage sustained in but not after that                      The most we will pay for loss or damage
            policy year. With respect to an occur-                         under this Extension is $100,000 at
            rence which begins in one policy year                          each building.
            and continues or results in additional                         (b) This Extension does not apply to:
            loss or damage in a subsequent policy
            year(s), all loss or damage is deemed to                           (i) Personal property of others that
            be sustained in the policy year in which                               is temporarily in your possession
            the occurrence began.                                                  in the course of installing or per-
                                                                                   forming work on such property; or




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                 (ii) Personal property of others that              (2) If the Causes Of Loss         Special Form
                                                                                                       -


                      is temporarily in your possession                 applies, coverage under this Extension
                      in the course of your manufactur-                 is limited to the "specified causes of
                      ing or wholesaling activities,                    loss" as defined in that form, and Col-
        (3) Period Of Coverage                                          lapse as set forth in that form.
            With respect to insurance on or at each                 (3) If the Causes Of Loss     Broad Form
                                                                                                           -



            newly acquired or constructed property,                     applies, coverage under this Extension
            coverage will end when any of the fol-                      includes Collapse as set forth in that
            lowing first occurs:                                        form.
           (a) This policy expires;                                 (4) Under this Extension, the most we will
                                                                        pay to replace or restore the lost infor-
           (b) 30 days expire after you acquire the                     mation is $2,500 at each described
               property or begin construction of that                   premises, unless a higher limit is shown
               part of the building that would qualify                  in the Declarations. Such amount is ad-
               as covered property; or                                  ditional insurance. We will also pay for
           (c) You report values to us.                                 the cost of blank material for reproduc-
                                                                        ing the records (whether or not dupli-
            We will charge you additional premium
                                                                        cates exist), and (when there is a dupli-
            for values reported from the date you
                                                                        cate) for the cost of labor to transcribe
            acquire the property or begin construc-
                                                                        or copy the records. The costs of blank
            tion of that part of the building that would
                                                                        material and labor are subject to the ap-
                                                                        plicable Limit of Insurance on Your
      b. Personal Effects And Property Of Others                        Business Personal Property and there-
         You may extend the insurance that applies                      fore coverage of such costs is not addi-
         to Your Business Personal Property to ap-                      tional insurance.
         ply to:                                                  d. Property Off-premises
        (1) Personal effects owned by you, your                     (1) You may extend the insurance provided
            officers, your partners or members, your                      by this Coverage Form to apply to your
            managers or your employees. This Ex-                          Covered Property while it is away from
            tension does not apply to loss or dam-                        the described premises, if it is:
            age by theft.
                                                                          (a) Temporarily at a location you do not
        (2) Personal property of others in your care,                         own, lease or operate;
            custody or control.
                                                                          (b) In storage at a location you lease,
         The most we will pay for loss or damage                              provided the lease was executed af-
         under this Extension is $2,500 at each de-                           ter the beginning of the current policy
         scribed premises. Our payment for loss of                            term; or
         or damage to personal property of others
                                                                       (c) At any fair, trade show or exhibition.
         will only be for the account of the owner of
         the property.                                              (2) This Extension does not apply to proper-
                                                                        ty:
      c. Valuable Papers And Records (Other
         Than Electronic Data)                                            (a) In or on a vehicle; or
        (1) You may extend the insurance that                             (b) In the care, custody or control of
            applies to Your Business Personal                                 your salespersons, unless the prop-
            Property to apply to the cost to replace                          erty is in such care, custody or con-
            or restore the lost information on valua-                         trol at a fair, trade show or exhibition.
            ble papers and records for which dupli-                 (3) The most we will pay for loss or damage
            cates do not exist. But this Extension                      under this Extension is $10,000.
            does not apply to valuable papers and
            records which exist as electronic data.
            Electronic data has the meaning de-
            scribed under Property Not Covered,
            Electronic Data.




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      e. Outdoor Property                                       Each of these Extensions is additional insurance
         You may extend the insurance provided by               unless otherwise indicated. The Additional Condi-
         this Coverage Form to apply to your out-               tion, Coinsurance, does not apply to these Exten-
         door fences, radio and television antennas             sions.
         (including satellite dishes), trees, shrubs          B. Exclusions And Limitations
         and plants (other than "stock" of trees,               See applicable Causes Of Loss Form as shown in
         shrubs or plants), including debris removal            the Declarations.
         expense, caused by or resulting from any of
         the following causes of loss if they are Cov-
         ered Causes of Loss:                                   The most we will pay for loss or damage in any
        (1) Fire;                                               one occurrence is the applicable Limit of Insur-
                                                                ance shown in the Declarations.
        (2) Lightning;
                                                                The most we will pay for loss or damage to out-
        (3) Explosion;                                          door signs, whether or not the sign is attached to a
        (4) Riot or Civil Commotion; or                         building, is $2,500 per sign in any one occurrence.
        (5) Aircraft.                                           The amounts of insurance stated in the following
         The most we will pay for loss or damage                Additional Coverages apply in accordance with the
         under this Extension is $1,000, but not                terms of such coverages and are separate from
         more than $250 for any one tree, shrub or              the Limit(s) of Insurance shown in the Declarations
         plant. These limits apply to any one occur-            for any other coverage:
         rence, regardless of the types or number of            1. Fire Department Service Charge;
         items lost or damaged in that occurrence.              2. Pollutant Clean-up And Removal;
      f. Non-owned Detached Trailers                            3. Increased Cost Of Construction; and
        (1) You may extend the insurance that                   4. Electronic Data.
            applies to Your Business Personal
            Property to apply to loss or damage to              Payments under the Preservation Of Property Ad-
            trailers that you do not own, provided              ditional Coverage will not increase the applicable
            that:                                               Limit of Insurance.
           (a) The trailer is used in your business;      [      .rT 1TTTh
           (b) The trailer is in your care, custody or          In any one occurrence of loss or damage (herein-
               control at the premises described in             after referred to as loss), we will first reduce the
               the Declarations; and                            amount of loss if required by the Coinsurance
                                                                Condition or the Agreed Value Optional Coverage.
           (c) You have a contractual responsibility            If the adjusted amount of loss is less than or equal
               to pay for loss or damage to the                 to the Deductible, we will not pay for that loss. If
               trailer.                                         the adjusted amount of loss exceeds the Deducti-
        (2) We will not pay for any loss or damage              ble, we will then subtract the Deductible from the
            that occurs:                                        adjusted amount of loss, and will pay the resulting
           (a) While the trailer is attached to any             amount or the Limit of Insurance, whichever is
               motor vehicle or motorized convey-               less.
               ance, whether or not the motor vehi-             When the occurrence involves loss to more than
               cle or motorized conveyance is in                one item of Covered Property and separate Limits
               motion;                                          of Insurance apply, the losses will not be com-
           (b) During hitching or unhitching opera-             bined in determining application of the Deductible.
               tions, or when a trailer becomes ac-             But the Deductible will be applied only once per
               cidentally unhitched from a motor                occurrence.
               vehicle or motorized conveyance.
        (3) The most we will pay for loss or damage
            under this Extension is $5,000, unless a
            higher limit is shown in the Declarations.
        (4) This insurance is excess over the
            amount due (whether you can collect on
            it or not) from any other insurance cov-
            ering such property.




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EXAMPLE #1                                                    E. Loss Conditions
(This example assumes there is no Coinsurance                    The following conditions apply in addition to the
penalty.)                                                        Common Policy Conditions and the Commercial
                                                                 Property Conditions.
Deductible:                                   $      250
                                                                 1. Abandonment
Limit of Insurance Building #1:
                  -                           $   60,000
                                                                     There can be no abandonment of any property
Limit of Insurance Building #2:
                  -                           $   80,000
                                                                     to us.
Loss to Building #1:                          $   60,100
                                                                 2. Appraisal
Loss to Building #2:                          $   90,000
                                                                     If we and you disagree on the value of the
The amount of loss to Building #1 ($60,100) is less                  property or the amount of loss, either may
than the sum ($60,250) of the Limit of Insurance ap-                 make written demand for an appraisal of the
plicable to Building #1 plus the Deductible.                         loss. In this event, each party will select a
The Deductible will be subtracted from the amount of                 competent and impartial appraiser. The two
loss in calculating the loss payable for Building #1:                appraisers will select an umpire. If they cannot
                                                                     agree, either may request that selection be
   $ 60,100                                                          made by a judge of a court having jurisdiction.
   -    250                                                          The appraisers will state separately the value
                                                                     of the property and amount of loss. If they fail
   $ 59,850 Loss Payable    -   Building #1
                                                                     to agree, they will submit their differences to
The Deductible applies once per occurrence and                       the umpire. A decision agreed to by any two
therefore is not subtracted in determining the amount                will be binding. Each party will:
of loss payable for Building #2. Loss payable for
Building #2 is the Limit of Insurance of $80,000.                    a. Pay its chosen appraiser; and
Total amount of loss payable:                                        b. Bear the other expenses of the appraisal
                                                                        and umpire equally.
$59,850 + $80,000 = $139,850
                                                                     If there is an appraisal, we will still retain our
EXAMPLE #2                                                           right to deny the claim.
(This example, too, assumes there is no Coinsurance              3. Duties In The Event Of Loss Or Damage
penalty.)                                                           a. You must see that the following are done in
The Deductible and Limits of Insurance are the same                    the event of loss or damage to Covered
as those in Example #1.                                                Property:
                                                                       (1) Notify the police if a law may have been
Loss to Building #1:                       $ 70,000
                                                                           broken.
  (Exceeds Limit of Insurance plus Deductible)
                                                                       (2) Give us prompt notice of the loss or
Loss to Building #2:                       $ 90,000                        damage. Include a description of the
  (Exceeds Limit of Insurance plus Deductible)                             property involved.
Loss Payable Building #1:
             -                             $ 60,000                    (3) As soon as possible, give us a descrip-
  (Limit of Insurance)                                                     tion of how, when and where the loss or
Loss Payable Building #2:
             -                             $ 80,000                        damage occurred.
  (Limit of Insurance)                                                 (4) Take all reasonable steps to protect the
                                                                           Covered Property from further damage,
Total amount of loss payable:              $ 140,000                       and keep a record of your expenses
                                                                           necessary to protect the Covered Prop-
                                                                           erty, for consideration in the settlement
                                                                           of the claim. This will not increase the
                                                                           Limit of Insurance. However, we will not
                                                                           pay for any subsequent loss or damage
                                                                           resulting from a cause of loss that is not
                                                                           a Covered Cause of Loss. Also, if feasi-
                                                                           ble, set the damaged property aside and
                                                                           in the best possible order for examina-
                                                                           tion.




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        (5) At our request, give us complete inven-               c. We will give notice of our intentions within
            tories of the damaged and undamaged                      30 days after we receive the sworn proof of
            property. Include quantities, costs, val-                loss.
            ues and amount of loss claimed.                       d. We will not pay you more than your finan-
        (6) As often as may be reasonably required,                  cial interest in the Covered Property.
            permit us to inspect the property proving             e. We may adjust losses with the owners of
            the loss or damage and examine your                      lost or damaged property if other than you.
            books and records.                                       If we pay the owners, such payments will
            Also permit us to take samples of dam-                   satisfy your claims against us for the own-
            aged and undamaged property for in-                      ers' property. We will not pay the owners
            spection, testing and analysis, and per-                 more than their financial interest in the
            mit us to make copies from your books                    Covered Property.
            and records.                                          f. We may elect to defend you against suits
        (7) Send us a signed, sworn proof of loss                    arising from claims of owners of property.
            containing the information we request to                 We will do this at our expense.
            investigate the claim. You must do this               g. We will pay for covered loss or damage to
            within 60 days after our request. We will                Covered Property within 30 days after we
            supply you with the necessary forms.                     receive the sworn proof of loss, if you have
        (8) Cooperate with us in the investigation or                complied with all of the terms of this Cover-
            settlement of the claim.                                 age Part and:
      b. We may examine any insured under oath,                     (1) We have reached agreement with you
         while not in the presence of any other in-                     on the amount of loss; or
         sured and at such times as may be reason-                  (2) An appraisal award has been made.
         ably required, about any matter relating to
         this insurance or the claim, including an in-               If you name an insurance trustee, we will
         sured's books and records. In the event of                  adjust losses with you, but we will pay the
         an examination, an insured's answers must                   insurance trustee. If we pay the trustee, the
         be signed.                                                  payments will satisfy your claims against
                                                                     us.
  4. Loss Payment
                                                                  h. A party wall is a wall that separates and is
      a. In the event of loss or damage covered by                   common to adjoining buildings that are
         this Coverage Form, at our option, we will                  owned by different parties. In settling cov-
         either:                                                     ered losses involving a party wall, we will
        (1) Pay the value of lost or damaged prop-                   pay a proportion of the loss to the party wall
            erty;                                                    based on your interest in the wall in propor-
        (2) Pay the cost of repairing or replacing the               tion to the interest of the owner of the ad-
            lost or damaged property, subject to b.                  joining building. However, if you elect to re-
            below;                                                   pair or replace your building and the owner
                                                                     pf the adjoining building elects not to repair
        (3) Take all or any part of the property at an               or replace that building, we will pay you the
            agreed or appraised value; or                            full value of the loss to the party wall, sub-
        (4) Repair, rebuild or replace the property                  ject to all applicable policy provisions in-
            with other property of like kind and quali-              cluding Limits of Insurance, the Valuation
            ty, subject to b. below.                                 and Coinsurance Conditions and all other
                                                                     provisions of this Loss Payment Condition.
         We will determine the value of lost or dam-
                                                                     Our payment under the provisions of this
         aged property, or the cost of its repair or
                                                                     paragraph does not alter any right of subro-
         replacement, in accordance with the appli-
                                                                     gation we may have against any entity, in-
         cable terms of the Valuation Condition in
                                                                     cluding the owner or insurer of the adjoining
         this Coverage Form or any applicable pro-
                                                                     building, and does not alter the terms of the
         vision which amends or supersedes the
                                                                     Transfer Of Rights Of Recovery Against
         Valuation Condition.
                                                                     Others To Us Condition in this policy.
      b. The cost to repair, rebuild or replace does
         not include the increased cost attributable
         to enforcement of any ordinance or law
         regulating the construction, use or repair of
         any property.




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   5. Recovered Property                                         b. Vacancy Provisions
      If either you or we recover any property after                If the building where loss or damage occurs
      loss settlement, that party must give the other               has been vacant for more than 60 consecu-
      prompt notice. At your option, the property will              tive days before that loss or damage oc-
      be returned to you. You must then return to us                curs:
      the amount we paid to you for the property. We                (1) We will not pay for any loss or damage
      will pay recovery expenses and the expenses                        caused by any of the following even if
      to repair the recovered property, subject to the                   they are Covered Causes of Loss:
      Limit of Insurance.
                                                                         (a) Vandalism;
   6. Unit-owner's Insurance
                                                                         (b) Sprinkler leakage, unless you have
      A unit-owner may have other insurance cover-                           protected the system against freez-
      ing the same property as this insurance. This                          ing;
      insurance is intended to be primary, and not to
      contribute with such other insurance.                              (c) Building glass breakage;
   7. Vacancy                                                            (d) Water damage;
      a. Description Of Terms                                            (e) Theft; or
        (1) As used in this Vacancy Condition, the                       (f) Attempted theft.
            term building and the term vacant have                 (2) With respect to Covered Causes of Loss
            the meanings set forth in (1)(a) and                       other than those listed in b.(1)(a)
            (1)(b) below:                                              through b.(1)(f) above, we will reduce
            (a) When this policy is issued to a ten-                   the amount we would otherwise pay for
                ant, and with respect to that tenant's                 the loss or damage by 15%.
                interest in Covered Property, building        8. Valuation
                means the unit or suite rented or
                                                                 We will determine the value of Covered Prop-
                leased to the tenant. Such building is
                                                                 erty in the event of loss or damage as follows:
                vacant when it does not contain
                enough business personal property                a. At actual cash value as of the time of loss
                to conduct customary operations.                    or damage, except as provided in b. and c.
                                                                    below.
           (b) When this policy is issued to the
               owner or general lessee of a build-               b. If the Limit of Insurance for Building satis-
               ing, building means the entire build-                fies the Additional Condition, Coinsurance,
               ing. Such building is vacant unless at               and the cost to repair or replace the dam-
               least 31% of its total square footage                aged building property is $2,500 or less, we
               is:                                                  will pay the cost of building repairs or re-
                                                                    placement.
                 (i) Rented to a lessee or sub-lessee
                     and used by the lessee or sub-                 The cost of building repairs or replacement
                     lessee to conduct its customary                does not include the increased cost at-
                     operations; and/or                             tributable to enforcement of any ordinance
                                                                    or law regulating the construction, use or
                 (ii) Used by the building owner to
                                                                    repair of any property. However, the follow-
                      conduct customary operations.
                                                                    ing property will be valued at the actual
        (2) Buildings under construction or renova-                 cash value even when attached to the
            tion are not considered vacant.                         building:
                                                                   (1) Awnings or floor coverings;
                                                                   (2) Appliances for refrigerating, ventilating,
                                                                       cooking, dishwashing or laundering; or
                                                                   (3) Outdoor equipment or furniture.
                                                                 c. Glass at the cost of replacement with safe-
                                                                    ty-glazing material if required by law.




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   9. Waiver Of Rights Of Recovery                           EXAMPLE #2 (ADEQUATE INSURANCE)
        We waive our rights to recover payment from
                                                             When:      The value of the property is:       $250,000
        any unit-owner of the condominium that is
        shown in the Declarations.                                      The Coinsurance percentage
                                                                        for it is:                              80%
                                                                        The Limit of Insurance for it is:   $200,000
   The following conditions apply in addition to the
   Common Policy Conditions and the Commercial                          The Deductible is:                  $    250
   Property Conditions.                                                 The amount of loss is:              $ 40,000
   1. Coinsurance                                            The minimum amount of insurance to meet your Co-
        If a Coinsurance percentage is shown in the          insurance requirement is $200,000 ($250,000 x 80%).
        Declarations, the following condition applies.       Therefore, the Limit of Insurance in this example is
                                                             adequate and no penalty applies. We will pay no
        a. We will not pay the full amount of any loss if    more than $39,750 ($40,000 amount of loss minus
           the value of Covered Property at the time of      the deductible of $250).
           loss times the Coinsurance percentage
           shown for it in the Declarations is greater               b. If one Limit of Insurance applies to two or
           than the Limit of Insurance for the property.                more separate items, this condition will ap-
                                                                        ply to the total of all property to which the
            Instead, we will determine the most we will                 limit applies.
            pay using the following steps:
                                                             EXAMPLE #3
            (1) Multiply the value of Covered Property
                at the time of loss by the Coinsurance       When:      The value of the property is:
                percentage;                                             Building at Location #1:            $ 75,000
            (2) Divide the Limit of Insurance of the                    Building at Location #2:            $ 100,000
                property by the figure determined in
                                                                        Personal Property
                Step (1);
                                                                        at Location #2:                     $ 75,000
            (3) Multiply the total amount of loss, before
                the application of any deductible, by the                                                   $250,000
                figure determined in Step (2); and                      The Coinsurance percentage
                                                                        for it is:                              90%
            (4) Subtract the deductible from the figure
                determined in Step (3).                                 The Limit of Insurance for
                                                                        Buildings and Personal Property
    We will pay the amount determined in Step (4)                       at Locations #1 and #2 is:          $ 180,000
    or the Limit of Insurance, whichever is less. For
    the remainder, you will either have to rely on                      The Deductible is:                  $ 1,000
    other insurance or absorb the loss yourself.                        The amount of loss is:
EXAMPLE #1 (UNDERINSURANCE)                                             Building at Location #2:            $ 30,000
                                                                        Personal Property
When:       The value of the property is:     $250,000                  at Location #2:                     $ 20,000
            The Coinsurance percentage
                                                                                                            $ 50,000
            for it is:                             80%
                                                             Step (1): $250,000 x 90% = $225,000
            The Limit of Insurance for it is: $ 100,000
                                                                       (the minimum amount of insurance to
            The Deductible is:                $     250                meet your Coinsurance requirements
            The amount of loss is:            $  40,000                and to avoid the penalty shown below)
Step (1):   $250,000 x 80% = $200,000                        Step (2): $180,000 -- $225,000 = .80
            (the minimum amount of insurance to              Step (3): $50,000 x.80 = $40,000
            meet your Coinsurance requirements)              Step (4): $40,000 -$1,000 = $39,000
Step (2):   $100,000 + $200,000 = .50
                                                             We will pay no more than $39,000. The remaining
Step (3):   $40,000 x.50 = $20,000                           $11,000 is not covered.
Step (4):   $20,000 -$250 = $19,750
We will pay no more than $19,750. The remaining
$20,250 is not covered.




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   2. Mortgageholders                                             g. If we elect not to renew this policy, we will
      a. The term mortgageholder includes trustee.                   give written notice to the mortgageholder at
                                                                     least 10 days before the expiration date of
      b. We will pay for covered loss of or damage                   this policy.
         to buildings or structures to each mort-
         gageholder shown in the Declarations in                     ii.
         their order of precedence, as interests may          If shown as applicable in the Declarations, the fol-
         appear.                                              lowing Optional Coverages apply separately to
      c. The mortgageholder has the right to receive          each item.
         loss payment even if the mortgageholder              1. Agreed Value
         has started foreclosure or similar action on             a. The Additional Condition, Coinsurance,
         the building or structure.                                  does not apply to Covered Property to
      d. If we deny your claim because of your acts                  which this Optional Coverage applies. We
         or because you have failed to comply with                   will pay no more for loss of or damage to
         the terms of this Coverage Part, the mort-                  that property than the proportion that the
         gageholder will still have the right to receive             Limit of Insurance under this Coverage Part
         loss payment if the mortgageholder:                         for the property bears to the Agreed Value
        (1) Pays any premium due under this Cov-                     shown for it in the Declarations.
            erage Part at our request if you have                 b. If the expiration date for this Optional Cov-
            failed to do so;                                         erage shown in the Declarations is not ex-
        (2) Submits a signed, sworn proof of loss                    tended, the Additional Condition, Coinsur-
            within 60 days after receiving notice                    ance, is reinstated and this Optional Cover-
            from us of your failure to do so; and                    age expires.
        (3) Has notified us of any change in owner-               c. The terms of this Optional Coverage apply
            ship, occupancy or substantial change                    only to loss or damage that occurs:
            in risk known to the mortgageholder.                    (1) On or after the effective date of this
         All of the terms of this Coverage Part will                    Optional Coverage; and
         then apply directly to the mortgageholder.                 (2) Before the Agreed Value expiration date
      e. If we pay the mortgageholder for any loss                      shown in the Declarations or the policy
         or damage and deny payment to you be-                          expiration date, whichever occurs first.
         cause of your acts or because you have               2. Inflation Guard
         failed to comply with the terms of this Cov-             a. The Limit of Insurance for property to which
         erage Part:                                                 this Optional Coverage applies will auto-
        (1) The mortgageholder's rights under the                    matically increase by the annual percent-
            mortgage will be transferred to us to the                age shown in the Declarations.
            extent of the amount we pay; and                      b. The amount of increase will be:
        (2) The mortgageholder's right to recover                   (1) The Limit of Insurance that applied on
            the full amount of the mortgageholder's                     the most recent of the policy inception
            claim will not be impaired.                                 date, the policy anniversary date, or any
         At our option, we may pay to the mortgage-                     other policy change amending the Limit
         holder the whole principal on the mortgage                     of Insurance, times
         plus any accrued interest. In this event,                  (2) The percentage of annual increase
         your mortgage and note will be transferred                     shown in the Declarations, expressed as
         to us and you will pay your remaining mort                     a decimal (example: 8% is .08), times
         gage debt to us.
                                                                    (3) The number of days since the beginning
      f. If we cancel this policy, we will give written                 of the current policy year or the effective
         notice to the mortgageholder at least:                         date of the most recent policy change
        (1) 10 days before the effective date of                        amending the Limit of Insurance, divided
            cancellation if we cancel for your non-                     by 365.
            payment of premium; or
        (2) 30 days before the effective date of
            cancellation if we cancel for any other
            reason.




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EXAMPLE                                                                 (2) The cost to replace the lost or damaged
                                                                            property with other property:
If:    The applicable Limit of Insurance is:    $ 100,000
                                                                              (a) Of comparable material and quality;
       The annual percentage increase is:             8%                          and
       The number of days since the
                                                                           (b) Used for the same purpose; or
       beginning of the policy year
       (or last policy change) is:                    146               (3) The amount actually spent that is nec-
       The amount of increase is:                                           essary to repair or replace the lost or
       $100,000x.08x146~365=                                                damaged property.
                                               $    3,200
                                                                         If a building is rebuilt at a new premises, the
      3. Replacement Cost                                                cost described in e.(2) above is limited to
        a. Replacement Cost (without deduction for                       the cost which would have been incurred if
           depreciation) replaces Actual Cash Value in                   the building had been rebuilt at the original
           the Loss Condition, Valuation, of this Cov-                   premises.
           erage Form.                                                f. The cost of repair or replacement does not
        b. This Optional Coverage does not apply to:                     include the increased cost attributable to
                                                                         enforcement of any ordinance or law regu-
          (1) Personal property of others;
                                                                         lating the construction, use or repair of any
          (2) Contents of a residence; or                                property.
          (3) Works of art, antiques or rare articles,            4. Extension Of Replacement Cost To
              including etchings, pictures, statuary,                Personal Property Of Others
              marbles, bronzes, porcelains and bric-a-
                                                                      a. If the Replacement Cost Optional Coverage
              brac.
                                                                         is shown as applicable in the Declarations,
           Under the terms of this Replacement Cost                      then this Extension may also be shown as
           Optional Coverage, personal property                          applicable. If the Declarations show this Ex-
           owned indivisibly by all unit-owners, and the                 tension as applicable, then Paragraph
           property covered under Paragraph A.1.a.(6)                    3.b.(1) of the Replacement Cost Optional
           of this Coverage Form, are not considered                     Coverage is deleted and all other provisions
           to be the personal property of others.                        of the Replacement Cost Optional Cover-
        c. You may make a claim for loss or damage                       age apply to replacement cost on personal
           covered by this insurance on an actual cash                   property of others.
           value basis instead of on a replacement                    b. With respect to replacement cost on the
           cost basis. In the event you elect to have                    personal property of others, the following
           loss or damage settled on an actual cash                      limitation applies:
           value basis, you may still make a claim for
                                                                         If an item(s) of personal property of others
           the additional coverage this Optional Cov-
                                                                         is subject to a written contract which gov-
           erage provides if you notify us of your intent
                                                                         erns your liability for loss or damage to that
           to do so within 180 days after the loss or
                                                                         item(s), then valuation of that item(s) will be
           damage.
                                                                         based on the amount for which you are lia-
        d. We will not pay on a replacement cost basis                   ble under such contract, but not to exceed
           for any loss or damage:                                       the lesser of the replacement cost of the
          (1) Until the lost or damaged property is                      property or the applicable Limit of Insur-
              actually repaired or replaced; and                         ance.
          (2) Unless the repairs or replacement are            H. Definitions
              made as soon as reasonably possible                 1. "Fungus" means any type or form of fungus,
              after the loss or damage.                              including mold or mildew, and any mycotoxins,
        e. We will not pay more for loss or damage on                spores, scents or by-products produced or re-
           a replacement cost basis than the least of                leased by fungi.
           (1), (2) or (3), subject to f. below:                  2. "Pollutants" means any solid, liquid, gaseous or
          (1) The Limit of Insurance applicable to the               thermal irritant or contaminant, including
               lost or damaged property;                             smoke, vapor, soot, fumes, acids, alkalis,
                                                                     chemicals and waste. Waste includes materials
                                                                     to be recycled, reconditioned or reclaimed.




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This endorsement modifies insurance provided under the:
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  4I1
1019
WIW
STANDARD PROPERTY POLICY

A. The following is added to PROPERTY NOT COVERED:
       1. Awnings or canopies of fabric or slat construction, including their supports;
       2. Brick, metal, stone, or concrete chimneys or stacks not forming part of a building, or metal smokestacks;
       3. Crop silos or their contents;
       4. Waterwheels, windmills, wind pumps or their towers;
       5. Personal Property contained in safes or vaults;
       6. Ores, gravels, clay, or sand;
       7. Property of others;
       8. Property stored in open yards;
       9. Vending machines or their contents;
       10. Petroleum products and other merchandise, including the contents of above or below ground tanks;
       11.
         Cranes;
       12. Buildings or other structures not scheduled in the declarations and a specific limit shown.
B. The following is added to PROPERTY NOT COVERED unless the property is scheduled on the Declarations and a
   specific limit shown:
       1. Swimming Pools, diving towers, or platforms;
       2. Tenants improvements and betterments;
       3. Signs inside the premises;
       4. "Stock"
       5. Buildings or their contents in which any cooking is done, including restaurants and lunch rooms;
       6. Buildings or their contents used to repair tires or electric batteries except for buildings or their contents used for
          patching of tires and tubes;
       7. Buildings or their contents used to store or repair motor vehicles you do not own except for buildings or their
          contents used for occasional incidental repairs;
       8. Buildings used principally for storage, sales or repairing of appliances or heating devices or their part.




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           '• p.U1
This endorsement modifies insurance provided under the following:

   BUILDERS RISK COVERAGE FORM (COMMERCIAL PROPERTY COVERAGE PART)
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM
   STANDARD PROPERTY POLICY


With respect to a loss to commercial residential                 2. We fail to appear at a mediation conference
property, the following replaces the Appraisal                      without good cause, we will pay your actual
Condition:                                                          cash expenses you incur in attending the
Mediation Or Appraisal                                              mediation conference and also pay the total
                                                                    cost of the rescheduled mediation conference.
If we and you:
                                                             B. Disagree on the value of the property or the
A. Are engaged in a dispute regarding a claim, either           amount of loss, either may request an appraisal of
   may request a mediation of the loss in accordance            the loss, in writing. In this event, each party will
   with the rules established by the Florida                    select a competent and impartial appraiser. The
   Department of Financial Services. The loss                   two appraisers will select an umpire. If they cannot
   amount must be $500 or more, prior to application            agree, either may request that selection be made
   of the deductible; or there must be a difference of          by a judge of a court having jurisdiction. The
   $500 or more between the loss settlement amount              appraisers will state separately the value of the
   we offer and the loss settlement amount that you             property and amount of loss. If they fail to agree,
   request. The settlement in the course of mediation           they will submit their differences to the umpire. A
   is binding only if both parties agree, in writing, on a      decision agreed to by any two will be binding.
   settlement, and you have not rescinded the                   Each party will:
   settlement within three business days after
   reaching settlement. You may not rescind the                  1. Pay its chosen appraiser; and
   settlement after cashing or depositing the                    2. Bear the other expenses of the appraisal and
   settlement check or draft we provided to you.                    umpire equally.
   We will pay the cost of conducting the mediation              If there is an appraisal, we will still retain our right
   conference. However, if:                                      to deny the claim.
   1. You fail to appear at the mediation conference             However, you are not required to submit to, or
      and you wish to schedule a new conference                  participate in, any appraisal of the loss as a
      after failing to appear, then the new conference           precondition to action against us for failure to pay
      will be scheduled only upon your payment of a              the loss, if we:
      sum equal to the fees we paid for the                      1. Requested mediation and either party rejected
      mediation conference at which you failed to                   the mediation result; or
      appear. This sum will then be applied to the
      cost of the rescheduled mediation conference,              2. Failed to notify you of your right to participate
      and we will pay the balance, if any, of the cost              in the mediation program.
      of conducting the rescheduled mediation
      conference; or




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POLICY NUMBER:                                                                       [••]
                                                                                            Nali.owl,
                                                                                            I




This endorsement modifies insurance provided under the following:

   CONDOMINIUM ASSOCIATION COVERAGE FORM




                                   Condominium Additional Building Property
         Premises Number                      Building Number              Additional Covered Property



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Building section is replaced by the following:                 g. Any other portion of the condominium
   1. Building, meaning the building or structure                    property located outside of individual units,
      described in the Declarations, including:                      including improvements, additions and
                                                                     alterations;
      a. Additions, alterations and repairs;
                                                                  h. Fixtures, improvements, additions and
      b. Fixtures, outside of individual            units,           alterations that are a part of the building or
         including outdoor fixtures;                                 structure and contained within the
       c. Permanently installed:                                     boundaries of an individual unit, regardless
                                                                     of ownership, if your Condominium
         (1) Machinery; and
                                                                     Association Agreement requires you to
        (2) Equipment;                                               insure such property; and
      d. Personal property owned by you that is                     i. Additional property as described in the
         used to maintain or service the building or                   Schedule or in the Declarations.
         structure or its premises, including:
                                                               2. But Building does not include:
         (1) Fire extinguishing equipment;
                                                                  a. Any personal property within individual units
         (2) Outdoor furniture;                                      or limited common elements except as
         (3) Floor coverings; and                                    provided in Paragraph A.1.f. of this
                                                                     endorsement;
         (4) Appliances used for refrigerating,
             ventilating, cooking, dishwashing or                 b. Floor coverings, wall coverings and ceiling
             laundering that are not contained within                coverings located within the boundaries of
             individual units;                                       an individual unit and which serve only such
                                                                     unit;
       e. If not covered by other insurance, materials,
          equipment,      supplies    and    temporary            c. Electrical fixtures, water heaters, water
          structures, on or within 100 feet of the                   filters,   window    treatments,    including
          described premises, used for making                        curtains, drapes, blinds, hardware and
          additions, alterations or repairs to the                   similar window treatment components, and
          building or structure;                                     built-in cabinets and countertops which are
                                                                     located within the boundaries of an
       i. Air conditioning and heating equipment,                    individual unit and serve only such unit;
          including air conditioning compressors,
          used to service any part of the building or
          structure, including individual units and the
          limited common elements;




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      d. Appliances, such as those used for                C. With respect to Replacement Cost coverage as
         refrigerating, ventilating, cooking, dish-           provided under this Coverage Form, the property
         washing,      laundering,    security   or           described in Paragraph A.M. of this endorsement
         housekeeping, which are located within the           is not considered to be the personal property of
         boundaries of an individual unit and serve           others.
         only such unit.
B. With respect to the coverage provided under this
   Coverage Form, such coverage will be provided
   for all portions of the condominium property as
   originally installed or replacement of like kind and
   quality, in accordance with the original plans and
   specifications.




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This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTATION OR
   FRAUD                                                     No person or organization, other than you, having
   This Coverage Part is void in any case of fraud by        custody of Covered Property will benefit from this
   you as it relates to this Coverage Part at any time.      insurance.
   It is also void if you or any other insured, at any     c.i:   11REU1i[.i
   time, intentionally conceal or misrepresent a mate-
   rial fact concerning:                                     1. You may have other insurance subject to the
                                                                same plan, terms, conditions and provisions as
   1. This Coverage Part;                                       the insurance under this Coverage Part. If you
   2. The Covered Property;                                     do, we will pay our share of the covered loss or
   3. Your interest in the Covered Property; or                 damage. Our share is the proportion that the
                                                                applicable Limit of Insurance under this Cover-
   4. A claim under this Coverage Part.                         age Part bears to the Limits of Insurance of all
                                                                insurance covering on the same basis.
   Any act or neglect of any person other than you           2. If there is other insurance covering the same
   beyond your direction or control will not affect this        loss or damage, other than that described in 1.
   insurance.                                                   above, we will pay only for the amount of cov-
                                                                ered loss or damage in excess of the amount
   The breach of any condition of this Coverage Part
                                                                due from that other insurance, whether you can
   at any one or more locations will not affect cover-
                                                                collect on it or not. But we will not pay more
   age at any location where, at the time of loss or
                                                                than the applicable Limit of Insurance.
   damage, the breach of condition does not exist.
                                                           H. POLICY PERIOD, COVERAGE TERRITORY
C. INSURANCE UNDER TWO OR MORE COVER-
   AGES                                                      Under this Coverage Part:
   If two or more of this policy's coverages apply to        1. We cover loss or damage commencing:
   the same loss or damage, we will not pay more                  a. During the policy period shown in the Dec-
   than the actual amount of the loss or damage.                     larations; and
                                                                  b. Within the coverage territory.
   No one may bring a legal action against us under          2. The coverage territory is:
   this Coverage Part unless:
                                                                  a. The United States of America (including its
   1. There has been full compliance with all of the                 territories and possessions);
      terms of this Coverage Part; and
                                                                  b. Puerto Rico; and
   2. The action is brought within 2 years after the
      date on which the direct physical loss or dam-              c. Canada.
      age occurred.


   If we adopt any revision that would broaden the
   coverage under this Coverage Part without addi-
   tional premium within 45 days prior to or during the
   policy period, the broadened coverage will imme-
   diately apply to this Coverage Part.




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I TRANSFER OF RIGHTS              OF    RECOVERY           1. Prior to a loss to your Covered Property or
  AGAINST OTHERS TO US                                        Covered Income.
   If any person or organization to or for whom we         2. After a loss to your Covered Property or Cov-
   make payment under this Coverage Part has                  ered Income only if, at time of loss, that party is
   rights to recover damages from another, those              one of the following:
   rights are transferred to us to the extent of our           a. Someone insured by this insurance;
   payment. That person or organization must do
   everything necessary to secure our rights and               b. A business firm:
   must do nothing after loss to impair them. But you            (1) Owned or controlled by you; or
   may waive your rights against another party in
                                                                 (2) That owns or controls you; or
   writing:
                                                               c. Your tenant.
                                                           This will not restrict your insurance.




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                                                                                                       0,101M,       A




Words and phrases that appear in quotation marks have special meaning. Refer to Section G., Definitions.


                                                                     (4) Earth sinking (other than sinkhole col-
   When Special is shown in the Declarations, Cov-                       lapse), rising or shifting including soil
   ered Causes of Loss means Risks Of Direct Phys-                       conditions which cause settling, crack-
   ical Loss unless the loss is:                                         ing or other disarrangement of founda-
                                                                         tions or other parts of realty. Soil condi-
   1. Excluded in Section B., Exclusions; or                             tions include contraction, expansion,
   2. Limited in Section C., Limitations:                                freezing, thawing, erosion, improperly
                                                                         compacted soil and the action of water
   that follow.
                                                                         under the ground surface.
B. Exclusions
                                                                      But if Earth Movement, as described in
   1. We will not pay for loss or damage caused                       b.(1) through (4) above, results in fire or
      directly or indirectly by any of the following.                 explosion, we will pay for the loss or dam-
      Such loss or damage is excluded regardless of                   age caused by that fire or explosion.
      any other cause or event that contributes con-
                                                                     (5) Volcanic eruption, explosion or effusion.
      currently or in any sequence to the loss.
                                                                         But if volcanic eruption, explosion or ef-
      a. Ordinance Or Law                                                fusion results in fire, building glass
         The enforcement of any ordinance or law:                        breakage or Volcanic Action, we will pay
                                                                         for the loss or damage caused by that
         (1) Regulating the construction, use or                         fire, building glass breakage or Volcanic
             repair of any property; or                                  Action.
         (2) Requiring the tearing down of any prop-                       Volcanic Action means direct loss or
             erty, including the cost of removing its                      damage resulting from the eruption of a
             debris.                                                       volcano when the loss or damage is
          This exclusion, Ordinance Or Law, applies                        caused by:
          whether the loss results from:
                                                                           (a) Airborne volcanic blast or airborne
             (a) An ordinance or law that is enforced                          shock waves;
                 even if the property has not been                         (b) Ash, dust or particulate matter; or
                 damaged; or
                                                                           (c) Lava flow.
             (b) The increased costs incurred to
                 comply with an ordinance or law in                        All volcanic eruptions that occur within
                 the course of construction, repair,                       any 168-hour period will constitute a
                 renovation, remodeling or demolition                      single occurrence.
                 of property, or removal of its debris,                    Volcanic Action does not include the
                 following a physical loss to that                         cost to remove ash, dust or particulate
                 property.                                                 matter that does not cause direct physi-
      b. Earth Movement                                                    cal loss or damage to the described
                                                                           property.
         (1) Earthquake, including any earth sinking,
             rising or shifting related to such event;             c. Governmental Action
         (2) Landslide, including any earth sinking,                  Seizure or destruction of property by order
             rising or shifting related to such event;                of governmental authority.
         (3) Mine subsidence, meaning subsidence                      But we will pay for loss or damage caused
             of a man-made mine, whether or not                       by or resulting from acts of destruction or-
             mining activity has ceased;                              dered by governmental authority and taken
                                                                      at the time of a fire to prevent its spread, if
                                                                      the fire would be covered under this Cover-
                                                                      age Part.




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      d. Nuclear Hazard                                           g. Water
         Nuclear reaction or radiation, or radioactive              (1) Flood, surface water, waves, tides, tidal
         contamination, however caused.                                 waves, overflow of any body of water, or
         But if nuclear reaction or radiation, or radio-                their spray, all whether driven by wind or
         active contamination, results in fire, we will                 not;
         pay for the loss or damage caused by that                  (2) Mudslide or mudflow;
         fire.                                                      (3) Water that backs up or overflows from a
      e. Utility Services                                               sewer, drain or sump; or
         The failure of power, communication, water                 (4) Water under the ground surface press-
         or other utility service supplied to the de-                   ing on, or flowing or seeping through:
         scribed premises, however caused, if the                         (a) Foundations, walls, floors or paved
         failure:                                                             surfaces;
        (1) Originates away from the described                            (b) Basements, whether paved or not; or
            premises; or
                                                                          (c) Doors, windows or other openings.
        (2) Originates at the described premises,
            but only if such failure involves equip-                 But if Water, as described in 9.(1) through
            ment used to supply the utility service to               g.(4) above, results in fire, explosion or
            the described premises from a source                     sprinkler leakage, we will pay for the loss or
            away from the described premises.                        damage caused by that fire, explosion or
                                                                     sprinkler leakage.
         Failure of any utility service includes lack of
         sufficient capacity and reduction in supply.             h. "Fungus", Wet Rot, Dry Rot And
                                                                     Bacteria
         Loss or damage caused by a surge of pow-
         er is also excluded, if the surge would not                 Presence, growth, proliferation, spread or
         have occurred but for an event causing a                    any activity of "fungus", wet or dry rot or
         failure of power.                                           bacteria.
         But if the failure or surge of power, or the                But if "fungus", wet or dry rot or bacteria re-
         failure of communication, water or other util-              sults in a "specified cause of loss", we will
         ity service, results in a Covered Cause of                  pay for the loss or damage caused by that
         Loss, we will pay for the loss or damage                    "specified cause of loss".
         caused by that Covered Cause of Loss.                       This exclusion does not apply:
         Communication services include but are not                  1. When "fungus", wet or dry rot or bacteria
         limited to service relating to Internet access                 results from fire or lightning; or
         or access to any electronic, cellular or satel-
                                                                     2. To the extent that coverage is provided
         lite network.
                                                                        in the Additional Coverage      Limited
                                                                                                         -


      f. War And Military Action                                        Coverage For "Fungus", Wet Rot, Dry
        (1) War, including undeclared or civil war;                     Rot And Bacteria with respect to loss or
                                                                        damage by a cause of loss other than
        (2) Warlike action by a military force, includ-                 fire or lightning.
            ing action in hindering or defending
            against an actual or expected attack, by              Exclusions B.1.a. through B.1.h. apply whether
            any government, sovereign or other au-                or not the loss event results in widespread
            thority using military personnel or other             damage or affects a substantial area.
            agents; or                                         2. We will not pay for loss or damage caused by
        (3) Insurrection,    rebellion,   revolution,             or resulting from any of the following:
            usurped power, or action taken by gov-                a. Artificially generated electrical, magnetic or
            ernmental authority in hindering or de-                  electromagnetic energy that damages, dis-
            fending against any of these.                            turbs, disrupts or otherwise interferes with
                                                                     any:
                                                                    (1) Electrical or electronic wire, device,
                                                                        appliance, system or network; or
                                                                    (2) Device, appliance, system or network
                                                                        utilizing cellular or satellite technology.




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         For the purpose of this exclusion, electrical,            e. Explosion of steam boilers, steam pipes,
         magnetic or electromagnetic energy in-                       steam engines or steam turbines owned or
         cludes but is not limited to:                                leased by you, or operated under your con-
            (a) Electrical current, including arcing;                 trol. But if explosion of steam boilers, steam
                                                                      pipes, steam engines or steam turbines re-
            (b) Electrical charge produced or con-                    sults in fire or combustion explosion, we will
                ducted by a magnetic or electromag-                   pay for the loss or damage caused by that
                netic field;                                          fire or combustion explosion. We will also
            (c) Pulse of electromagnetic energy; or                   pay for loss or damage caused by or result-
                                                                      ing from the explosion of gases or fuel with-
            (d) Electromagnetic waves or micro-
                                                                      in the furnace of any fired vessel or within
                waves.
                                                                      the flues or passages through which the
         But if fire results, we will pay for the loss or             gases of combustion pass.
         damage caused by that fire.
                                                                   f. Continuous or repeated seepage or leak-
      b. Delay, loss of use or loss of market.                        age of water, or the presence or condensa-
      c. Smoke, vapor or gas from agricultural                        tion of humidity, moisture or vapor, that oc-
         smudging or industrial operations.                           curs over a period of 14 days or more.
      d. (1) Wear and tear;                                        g. Water, other liquids, powder or molten
                                                                      material that leaks or flows from plumbing,
         (2) Rust or other corrosion, decay, deterio-
                                                                      heating, air conditioning or other equipment
             ration, hidden or latent defect or any
                                                                      (except fire protective systems) caused by
             quality in property that causes it to dam-
                                                                      or resulting from freezing, unless:
             age or destroy itself;
                                                                        (1) You do your best to maintain heat in the
         (3) Smog;                                                          building or structure; or
        (4) Settling, cracking, shrinking or expan-
                                                                        (2) You drain the equipment and shut off
            sion;
                                                                            the supply if the heat is not maintained.
        (5) Nesting or infestation, or discharge or
                                                                   h. Dishonest or criminal act by you, any of
            release of waste products or secretions,
                                                                      your partners, members, officers, manag-
            by insects, birds, rodents or other ani-
                                                                      ers, employees (including leased employ-
            mals.
                                                                      ees), directors, trustees, authorized repre-
        (6) Mechanical breakdown, including rup-                      sentatives or anyone to whom you entrust
            ture or bursting caused by centrifugal                    the property for any purpose:
            force. But if mechanical breakdown re-
                                                                        (1) Acting alone or in collusion with others;
            sults in elevator collision, we will pay for
                                                                            or
            the loss or damage caused by that ele-
            vator collision.                                            (2) Whether or not occurring during the
                                                                            hours of employment.
        (7) The following causes of loss to personal
            property:                                                   This exclusion does not apply to acts of de-
                                                                        struction by your employees (including
            (a) Dampness or dryness of atmos-                           leased employees); but theft by employees
                phere;
                                                                        (including leased employees) is not cov-
           (b) Changes in or extremes of tempera-                       ered.
               ture; or
                                                                   i, Voluntary parting with any property by you
            (c) Marring or scratching.                                or anyone else to whom you have entrusted
         But if an excluded cause of loss that is                     the property if induced to do so by any
         listed in 2.d.(1) through (7) results in a                   fraudulent scheme, trick, device or false
         "specified cause of loss" or building glass                  pretense.
         breakage, we will pay for the loss or dam-                j.   Rain, snow, ice or sleet to personal proper-
         age caused by that "specified cause of                         ty in the open.
         loss" or building glass breakage.




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      k. Collapse, including any of the following                 a. Weather conditions. But this exclusion only
         conditions of property or any part of the                   applies if weather conditions contribute in
         property:                                                   any way with a cause or event excluded in
        (1) An abrupt falling down or caving in;                     Paragraph 1. above to produce the loss or
                                                                     damage.
        (2) Loss of structural integrity, including
            separation of parts of the property or                b. Acts or decisions, including the failure to act
            property in danger of falling down or                    or decide, of any person, group, organiza-
            caving in; or                                            tion or governmental body.
        (3) Any cracking, bulging, sagging, bending,              c. Faulty, inadequate or defective:
            leaning, settling, shrinkage or expansion               (1) Planning, zoning, development, survey-
            as such condition relates to (1) or (2)                     ing, siting;
            above.                                                  (2) Design, specifications, workmanship,
         But if collapse results in a Covered Cause                     repair, construction, renovation, remod-
         of Loss at the described premises, we will                     eling, grading, compaction;
         pay for the loss or damage caused by that                  (3) Materials used in repair, construction,
         Covered Cause of Loss.                                         renovation or remodeling; or
         This exclusion, k., does not apply:                        (4) Maintenance;
            (a) To the extent that coverage is pro-                  of part or all of any property on or off the
                vided under the Additional Coverage                  described premises.
                - Collapse; or
                                                               4. Special Exclusions
            (b) To collapse caused by one or more
                of the following:                                 The following provisions apply only to the spec-
                                                                  ified Coverage Forms.
                (i) The "specified causes of loss";
                                                                  a. Business Income (And Extra Expense)
               (ii) Breakage of building glass;                      Coverage Form, Business Income
               (iii) Weight of rain that collects on a               (Without Extra Expense) Coverage Form,
                     roof; or                                        Or Extra Expense Coverage Form
               (iv) Weight of people or personal                     We will not pay for:
                    property.                                       (1) Any loss caused by or resulting from:
      I. Discharge, dispersal, seepage, migration,                        (a) Damage or destruction of "finished
         release or escape of "pollutants" unless the                         stock"; or
         discharge, dispersal, seepage, migration,
         release or escape is itself caused by any of                     (b) The time required to reproduce "fin-
         the "specified causes of loss". But if the dis-                      ished stock".
         charge, dispersal, seepage, migration, re-                       This exclusion does not apply to Extra
         lease or escape of "pollutants" results in a                     Expense.
         "specified cause of loss", we will pay for the
                                                                    (2) Any loss caused by or resulting from
         loss or damage caused by that "specified
                                                                        direct physical loss or damage to radio
         cause of loss".
                                                                        or television antennas (including satellite
         This exclusion, I., does not apply to dam-                     dishes) and their lead-in wiring, masts or
         age to glass caused by chemicals applied                       towers.
         to the glass.
                                                                    (3) Any increase of loss caused by or re-
     m. Neglect of an insured to use all reasonable                     sulting from:
        means to save and preserve property from
                                                                          (a) Delay in rebuilding, repairing or
        further damage at and after the time of loss.
                                                                              replacing the property or resuming
   3. We will not pay for loss or damage caused by                            "operations", due to interference at
      or resulting from any of the following, 3.a.                            the location of the rebuilding, repair
      through 3.c. But if an excluded cause of loss                           or replacement by strikers or other
      that is listed in 3.a. through 3,c. results in a                        persons; or
      Covered Cause of Loss, we will pay for the
      loss or damage caused by that Covered Cause
      of Loss.




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           (b) Suspension, lapse or cancellation of                   (2) The following additional exclusions
               any license, lease or contract. But if                     apply to insurance under this Coverage
               the suspension, lapse or cancellation                      Form:
               is directly caused by the "suspen-                          (a) Contractual Liability
               sion" of "operations", we will cover
               such loss that affects your Business                           We will not defend any claim or
               Income during the "period of restora-                          "suit", or pay damages that you are
               tion" and any extension of the "peri-                          legally liable to pay, solely by reason
               od of restoration" in accordance with                          of your assumption of liability in a
               the terms of the Extended Business                             contract or agreement. But this ex-
               Income Additional Coverage and the                             clusion does not apply to a written
               Extended Period Of Indemnity Op-                               lease agreement in which you have
               tional Coverage or any variation of                            assumed liability for building damage
               these.                                                         resulting from an actual or attempted
                                                                              burglary or robbery, provided that:
        (4) Any Extra Expense caused by or result-
            ing from suspension, lapse or cancella-                           (i) Your assumption of liability was
            tion of any license, lease or contract be-                            executed prior to the accident;
            yond the "period of restoration".                                     and
        (5) Any other consequential loss.                                     (ii) The building is Covered Property
                                                                                   under this Coverage Form.
      b. Leasehold Interest Coverage Form
                                                                           (b) Nuclear Hazard
        (1) Paragraph B.1.a., Ordinance Or Law,
            does not apply to insurance under this                            We will not defend any claim or
            Coverage Form.                                                    "suit", or pay any damages, loss,
                                                                              expense or obligation, resulting from
        (2) We will not pay for any loss caused by:                           nuclear reaction or radiation, or
           (a) Your cancelling the lease;                                     radioactive contamination, however
           (b) The suspension, lapse or cancella-                             caused.
               tion of any license; or                                               rrfl7
           (c) Any other consequential loss.                       The following provisions apply only to the spec-
      c. Legal Liability Coverage Form                             ified property.
        (1) The following exclusions do not apply to               LOSS OR DAMAGE TO PRODUCTS
            insurance under this Coverage Form:                    We will not pay for loss or damage to any mer-
           (a) Paragraph    B.1.a.,    Ordinance    Or             chandise, goods or other product caused by or
               Law;                                                resulting from error or omission by any person
                                                                   or entity (including those having possession
           (b) Paragraph     B.1.c.,   Governmental                under an arrangement where work or a portion
               Action;                                             of the work is outsourced) in any stage of the
           (c) Paragraph B.1.d., Nuclear Hazard;                   development, production or use of the product,
                                                                   including planning, testing, processing, pack-
           (d) Paragraph B.1.e., Utility Services;
               and                                                 aging, installation, maintenance or repair. This
                                                                   exclusion applies to any effect that compro-
           (e) Paragraph B.1.f., War And Military                  mises the form, substance or quality of the
               Action.                                             product. But if such error or omission results in
                                                                   a Covered Cause of Loss, we will pay for the
                                                                   loss or damage caused by that Covered Cause
                                                                   of Loss.




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C. Limitations                                                  2. We will not pay for loss of or damage to the
   The following limitations apply to all policy forms             following types of property unless caused by
   and endorsements, unless otherwise stated.                      the "specified causes of loss" or building glass
                                                                   breakage:
   1. We will not pay for loss of or damage to prop-
      erty, as described and limited in this section. In           a. Animals, and then only if they are killed or
      addition, we will not pay for any loss that is a                their destruction is made necessary.
      consequence of loss or damage as described                   b. Fragile articles such as statuary, marbles,
      and limited in this section.                                    chinaware and porcelains, if broken. This
      a. Steam boilers, steam pipes, steam engines                    restriction does not apply to:
         or steam turbines caused by or resulting                     (1) Glass; or
         from any condition or event inside such                      (2) Containers of property held for sale.
         equipment. But we will pay for loss of or
         damage to such equipment caused by or                     c. Builders' machinery, tools and equipment
         resulting from an explosion of gases or fuel                 owned by you or entrusted to you, provided
         within the furnace of any fired vessel or                    such property is Covered Property.
         within the flues or passages through which                   However, this limitation does not apply:
         the gases of combustion pass.
                                                                      (1) If the property is located on or within
      b. Hot water boilers or other water heating                         100 feet of the described premises, un-
         equipment caused by or resulting from any                        less the premises is insured under the
         condition or event inside such boilers or                        Builders Risk Coverage Form; or
         equipment, other than an explosion.
                                                                      (2) To Business Income Coverage or to
      c. The interior of any building or structure, or                    Extra Expense Coverage.
         to personal property in the building or struc-
                                                                3. The special limit shown for each category, a.
         ture, caused by or resulting from rain, snow,
                                                                   through d., is the total limit for loss of or dam-
         sleet, ice, sand or dust, whether driven by
                                                                   age to all property in that category. The special
         wind or not, unless:                                      limit applies to any one occurrence of theft, re-
        (1) The building or structure first sustains               gardless of the types or number of articles that
            damage by a Covered Cause of Loss to                   are lost or damaged in that occurrence. The
            its roof or walls through which the rain,              special limits are:
            snow, sleet, ice, sand or dust enters; or
                                                                   a. $2,500 for furs, fur garments and garments
        (2) The loss or damage is caused by or                        trimmed with fur.
            results from thawing of snow, sleet or
                                                                   b. $2,500 for jewelry, watches, watch move-
            ice on the building or structure.
                                                                      ments, jewels, pearls, precious and semi-
      d. Building materials and supplies not at-                      precious stones, bullion, gold, silver, plati-
         tached as part of the building or structure,                 num and other precious alloys or metals.
         caused by or resulting from theft.                           This limit does not apply to jewelry and
         However, this limitation does not apply to:                  watches worth $100 or less per item.
        (1) Building materials and supplies held for               c. $2,500 for patterns, dies, molds and forms.
            sale by you, unless they are insured un-               d. $250 for stamps, tickets, including lottery
            der the Builders Risk Coverage Form; or                   tickets held for sale, and letters of credit.
        (2) Business Income Coverage or Extra                      These special limits are part of, not in addition
            Expense Coverage.                                      to, the Limit of Insurance applicable to the
      e. Property that is missing, where the only                  Covered Property.
         evidence of the loss or damage is a short-                This limitation, C.3., does not apply to Busi-
         age disclosed on taking inventory, or other               ness Income Coverage or to Extra Expense
         instances where there is no physical evi-                 Coverage.
         dence to show what happened to the prop-
         erty.
      f. Property that has been transferred to a
         person or to a place outside the described
         premises on the basis of unauthorized in-
         structions.




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   4. We will not pay the cost to repair any defect to          3. This Additional Coverage      -   Collapse does
      a system or appliance from which water, other                not apply to:
      liquid, powder or molten material escapes. But               a. A building or any part of a building that is in
      we will pay the cost to repair or replace dam-                  danger of falling down or caving in;
      aged parts of fire-extinguishing equipment if
      the damage:                                                  b. A part of a building that is standing, even if
                                                                      it has separated from another part of the
      a. Results in discharge of any substance from                   building; or
         an automatic fire protection system; or
                                                                   c. A building that is standing or any part of a
      b. Is directly caused by freezing.                              building that is standing, even if it shows
      However, this limitation does not apply to Busi-                evidence of cracking, bulging, sagging,
      ness Income Coverage or to Extra Expense                        bending, leaning, settling, shrinkage or ex-
      Coverage.                                                       pansion.
                                                               4. With respect to the following property:
  The coverage provided under this Additional Cov-                 a. Outdoor radio or television antennas (in-
  erage   -Collapse applies only to an abrupt col-                    cluding satellite dishes) and their lead-in
  lapse as described and limited in D.I. through D.7.                 wiring, masts or towers;
   1. For the purpose of this Additional Coverage      -           b. Awnings, gutters and downspouts;
      Collapse, abrupt collapse means an abrupt fall-              c. Yard fixtures;
      ing down or caving in of a building or any part
      of a building with the result that the building or           d. Outdoor swimming pools;
      part of the building cannot be occupied for its              e. Fences;
      intended purpose.
                                                                   f. Piers, wharves and docks;
   2. We will pay for direct physical loss or damage
                                                                   g. Beach or diving platforms or appurte-
      to Covered Property, caused by abrupt col-                      nances;
      lapse of a building or any part of a building that
      is insured under this Coverage Form or that                  h. Retaining walls; and
      contains Covered Property insured under this                 i. Walks, roadways and other paved surfaces;
      Coverage Form, if such collapse is caused by
                                                                   if an abrupt collapse is caused by a cause of
      one or more of the following:
                                                                   loss listed in 2.a. through 2.d., we will pay for
                                                                   loss or damage to that property only if:
      a. Building decay that is hidden from view,                    (1) Such loss or damage is a direct result of
         unless the presence of such decay is                            the abrupt collapse of a building insured
         known to an insured prior to collapse;                          under this Coverage Form; and
      b. Insect or vermin damage that is hidden                      (2) The property is Covered Property under
         from view, unless the presence of such                          this Coverage Form.
         damage is known to an insured prior to col-
                                                               S. If personal property abruptly falls down or
         lapse;
                                                                  caves in and such collapse is not the result of
      c. Use of defective material or methods in                  abrupt collapse of a building, we will pay for
         construction, remodeling or renovation if the            loss or damage to Covered Property caused by
         abrupt collapse occurs during the course of              such collapse of personal property only if:
         the construction, remodeling or renovation.
                                                                   a. The collapse of personal property was
      d. Use of defective material or methods in                      caused by a cause of loss listed in 2.a.
         construction, remodeling or renovation if the                through 2.d.;
         abrupt collapse occurs after the construc-
         tion, remodeling or renovation is complete,               b. The personal property which collapses is
         but only if the collapse is caused in part by:               inside a building; and

         (1) A cause of loss listed in 2.a. or 2.b.;               c. The property which collapses is not of a
                                                                      kind listed in 4., regardless of whether that
         (2) One or more of the "specified causes of                  kind of property is considered to be person-
             loss";                                                   al property or real property.
         (3) Breakage of building glass;                           The coverage stated in this Paragraph 5. does
         (4) Weight of people or personal property;                not apply to personal property if marring and/or
             or                                                    scratching is the only damage to that personal
                                                                   property caused by the collapse.
         (5) Weight of rain that collects on a roof.




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   6. This Additional Coverage Collapse does not
                                 -                             3. The coverage described under E,2, of this
      apply to personal property that has not abruptly            Limited Coverage is limited to $15,000. Re-
      fallen down or caved in, even if the personal               gardless of the number of claims, this limit is
      property shows evidence of cracking, bulging,               the most we will pay for the total of all loss or
      sagging, bending, leaning, settling, shrinkage              damage arising out of all occurrences of
      or expansion.                                               "specified causes of loss" (other than fire or
   7. This Additional Coverage    Collapse will not
                                     -
                                                                  lightning) and Flood which take place in a 12-
      increase the Limits of Insurance provided in                month period (starting with the beginning of the
      this Coverage Part.                                         present annual policy period). With respect to a
                                                                  particular occurrence of loss which results in
   8. The term Covered Cause of Loss includes the                 "fungus", wet or dry rot or bacteria, we will not
      Additional Coverage    - Collapse as described              pay more than a total of $15,000 even if the
      and limited in D.I. through D.7.                            "fungus", wet or dry rot or bacteria continues to
E. Additional Coverage Limited Coverage For
                         -                                        be present or active, or recurs, in a later policy
   "Fungus", Wet Rot, Dry Rot And Bacteria                        period.
  1. The coverage described in E.2. and E.6. only             4. The coverage provided under this Limited
     applies when the "fungus", wet or dry rot or                Coverage does not increase the applicable
     bacteria is the result of one or more of the fol-           Limit of Insurance on any Covered Property. If
     lowing causes that occurs during the policy pe-             a particular occurrence results in loss or dam-
     riod and only if all reasonable means were                  age by "fungus", wet or dry rot or bacteria, and
     used to save and preserve the property from                 other loss or damage, we will not pay more, for
     further damage at the time of and after that oc-            the total of all loss or damage, than the appli-
     currence.                                                   cable Limit of Insurance on the affected Cov-
                                                                 ered Property.
      a. A "specified cause of loss" other than fire or
         lightning; or                                            If there is covered loss or damage to Covered
                                                                  Property, not caused by "fungus", wet or dry rot
      b. Flood, if the Flood Coverage Endorsement
                                                                  or bacteria, loss payment will not be limited by
         applies to the affected premises.
                                                                  the terms of this Limited Coverage, except to
   2. We will pay for loss or damage by "fungus",                 the extent that "fungus", wet or dry rot or bacte-
      wet or dry rot or bacteria. As used in this Lim-            ria causes an increase in the loss. Any such
      ited Coverage, the term loss or damage                      increase in the loss will be subject to the terms
      means:                                                      of this Limited Coverage.
      a. Direct physical loss or damage to Covered            5. The terms of this Limited Coverage do not
         Property caused by "fungus", wet or dry rot             increase or reduce the coverage provided un-
         or bacteria, including the cost of removal of           der Paragraph F.2. (Water Damage, Other Liq-
         the "fungus", wet or dry rot or bacteria;               uids, Powder Or Molten Material Damage) of
      b. The cost to tear out and replace any part of            this Causes Of Loss Form or under the Addi-
         the building or other property as needed to             tional Coverage Collapse.
                                                                                   -



         gain access to the "fungus", wet or dry rot          6. The following, 6.a. or 6.b., applies only if Busi-
         or bacteria; and                                        ness Income and/or Extra Expense Coverage
      c. The cost of testing performed after removal,            applies to the described premises and only if
         repair, replacement or restoration of the               the "suspension" of "operations" satisfies all
         damaged property is completed, provided                 terms and conditions of the applicable Busi-
         there is a reason to believe that "fungus",             ness Income and/or Extra Expense Coverage
         wet or dry rot or bacteria are present.                 Form.




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     a. If the loss which resulted in "fungus", wet or             This Coverage Extension is additional insur-
        dry rot or bacteria does not in itself necessi-            ance. The Additional Condition, Coinsurance,
        tate a "suspension" of "operations", but                   does not apply to this Extension.
        such "suspension" is necessary due to loss              2. Water Damage, Other Liquids, Powder Or
        or damage to property caused by "fungus",                  Molten Material Damage
        wet or dry rot or bacteria, then our payment
        under Business Income and/or Extra Ex-                     If loss or damage caused by or resulting from
        pense is limited to the amount of loss                     covered water or other liquid, powder or molten
        and/or expense sustained in a period of not                material damage loss occurs, we will also pay
        more than 30 days. The days need not be                    the cost to tear out and replace any part of the
        consecutive.                                               building or structure to repair damage to the
                                                                   system or appliance from which the water or
     b. If a covered "suspension" of "operations"                  other substance escapes. This Coverage Ex-
        was caused by loss or damage other than                    tension does not increase the Limit of Insur-
        "fungus", wet or dry rot or bacteria but re-               ance.
        mediation of "fungus", wet or dry rot or bac-
        teria prolongs the "period of restoration", we          3. Glass
        will pay for loss and/or expense sustained                 a. We will pay for expenses incurred to put up
        during the delay (regardless of when such a                   temporary plates or board up openings if
        delay occurs during the "period of restora-                   repair or replacement of damaged glass is
        tion"), but such coverage is limited to 30                    delayed.
        days. The days need not be consecutive.                    b. We will pay for expenses incurred to re-
                                                                      move or replace obstructions when repair-
   1. Property In Transit                                             ing or replacing glass that is part of a build-
                                                                      ing. This does not include removing or re-
     This Extension applies only to your personal                     placing window displays.
     property to which this form applies.
                                                                   This Coverage Extension, F.3., does not in-
     a. You may extend the insurance provided by                   crease the Limit of Insurance.
        this Coverage Part to apply to your person-
        al property (other than property in the care,      [e
        custody or control of your salespersons) in             1. "Fungus" means any type or form of fungus,
        transit more than 100 feet from the de-                    including mold or mildew, and any mycotoxins,
        scribed premises. Property must be in or on                spores, scents or by-products produced or re-
        a motor vehicle you own, lease or operate                  leased by fungi.
        while between points in the coverage terri-             2. "Specified causes of loss" means the following:
        tory.                                                      fire; lightning; explosion; windstorm or hail;
     b. Loss or damage must be caused by or                        smoke; aircraft or vehicles; riot or civil commo-
        result from one of the following causes of                 tion; vandalism; leakage from fire-extinguishing
        loss:                                                      equipment; sinkhole collapse; volcanic action;
        (1) Fire, lightning, explosion, windstorm or               falling objects; weight of snow, ice or sleet; wa-
            hail, riot or civil commotion, or vandal-              ter damage.
            ism.                                                   a. Sinkhole collapse means the sudden sink-
        (2) Vehicle collision, upset or overturn.                     ing or collapse of land into underground
            Collision means accidental contact of                     empty spaces created by the action of wa-
            your vehicle with another vehicle or ob-                  ter on limestone or dolomite. This cause of
            ject. It does not mean your vehicle's                     loss does not include:
            contact with the roadbed.                                 (1) The cost of filling sinkholes; or
        (3) Theft of an entire bale, case or package                  (2) Sinking or collapse of land into man-
            by forced entry into a securely locked                        made underground cavities.
            body or compartment of the vehicle.
            There must be visible marks of the
            forced entry.
      c. The most we will pay for loss or damage
         under this Extension is $5,000.




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     b. Falling objects does not include loss or                  c. Water damage means accidental discharge
        damage to:                                                   or leakage of water or steam as the direct
        (1) Personal property in the open; or                        result of the breaking apart or cracking of a
                                                                     plumbing, heating, air conditioning or other
        (2) The interior of a building or structure, or              system or appliance (other than a sump
            property inside a building or structure,                 system including its related equipment and
            unless the roof or an outside wall of the                parts), that is located on the described
            building or structure is first damaged by                premises and contains water or steam.
            a falling object.




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POLICY NUMBER: ECL9490372-04                                                       COMMERCIAL PROPERTY
                                                                                           CP 04 05 04 02




This endorsement modifies insurance provided under the following:

   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   STANDARD PROPERTY POLICY
                                                  SCHEDULE*

                                                  Ccv. B               Coy. C              Coy. B And C
 Bldg. No./                                        Limit               Limit              Combined Limit
 Prem. No.               Coy. A                  Of Insur.            Of Insur.               Of Insur.
                                                                                                     **
       /                     0
                                                                                                     **
       /                     0
                                                                                                     **
       I                     0
*Information required to complete the Schedule, if not shown on this endorsement, will be shown in the Declara-
tions form SUM 01 (08 07) General Policy Information.
                          -



**Do not enter a Combined Limit of Insurance if individual Limits of Insurance are selected for Coverages B and
C, or if one of these Coverages is not applicable.


A. Each Coverage - Coverage A, Coverage B and                   2.a. The building sustains direct physical dam-
   Coverage C is provided under this endorsement
                 -                                                   age that is covered under this policy and
   only if that Coverage(s) is chosen by entry in the                such damage results in enforcement of the
   above Schedule and then only with respect to the                  ordinance or law; or
   building identified for that Coverage(s) in the                b. The building sustains both direct physical
   Schedule.                                                         damage that is covered under this policy
B. Application Of Coverage(s)                                        and direct physical damage that is not cov-
   The Coverage(s) provided by this endorsement                      ered under this policy, and the building
   apply only if both B.1. and B.2. are satisfied and                damage in its entirety results in enforce-
   are then subject to the qualifications set forth in               ment of the ordinance or law.
   B.3.                                                           c. But if the building sustains direct physical
   1. The ordinance or law:                                           damage that is not covered under this poli-
                                                                      cy, and such damage is the subject of the
      a. Regulates the demolition, construction or                    ordinance or law, then there is no coverage
         repair of buildings, or establishes zoning or                under this endorsement even if the building
         land use requirements at the described                       has also sustained covered direct physical
         premises; and                                                damage.
       b. Is in force at the time of loss.                        In the situation described in B.2.b. above, we
   But coverage under this endorsement applies only               will not pay the full amount of loss otherwise
   in response to the minimum requirements of the                 payable under the terms of Coverages A, B,
   ordinance or law. Losses and costs incurred in                 and/or C of this endorsement. Instead, we will
   complying with recommended actions or standards                pay a proportion of such loss; meaning the
   that exceed actual requirements are not covered                proportion that the covered direct physical
   under this endorsement.                                        damage bears to the total direct physical dam-
                                                                  age.




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      (Section H. of this endorsement provides an
      example of this procedure.)
      However, if the covered direct physical dam-                    With respect to the building that has sus-
      age, alone, would have resulted in enforcement                  tained covered direct physical damage, we
      of the ordinance or law, then we will pay the full              will pay the increased cost to:
      amount of loss otherwise payable under the                     (1) Repair or reconstruct damaged portions
      terms of Coverages A, B and/or C of this en-                       of that building; and/or
      dorsement.
                                                                     (2) Reconstruct or remodel undamaged
C. We will not pay under Coverage A, B or C of this                      portions of that building, whether or not
   endorsement for:                                                      demolition is required;
   1. Enforcement of any ordinance or law which                       when the increased cost is a consequence
      requires the demolition, repair, replacement,                   of enforcement of the minimum require-
      reconstruction, remodeling or remediation of                    ments of the ordinance or law.
      property due to contamination by "pollutants" or
      due to the presence, growth, proliferation,                     However:
      spread or any activity of "fungus", wet or dry rot             (1) This coverage applies only if the re-
      or bacteria; or                                                    stored or remodeled property is intended
   2. The costs associated with the enforcement of                       for similar occupancy as the current
      any ordinance or law which requires any in-                        property, unless such occupancy is not
      sured or others to test for, monitor, clean up,                    permitted by zoning or land use ordi-
      remove, contain, treat, detoxify or neutralize, or                 nance or law.
      in any way respond to, or assess the effects of                (2) We will not pay for the increased cost of
      "pollutants", "fungus", wet or dry rot or bacteria.                construction if the building is not re-
                                                                         paired, reconstructed or remodeled.
   1. Coverage A Coverage For Loss To The                             The Coinsurance Additional Condition does
      Undamaged Portion Of The Building                               not apply to Increased Cost of Construction
                                                                      Coverage.
      With respect to the building that has sustained
      covered direct physical damage, we will pay                 b. When a building is damaged or destroyed
      under Coverage A for the loss in value of the                  and Coverage C applies to that building in
      undamaged portion of the building as a conse-                  accordance with 3.a. above, coverage for
      quence of enforcement of an ordinance or law                   the increased cost of construction also ap-
      that requires demolition of undamaged parts of                 plies to repair or reconstruction of the fol-
      the same building.                                             lowing, subject to the same conditions stat-
                                                                     ed in 3.a.:
      Coverage A is included within the Limit of In-
      surance shown in the Declarations as applica-                  (1) The cost of excavations, grading, back-
      ble to the covered building. Coverage A does                       filling and filling;
      not increase the Limit of Insurance.                           (2) Foundation of the building;
   2. Coverage B Demolition Cost Coverage                            (3) Pilings; and
      With respect to the building that has sustained                (4) Underground pipes, flues and drains.
      covered direct physical damage, we will pay the                 The items listed in b.(1) through b.(4) above
      cost to demolish and clear the site of undam-                   are deleted from Property Not Covered, but
      aged parts of the same building, as a conse-                    only with respect to the coverage described
      quence of enforcement of an ordinance or law                    in this Provision, 3.b.
      that requires demolition of such undamaged
      property.                                             E. Loss Payment
      The Coinsurance Additional Condition does not            1. All following loss payment Provisions, E.2.
      apply to Demolition Cost Coverage.                          through E.5., are subject to the apportionment
                                                                  procedures set forth in Section B.3. of this en-
                                                                  dorsement.




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   2. When there is a loss in value of an undamaged              b. If the building is repaired or replaced at the
      portion of a building to which Coverage A ap-                 same premises, or if you elect to rebuild at
      plies, the loss payment for that building, includ-            another premises, the most we will pay un-
      ing damaged and undamaged portions, will be                   der Coverage C is the lesser of:
      determined as follows:                                        (1) The increased cost of construction at the
      a. If the Replacement Cost Coverage Option                        same premises; or
         applies and the property is being repaired or              (2) The applicable Limit of Insurance shown
         replaced, on the same or another premises,                     for Coverage C in the Schedule above.
         we will not pay more than the lesser of:
                                                                  c. If the ordinance or law requires relocation to
         (1) The amount you would actually spend to                  another premises, the most we will pay un-
             repair, rebuild or reconstruct the build-               der Coverage C is the lesser of:
             ing, but not for more than the amount it
             would cost to restore the building on the              (1) The increased cost of construction at the
             same premises and to the same height,                        new premises; or
             floor area, style and comparable quality               (2) The applicable Limit of Insurance shown
             of the original property insured; or                       for Coverage C in the Schedule above.
         (2) The Limit of Insurance shown in the              5. If a Combined Limit of Insurance is shown for
             Declarations as applicable to the cov-              Coverages B and C in the Schedule above,
             ered building.                                      Paragraphs E.3. and E.4. of this endorsement
      b. If the Replacement Cost Coverage Option                 do not apply with respect to the building that is
         applies and the property is not repaired or             subject to the Combined Limit, and the follow-
         replaced, or if the Replacement Cost Cov-               ing loss payment provisions apply instead:
         erage Option does not apply, we will not                The most we will pay, for the total of all covered
         pay more than the lesser of:                            losses for Demolition Cost and Increased Cost
         (1) The actual cash value of the building at            of Construction, is the Combined Limit of In-
             the time of loss; or                                surance shown for Coverages B and C in the
                                                                 Schedule above. Subject to this Combined Lim-
         (2) The Limit of Insurance shown in the                 it of Insurance, the following loss payment pro-
             Declarations as applicable to the cov-              visions apply:
             ered building.
                                                                  a. For Demolition Cost, we will not pay more
   3. Unless Paragraph E.5. applies, loss payment                    than the amount you actually spend to de-
      under Coverage B Demolition Cost Coverage
                          -
                                                                     molish and clear the site of the described
      will be determined as follows:                                 premises.
      We will not pay more than the lesser of the fol-           b. With respect to the Increased Cost of Con-
      lowing:                                                       struction:
      a. The amount you actually spend to demolish                  (1) We will not pay for the increased cost of
         and clear the site of the described premis-                    construction:
         es; or
                                                                          (a) Until the property is actually repaired
      b. The applicable Limit of Insurance shown for                          or replaced, at the same or another
         Coverage B in the Schedule above.                                    premises; and
   4. Unless Paragraph E.5. applies, loss payment                         (b) Unless the repairs or replacement
      under Coverage C     Increased Cost of Con-
                              -
                                                                              are made as soon as reasonably
      struction Coverage will be determined as fol-                           possible after the loss or damage,
      lows:                                                                   not to exceed two years. We may ex-
      a. We will not pay under Coverage C:                                    tend this period in writing during the
         (1) Until the property is actually repaired or                       two years.
             replaced, at the same or another prem-                 (2) If the building is repaired or replaced at
             ises; and                                                  the same premises, or if you elect to re-
         (2) Unless the repairs or replacement are                      build at another premises, the most we
             made as soon as reasonably possible                        will pay for the increased cost of con-
             after the loss or damage, not to exceed                    struction is the increased cost of con-
             two years. We may extend this period in                    struction at the same premises.
             writing during the two years.




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         (3) If the ordinance or law requires reloca-         Step 1:
             tion to another premises, the most we                Determine the proportion that the covered di-
             will pay for the increased cost of con-              rect physical damage bears to the total direct
             struction is the increased cost of con-              physical damage.
             struction at the new premises.
                                                                    $30,000 ~ $100,000 = .30
F. The terms of this endorsement apply separately to
   each building to which this endorsement applies.           Step 2:
G. Under this endorsement we will not pay for loss               Apply that proportion to the Ordinance or Law
   due to any ordinance or law that:                             loss.
   1. You were required to comply with before the                    $60,000 x.30 = $18,000
      loss, even if the building was undamaged; and           In this example, the most we will pay under this
   2. You failed to comply with.                              endorsement for the Coverage C loss is $18,000,
                                                              subject to the applicable Limit of Insurance and
H. Example of Proportionate Loss Payment for Ordi-            any other applicable provisions.
   nance Or Law Coverage Losses (procedure as set
   forth in Section B.3. of this endorsement.)                Note: The same procedure applies to losses un-
                                                              der Coverages A and B of this endorsement.
   Assume:
                                                              The following definition is added:
   •   Wind is a Covered Cause of Loss; Flood is an
       excluded Cause of Loss                                 "Fungus" means any type or form of fungus, in-
                                                              cluding mold or mildew, and any mycotoxins,
   •   The building has a value of $200,000                   spores, scents or by-products produced or re-
   •   Total direct physical damage to building:              leased by fungi.
       $100,000
   •   The ordinance or law in this jurisdiction is en-
       forced when building damage equals or ex-
       ceeds 50% of the building's value
   •   Portion of direct physical damage that is cov-
       ered (caused by wind): $30,000
   •   Portion of direct physical damage that is not
       covered (caused by flood): $70,000
   •   Loss under Ordinance Or Law Coverage C of
       this endorsement: $60,000




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POLICY NUMBER: ECL9490372-04




             i1lU1i J 1:1 Ii:] 1 .i iiIi1TA'1 t'iXIFl s) J
This endorsement modifies insurance provided under the following:

   CAUSES OF LOSS      -   SPECIAL FORM


                                                    i.:I1'1uJI


                                                                 Higher Sublimit*
  Premises        Building                                                        Hazardous Substance
  Number          Number              Ammonia Contamination                       Other Than Ammonia
                               $                                         $


                               $                                         $

*Leave blank if sub-limit of up to $25,000 applies. If higher sub-limit is shown in the Schedule, the higher sub-
limit applies instead.
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Equipment Breakdown                                           4. The following exclusion is added:
   The following is added as a Covered Cause of                     We will not pay for loss or damage to "covered
   Loss under the Causes Of Loss Special Form
                                      -                             equipment" undergoing a pressure or electrical
   with respect to the premises described in the                    test. However, we will pay for loss or damage
   Schedule:                                                        caused by resulting fire or explosion.
   "Breakdown" Of "Covered Equipment"                            5. Exclusions B.2.d.(1) and B.2.d.(2)              are
   All terms and conditions of the Causes Of Loss     -
                                                                    replaced by the following exclusions:
   Special Form apply to "breakdown" of "covered                      (1) Wear and tear, however if a
   equipment", except as otherwise provided in this                       "breakdown" occurs we will pay for the
   endorsement.                                                           resulting loss or damage.
B. Exclusions                                                         (2) Rust or other corrosion, decay,
   With respect to the coverage provided by this                          deterioration, hidden or latent defect or
   endorsement:                                                           any quality in property that causes it to
                                                                          damage or destroy itself. However, if a
   1. Exclusion B.2.a., relating to artificially                          "breakdown" occurs we will pay for the
      generated       electrical,    magnetic    and                      resulting loss or damage.
      electromagnetic energy, does not apply, except
      that we will not pay for loss or damage caused        C. Limitations
      by or resulting from a high-altitude release of            With respect to the coverage provided by this
      electromagnetic energy;                                    endorsement:
   2. Exclusion B.2.d.(6), relating to mechanical                1. Limitation C.I.a., relating to steam boilers,
      breakdown, does not apply;                                    steam pipes, steam engines and steam
   3. Exclusion B.2.e., relating to explosion of steam              turbines, does not apply;
      boilers, steam pipes, steam engines and steam              2. Limitation C.1.b., relating to hot water boilers
      turbines, does not apply;                                     and other water heating equipment, does not
                                                                    apply.



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I 'Iul1.T1                                                           : M1(. rTTnir
   1. Coverage for direct physical loss or damage is                 Cost incurred by you for the cleanup, repair,
      subject to the Limit of Insurance and                          replacement or disposal of Covered
      Deductible otherwise applicable to the                         Property that is damaged, contaminated or
      "covered equipment" as Covered Property.                       polluted by a hazardous substance,
      Coverage under this endorsement does not                       meaning any substance other than
      increase such Limit of Insurance and therefore                 ammonia that has been declared to be
      is not additional insurance.                                   hazardous to health by a government
   2. If coverage at the described premises includes                 agency.
      the Business Income (With Extra Expense)            E. Suspension
      Coverage Form, Business Income (Without                Whenever any "covered equipment" is found to be
      Extra Expense) Coverage Form or Extra                  in, or exposed to, a dangerous condition, any of
      Expense Coverage Form, any covered                     our representatives may immediately suspend the
      business income loss or extra expense                  insurance against loss from a "breakdown" to that
      attributable to the "breakdown" of "covered            "covered equipment". This can be done by
      equipment" is subject to the Limit of Insurance        delivering or mailing a written notice of suspension
      and waiting period otherwise applicable to the         to your last known address or the address where
      described premises under such Coverage                 the "covered equipment" is located, or as
      Form. Coverage under this endorsement does             otherwise required by applicable law concerning
      not increase such Limit of Insurance and               notification of suspension.
      therefore is not additional insurance.
                                                              Once suspended in this way, your insurance can
   3. If an initial "breakdown" causes other                  be reinstated only by an endorsement for that
      "breakdowns", all will be considered to be one          "covered equipment".
      occurrence. All "breakdowns" at a site
      containing one or more described premises,              If we suspend your insurance, you will receive a
      that manifest themselves at the same time and           pro rata refund of the premium attributable to this
      are the direct result of the same cause, will be        endorsement. But the suspension will be effective
      considered to be one occurrence.                        even if we have not yet paid or offered a refund.
   4. Unless otherwise indicated in the Schedule,          F. Definitions
      the most we will pay for direct physical loss or        The following definitions apply to the coverage
      damage by Ammonia Contamination or                      provided under this endorsement:
      Hazardous Substance as a result of
                                                              1. "Breakdown":
      "breakdown" of "covered equipment" is 10% of
      the Limit of Insurance applicable to the                   a. Means the following direct physical loss that
      "covered equipment" as Covered Property, or                    causes damage to "covered equipment"
      $25,000, whichever is less. If a higher sub-limit              and necessitates its repair or replacement:
      is shown in the Schedule, that sub-limit applies              (1) Failure of     pressure     or   vacuum
      instead. The applicable sub-limit applies                         equipment;
      separately to Ammonia Contamination and
      Hazardous Substance. Amounts payable for                      (2) Mechanical failure including rupture or
      Ammonia Contamination and Hazardous                               bursting caused by centrifugal force; or
      Substance do not increase the applicable Limit                (3) Electrical failure including arcing;
      of Insurance. Therefore the most we will pay                   unless such loss or damage is otherwise
      for the total of all direct physical loss or                   excluded.
      damage resulting from "breakdown" of
      "covered equipment", including Ammonia                     b. Does not mean or include:
      Contamination and Hazardous Substance, is                     (1) Malfunction including but not limited to
      the applicable Limit of Insurance.                                adjustment,    alignment,   calibration,
      Ammonia Contamination and Hazardous                               cleaning or modification;
      Substance have the following meanings with                    (2) Defects, erasures, errors, limitations or
      respect to the coverage under this                                viruses in computer equipment and
      endorsement:                                                      programs including the inability to
      a. Ammonia Contamination                                          recognize and process any date or time
                                                                        or provide instructions to "covered
         Spoilage of Covered Property contaminated                      equipment";
         by ammonia, including salvage expense.




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        (3) Leakage at any valve, fitting, shaft seal,             (3) Part of pressure or vacuum equipment
            gland packing, joint or connection;                        that is not under internal pressure of its
        (4) Damage to any vacuum tube, gas tube,                       contents or internal vacuum;
            or brush;                                              (4) Insulating or refractory material, but not
        (5) Damage to any structure or foundation                      excluding the glass lining of any
            supporting the "covered equipment" or                      "covered equipment";
            any of its parts;                                      (5) Catalyst;
        (6) The functioning of      any    safety   or             (6) Vessels, piping and other equipment
            protective device; or                                      that is buried below ground and requires
        (7) The cracking of any part on an internal                    the excavation of materials to inspect,
            combustion gas turbine exposed to the                      remove, repair or replace;
            products of combustion.                                (7) Vehicle,      aircraft,    self-propelled
   2. "Covered equipment":                                             equipment or floating vessel including
                                                                       any "covered equipment" that is
      a. Means and includes:                                           mounted upon or used solely with any
        (1) Equipment built to operate under                           one or more vehicle(s), aircraft, self-
            internal pressure or vacuum other than                     propelled equipment or floating vessel;
            weight of contents;                                    (8) Dragline, excavation, or construction
        (2) Electrical or mechanical equipment that                    equipment, including any "covered
            is used in the generation, transmission                    equipment" that is mounted upon or
            or utilization of energy;                                  used solely with any one or more
        (3) Communication equipment; and                               dragline(s), excavation, or construction
                                                                       equipment;
        (4) Computer equipment, that is, your
            programmable electronic equipment that                 (9) Felt, wire, screen, die, extrusion plate,
            is used to store, retrieve and process                     swing hammer, grinding disc, cutting
                     and                                               blade, non-electrical cable, chain, belt,
            data,          associated    peripheral
            equipment that provides communication                      rope, clutch plate, brake pad, nonmetal
            input and output functions or auxiliary                    part or any part or tool subject to
            functions.                                                 periodic replacement;
                                                                  (10) Machine or apparatus used solely for
      b. Does not mean or include any:
                                                                       research,     diagnosis,   medication,
        (I) Data, that is, programmed or recorded                      surgical,   therapeutic,  dental    or
            material stored on media, and                              pathological purposes including any
            programming records used for electronic                    "covered equipment" that is mounted
            data    processing or    electronically                    upon or used solely with any one or
            controlled equipment;                                      more machine(s) or apparatus; or
        (2) Media, including but not limited to media             (11) Equipment or any part of such
            on which data is or can be stored, data                    equipment manufactured by you for
            processing media, transmission media,                      sale.
            and data and program software;




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This endorsement modifies insurance provided under the following:

   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   STANDARD PROPERTY POLICY



                                                                 Hurricane Deductible Percentage     -


    Premises Number             Building Number                    Enter 1%, 2%, 3%, 5% Or 10%




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The Hurricane Deductible, as shown in the Schedule         If a windstorm is not declared to be a hurricane and
and set forth in this endorsement, applies to covered      there is loss or damage by windstorm to Covered
loss or damage caused directly or indirectly by Hurri-     Property, the applicable deductible is the same de-
cane.                                                      ductible that applies to Fire.
Under the terms of this endorsement, a hurricane is a      Nothing in this endorsement implies or affords cover-
storm system that has been declared to be a hurri-         age for any loss or damage that is excluded under the
cane by the National Hurricane Center of the National      terms of the Water Exclusion or any other exclusion in
Weather Service (hereafter referred to as NHC). The        this policy. If this policy is endorsed to cover Flood
Hurricane occurrence begins at the time a hurricane        under the Flood Coverage Endorsement (or if you
watch or hurricane warning is issued for any part of       have a flood insurance policy), a separate Flood De-
Florida by the NHC, and ends 72 hours after the ter-       ductible applies to loss or damage attributable to
mination of the last hurricane watch or hurricane          Flood, in accordance with the terms of that endorse-
warning issued for any part of Florida by the NHC.         ment or policy.
                                                           As used in this endorsement, the terms "specific in-
                                                           surance" and "blanket insurance" have the following
                                                           meanings: Specific insurance covers each item of
                                                           insurance (for example, each building or personal
                                                           property in a building) under a separate Limit of In-
                                                           surance. Blanket insurance covers two or more items
                                                           of insurance (for example, a building and personal
                                                           property in that building, or two buildings) under a
                                                           single Limit of Insurance. Items of insurance and
                                                           corresponding Limit(s) of Insurance are shown in the
                                                           Declarations.




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HURRICANE DEDUCTIBLE CALCULATIONS                               4. When a hurricane(s) results in loss or damage
A. Calculation of the Deductible All Policies
                                   -
                                                                   that does not exhaust the Hurricane Deducti-
                                                                   ble, then the Deductible applicable to a subse-
   1. A Hurricane Deductible is calculated separately              quent hurricane(s) in the same calendar year
      for, and applies separately to:                              will be the Deductible that applies to Fire or the
      a. Each building that sustains loss or damage;               remaining amount of the Hurricane Deductible,
                                                                   whichever is greater. In this situation, the re-
      b. The personal property at each building at
                                                                   maining amount of the Hurricane Deductible is
         which there is loss or damage to personal
                                                                   determined by subtracting the amount(s) of the
         property;
                                                                   aforementioned loss or damage from the Hurri-
      c. Personal property in the open.                            cane Deductible.
      If there is damage to both a building and per-            5. When the Deductible on Fire applies in ac-
      sonal property in that building, separate de-                cordance with Paragraph A.3. or A.4., that De-
      ductibles apply to the building and to the per-              ductible is applied to the total of all loss or
      sonal property.                                              damage sustained in one hurricane. It does not
      The Hurricane Deductible(s), as described                    apply separately to each item of insurance.
      above, will apply anew in each calendar year. If          6. If an item of insurance is insured under more
      the policy period does not coincide with the                 than one policy issued by us or another insurer
      calendar year, then a separate Hurricane De-                 in our insurer group for the same policy period
      ductible(s) will apply to loss or damage that oc-            and different Hurricane Deductibles apply to
      curs during each calendar year in which the                  the same item of insurance under such poli-
      policy is in force. For example, if your policy              cies, then the Hurricane deductible for that item
      period is from July 1 of calendar year 1 to June             of insurance shall be the highest amount stated
      30 of calendar year 2, a separate Hurricane                  in any of the policies.
      Deductible(s) applies to loss or damage occur-
                                                               7. When a renewal policy is issued by us or an-
      ring from July 1 to December 31 of calendar
                                                                  other insurer in our insurer group, or we issue
      year 1 and to loss or damage occurring from
                                                                  a policy that replaces our own policy, and the
      January 1 to June 30 of calendar year 2.
                                                                  renewal or replacement policy takes effect on a
   2. Subject to Paragraphs A.3., A.4. and A.5.                   date other than January 1 of a calendar year,
      below, we will not pay for loss or damage until             the following provisions apply:
      the amount of loss or damage exceeds the ap-
                                                                   a. If the renewal or replacement policy pro-
      plicable Hurricane Deductible. We will then pay
                                                                      vides a lower Hurricane Deductible than
      the amount of loss or damage in excess of that
                                                                      the prior policy and you already incurred
      Deductible, up to the applicable Limit of Insur-
                                                                      loss or damage from a hurricane that oc-
      ance, after any reduction required by any of the
                                                                      curred in that calendar year, the lower Hur-
      following: Coinsurance Condition; Agreed Val-
                                                                      ricane Deductible will not take effect until
      ue Optional Coverage; any provision in a Value
                                                                      January 1 of the following calendar year.
      Reporting Form relating to full reporting or fail-
                                                                      We will so notify you in writing at the time
      ure to submit reports.
                                                                      we offer the lower Hurricane Deductible.
   3. When a hurricane results in loss or damage
                                                                   b. If the renewal or replacement policy pro-
      that exhausts the Hurricane Deductible, then
                                                                      vides a higher Hurricane Deductible than
      that Deductible will not apply to loss or damage
                                                                      the prior policy, the higher Hurricane De-
      from a subsequent hurricane(s) in the same
                                                                      ductible will take effect on the effective date
      calendar year. In such case, the Deductible
                                                                      of the renewal or replacement policy. How-
      that applies to Fire will apply to loss or damage
                                                                      ever, all foregoing provisions of this en-
      from each subsequent hurricane in that calen-
                                                                      dorsement relating to calendar year appli-
      dar year.
                                                                      cation of the Hurricane Deductible apply. If
                                                                      hurricane loss or damage was sustained
                                                                      earlier in the calendar year in which the
                                                                      higher Hurricane Deductible now applies,
                                                                      the difference between the higher and lower
                                                                      Hurricane Deductibles will be figured into
                                                                      the calculation of the remainder of the Hur-
                                                                      ricane Deductible for a subsequent hurri-
                                                                      cane that occurs in that calendar year.




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B. Calculation Of The Deductible Specific
                                    -                      D. Calculation Of The Deductible - Builders' Risk
   Insurance Other Than Builders' Risk                        Insurance
  1. Property Not Subject To Value Reporting                   1. Builders' Risk Other Than Reporting Form
      Forms                                                       In determining the amount, if any, that we will
      In determining the amount, if any, that we will             pay for loss or damage, we will deduct an
      pay for loss or damage, we will deduct an                   amount equal to 1%, 2%, 3%, 5% or 10% (as
      amount equal to 1%, 2%, 3%, 5% or 10% (as                   shown in the Schedule) of the actual cash val-
      shown in the Schedule) of the Limit(s) of Insur-            ue(s) of that property as of the time of loss or
      ance applicable to the property that has sus-               damage.
      tained loss or damage.                                   2. Builders' Risk Reporting Form
                          ('fl FT       rTtm!1. i                 In determining the amount, if any, that we will
     In determining the amount, if any, that we will              pay for loss or damage, we will deduct an
     pay for loss or damage, we will deduct an                    amount equal to 1%, 2%, 3%, 5% or 10% (as
     amount equal to 1%, 2%, 3%, 5% or 10% (as                    shown in the Schedule) of the value(s) of the
     shown in the Schedule) of the value(s) of the                property that has sustained loss or damage.
     property that has sustained loss or damage.                  The value(s) to be used are the actual cash
     The value(s) to be used are the latest value(s)              value(s) shown in the most recent Report of
     shown in the most recent Report of Values on                 Values on file with us.
     file with us.                                                However:
     However:                                                     a. If the most recent Report of Values shows
      a. If the most recent Report of Values shows                   less than the actual cash value(s) of the
         less than the full value(s) of the property on              property on the report date, we will deter-
         the report dates, we will determine the de-                 mine the deductible amount as a percent-
         ductible amount as a percentage of the full                 age of the actual cash value(s) as of the re-
         value(s) as of the report dates.                            port date.
      b. If the first Report of Values is not filed with          b. If the first Report of Values is not filed with
         us prior to loss or damage, we will deter-                  us prior to loss or damage, we will deter-
         mine the deductible amount as a percent-                    mine the deductible amount as a percent-
         age of the applicable Limit(s) of Insurance.                age of the actual cash value(s) of the prop-
  Calculation Of The Deductible - Blanket                            erty as of the time of loss or damage.
  Insurance Other Than Builders'Risk                       E. Calculation Of The Deductible Property
                                                                                                 -



  1.Property Not Subject To Value                             Covered Under The Coverage Extension For
     Forms                                                    Newly Acquired Or Constructed Property
                                    Reportil
     In determining the amount, if any, that we will          The following applies when property is covered
     pay for loss or damage, we will deduct an                under the Coverage Extension for Newly Acquired
     amount equal to 1%, 2%, 3%, 5% or 10% (as                or Constructed Property:
     shown in the Schedule) of the value(s) of the            In determining the amount, if any, that we will pay
     property that has sustained loss or damage.              for loss or damage to such property, we will de-
     The value(s) to be used are those shown in the           duct an amount equal to a percentage of the val-
     most recent Statement of Values on file with             ue(s) of the property at time of loss. The applica-
     us.                                                      ble percentage for Newly Acquired or Constructed
   2. Property Subject To Value Reporting Forms               Property is the highest percentage shown.
     In determining the amount, if any, that we will       EXAMPLES APPLICATION OF DEDUCTIBLE
                                                                          -



     pay for property that has sustained loss or           (ONE HURRICANE OCCURRING DURING A
     damage, we will deduct an amount equal to             CALENDAR YEAR)
     1%, 2%, 3%, 5% or 10% (as shown in the                EXAMPLE #1         -   SPECIFIC INSURANCE (B.1.)
     Schedule) of the value(s) of that property as of      The amount of loss to the damaged building is
     the time of loss or damage.                           $60,000.




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The value of the damaged building at time of loss is      The Coinsurance percentage shown in the Declara-
$100,000. The Coinsurance percentage shown in the         tions is 90%; the minimum Blanket Limit of Insurance
Declarations is 80%; the minimum Limit of Insurance       needed to meet the coinsurance requirement is
needed to meet the coinsurance requirement is             $1,800,000 (90% of $2,000,000).
$80,000 (80% of $100,000).                                The actual Blanket Limit of Insurance covering Build-
The actual Limit of Insurance on the damaged build-       ings #1, #2, and #3, shown in the Declarations, is
ing is $70,000.                                           $1,800,000 (therefore no Coinsurance penalty).
The Deductible is 1%.                                     Buildings #1 and #2 have sustained damage; the
Step (1): $70,000 + $80,000 = .875                        amounts of loss to these buildings are $40,000 (Build-
                                                          ing #1) and $20,000 (Building #2).
Step (2): $60,000 X.875 = $52,500
Step (3): $70,000 X 1% = $700                             The Deductible is 2%.
Step (4): $52,500 $700 = $51,800
                   -
                                                          BUILDING #1
The most we will pay is $51,800. The remainder of         Step (1): $500,000 X 2% = $10,000
the loss, $8,200, is not covered due to the Coinsur-      Step (2): $40,000 $10,000 = $30,000
                                                                             -


ance penalty for inadequate insurance (Steps (1) and      BUILDING #2
(2)) and the application of the Deductible (Steps (3)
and (4)).                                                 Step (1): $500,000 X 2% = $10,000
                                                          Step (2): $20,000 $10,000 = $10,000
EXAMPLE #2    -   SPECIFIC INSURANCE (B.1.)                                  -



                                                          The most we will pay is $40,000. The portion of the
The amounts of loss to the damaged property are
                                                          total loss not covered due to application of the De-
$60,000 (building) and $40,000 (personal property in
                                                          ductible is $20,000.
building).
                                                          EXAMPLE #4 BLANKET INSURANCE (C.1.)
                                                                         -
The value of the damaged building at time of loss is
$100,000. The value of the personal property in that      The sum of the values of Building #1 ($500,000),
building is $80,000. The Coinsurance percentage           Building #2 ($500,000), Personal Property at Building
shown in the Declarations is 80%; the minimum Limits      #1 ($250,000) and Personal Property at Building #2
of Insurance needed to meet the coinsurance re-           ($250,000), as shown in the most recent Statement of
quirement are $80,000 (80% of $100,000) for the           Values on file with us, is $1,500,000.
building and $64,000 (80% of $80,000) for the per-        The Coinsurance percentage shown in the Declara-
sonal property.                                           tions is 90%; the minimum Blanket Limit of Insurance
The actual Limits of Insurance on the damaged prop-       needed to meet the coinsurance requirement is
erty are $80,000 on the building and $64,000 on the       $1,350,000 (90% of $1,500,000).
personal property (therefore no Coinsurance penalty).     The actual Blanket Limit of Insurance covering Build-
The Deductible is 2%.                                     ings #1 and #2 and Personal Property at Buildings #1
                                                          and #2, shown in the Declarations, is $1,350,000.
BUILDING
                                                          Therefore there is no Coinsurance penalty.
Step (1): $80,000 X 2% = $1,600
                                                          Building #1 and Personal Property at Building #1 have
Step (2): $60,000 $1,600 = $58,400
                   -
                                                          sustained damage; the amounts of loss are $95,000
PERSONAL PROPERTY                                         (Building) and $5,000 (Personal Property).
Step (1): $64,000 X 2% = $1,280                           The Deductible is 3%.
Step (2): $40,000 $1,280 = $38,720
                   -                                      BUILDING
The most we will pay is $97,120. The portion of the       Step (1): $500,000 X 3% = $15,000
total loss not covered due to application of the De-      Step (2): $95,000 -$15,000 = $80,000
ductible is $2,880.
                                                          PERSONAL PROPERTY
EXAMPLE #3- BLANKET INSURANCE (C.1.)
                                                          Step (1): $250,000 X 3% = $7,500
The sum of the values of Building #1 ($500,000),
Building #2 ($500,000) and Building #3 ($1,000,000),      The loss, $5,000, does not exceed the deductible.
as shown in the most recent Statement of Values on        The most we will pay is $80,000. The remainder of
file with us, is $2,000,000.                              the building loss, $15,000, is not covered due to ap-
                                                          plication of the Deductible. There is no loss payment
                                                          for the personal property.




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EXAMPLES APPLICATION OF DEDUCTIBLE
             -                                             EXAMPLE #2     -   SPECIFIC INSURANCE (B.1.)
(TWO OR MORE HURRICANES OCCURRING                          Hurricane A Occurs On October 1 Of A Calendar
DURING A CALENDAR YEAR)                                    Year
EXAMPLE #1 SPECIFIC INSURANCE (B.1,)
                 -
                                                           The amount of loss to damaged Building #1 is
Hurricane A Occurs On September 1 Of A                     $20,000.
Calendar Year                                              The value of Building #1 at time of loss is $1,000,000.
The amounts of loss to the damaged buildings are           The coinsurance percentage shown in the Declara-
$20,000 to Building #1 and $10,000 to Building #2.         tions is 80%; the minimum Limit of Insurance needed
The value of damaged Building #1 at time of loss is        to meet the coinsurance requirement is $800,000
$50,000 and the value of damaged Building #2 at time       (80% of $1,000,000).
of loss is $100,000. The' coinsurance percentage           The actual Limit of Insurance on the damaged prop-
shown in the Declarations is 80%; the minimum Limits       erty is $800,000 (therefore no coinsurance penalty).
of Insurance needed to meet the coinsurance re-            The Deductible on Fire is $1,000.
quirements are $40,000 for Building #1 (80% of
$50,000) and $80,000 for Building #2 (80% of               The Hurricane Deductible is 5%.
$100,000).                                                 $800,000 X 5% = $40,000 (Calendar Year Hurricane
The actual Limits of Insurance on the damaged build-       Deductible)
ings are $40,000 for Building #1 and $80,000 for           We will not pay for loss or damage since the amount
Building #2 (therefore no coinsurance penalty).            of loss ($20,000) did not exceed the Hurricane De-
The Deductible on Fire is $1,000.                          ductible ($40,000). The loss of $20,000 is subtracted
                                                           from the Hurricane Deductible. The remaining amount
The Hurricane Deductible is 5%.                            of Hurricane Deductible applicable to such subse-
BUILDING #1                                                quent claims is $20,000.
Step (1) $40,000 X 5% = $2,000 (Calendar Year              Hurricane B Occurs On November 1 Of The Same
Hurricane Deductible)                                      Calendar Year
Step (2) $20,000— $2,000 deductible = $18,000              The amount of loss to damaged Building #1 is
BUILDING #2                                                $80,000. The remaining amount of the Hurricane
                                                           Deductible ($20,000) is applied to the loss of $80,000.
Step (1) $80,000 X 5% = $4,000 (Calendar Year              The amount that we will pay is $60,000. The Hurri-
Hurricane Deductible)                                      cane Deductible is exhausted.
Step (2) $10,000— $4,000 deductible = $6,000               Hurricane C Occurs On December 1 Of The Same
The most we will pay is $24,000. The portion of the        Calendar Year
loss not covered due to application of the deductible      The amount of loss to damaged Building #1 is
is $6,000. The total loss ($30,000) exceeds the Hurri-     $35,000.
cane Deductible of $6,000. The Hurricane Deductible
is exhausted.                                              Since the Hurricane Deductible is exhausted, the
                                                           Deductible that applies to Fire ($1,000) applies to the
Hurricane B Occurs On October 1 Of The Same                loss. The amount that we will pay is $34,000.
Calendar Year
The amounts of loss to the damaged buildings are
$3,000 to Building #1 and $5,000 to Building #2. Be-
cause the Hurricane Deductible applicable to each
building was exceeded by the amount of loss incurred
in Hurricane A, the Deductible that applies to Fire
($1,000) will apply to the loss. Therefore, we will pay
$7,000 ($8,000 $1,000 = $7,000).
                     -




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This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

A. The exclusion set forth in Paragraph B. applies to     D. The following provisions in this Coverage Part or
   all coverage under all forms and endorsements             Policy are hereby amended to remove reference
   that comprise this Coverage Part or Policy, includ-       to bacteria:
   ing but not limited to forms or endorsements that         1. Exclusion of "Fungus", Wet Rot, Dry Rot And
   cover property damage to buildings or personal               Bacteria; and
   property and forms or endorsements that cover
   business income, extra expense or action of civil         2. Additional Coverage    Limited Coverage for
                                                                                         -



   authority.                                                   "Fungus", Wet Rot, Dry Rot And Bacteria, in-
                                                                cluding any endorsement increasing the scope
B. We will not pay for loss or damage caused by or              or amount of coverage.
   resulting from any virus, bacterium or other micro-
   organism that induces or is capable of inducing        E. The terms of the exclusion in Paragraph B., or the
   physical distress, illness or disease.                    inapplicability of this exclusion to a particular loss,
                                                             do not serve to create coverage for any loss that
   However, this exclusion does not apply to loss or         would otherwise be excluded under this Coverage
   damage caused by or resulting from "fungus", wet          Part or Policy.
   rot or dry rot. Such loss or damage is addressed in
   a separate exclusion in this Coverage Part or Poli-
   cy.
C. With respect to any loss or damage subject to the
   exclusion in Paragraph B., such exclusion super-
   sedes any exclusion relating to "pollutants".




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                    'AL I 1 *X'lIlibit'] 1:1 I 'I'i1 k I                                 II
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY


A. The exclusion in Paragraph B. replaces the Water           5. Waterborne material carried or otherwise
   Exclusion in this Coverage Part or Policy.                    moved by any of the water referred to in Para-
B. Water                                                         graph 1., 3. or 4., or material carried or other-
                                                                 wise moved by mudslide or mudflow.
  1. Flood, surface water, waves (including tidal
      wave and tsunami), tides, tidal water, overflow         This exclusion applies regardless of whether any
      of any body of water, or spray from any of              of the above, in Paragraphs 1. through 5., is
      these, all whether or not driven by wind (includ-       caused by an act of nature or is otherwise caused.
      ing storm surge);                                       An example of a situation to which this exclusion
                                                              applies is the situation where a dam, levee, sea-
   2. Mudslide or mudfiow;                                    wall or other boundary or containment system fails
   3. Water that backs up or overflows or is other-           in whole or in part, for any reason, to contain the
      wise discharged from a sewer, drain, sump,              water.
      sump pump or related equipment;                         But if any of the above, in Paragraphs 1. through
   4. Water under the ground surface pressing on,             5., results in fire, explosion or sprinkler leakage,
      or flowing or seeping through:                          we will pay for the loss or damage caused by that
                                                              fire, explosion or sprinkler leakage (if sprinkler
      a. Foundations, walls, floors or paved surfac-
                                                              leakage is a Covered Cause of Loss).
         es;
      b. Basements, whether paved or not; or
      c. Doors, windows or other openings; or




CP 10 32 08 08                       © Insurance Services Office, Inc., 2008                         Page 1 of 1     D
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This endorsement modifies insurance provided under the:
CONDOMINIUM ASSOCIATION COVERAGE FORM
BUILDING AND PERSONAL PROPERTY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by
the endorsement.
A. The following changes are made to section A. Coverage, paragraph 4. Additional Coverage:
   1. In paragraph a. Debris Removal (4), the amounts for debris removal expense listed as $10,000 are changed to
      $25,000.
       Please note the Example #2 listed in the coverage form may not be accurate because of this change.
   2. Paragraph b. Preservation Of Property (2), is deleted and replaced by;
       (2) Only if the loss or damage occurs within 60 days after the property is first moved.
    3. In paragraph c. Fire Department Service Charge, the amount available for fire department service charge is
       changed from $1,000 to $25,000.
   4. In d. Pollutant Clean-up And Removal, the last paragraph is deleted and replaced by;
       The most we will pay under this Additional Coverage for each described premises is $25,000 for the sum of all
       Covered Causes of Loss occurring during each separate 12-month period of this policy.
    5. In paragraph e. Increased Cost Of Construction (6), the amounts for this additional coverage are changed from
       "$10,000 or 5%" to "$25,000 or 5%".
   6. In paragraph f. Electronic Data (4), the amount available under this additional coverage is changed from $2,500
      to $25,000.
B. The following changes are made to section A. Coverage, paragraph 5. Coverage Extensions:
   1. Under paragraph b. Personal Effects And Property Of Others, the last paragraph is deleted and replaced by:
       The most we will pay for loss or damage under this coverage Extension is $25,000 at each described premises.
       Our payment for loss of or damage to personal property of others will only be for the account of the owner of the
       property.
    2. In paragraph c. Valuable Papers And Records (Other Than Electronic Data) (4) the amount of $2,500 is
       changed to $25,000.
    3. Under paragraph d. Property Off-Premises, paragraph (3) is deleted and replaced by:
       (3)The most we will pay for loss or damage under this Extension is $25,000.
    4. Under e. Outdoor Property, the last paragraph is deleted and changed to;
        The most we will pay for loss or damage under this Extension is $25,000, but not more than $250 for any one
        tree, shrub, or plant. These limits apply to any one occurrence, regardless of the types or number of items lost or
        damaged in that occurrence.
    5. Under paragraph f. Non-owned Detached Trailers, paragraph (3) is deleted and replaced by:
       (3) The most we will pay for loss or damage under this Extension is $25,000, unless a higher limit is shown in the
           Declarations.



                                                                                                                    EM 67 02 (04-09)
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Additional Property In-Transit Coverage
                                                                                                                    0
                                                                                                                   ZURICH




This endorsement modifies insurance provided under the:
CAUSES OF LOSS SPECIAL FORM
                    -




With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by
the endorsement.

The following changes are made to section F. Additional Coverage Extensions:
 Paragraph 1. Property In Transit, c., is deleted and replaced by:
  The most we will pay for loss or damage under this Extension is $25,000.




                                                                                                                     EM 67 03 01-09
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                                                                                                     IL 09 35 07 02




This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. We will not pay for loss ("loss") or damage caused             2. Any advice, consultation, design, evaluation,
   directly or indirectly by the following. Such loss                inspection, installation, maintenance, repair,
   ("loss") or damage is excluded regardless of any                  replacement or supervision provided or done by
   other cause or event that contributes concurrently                you or for you to determine, rectify or test for,
   or in any sequence to the loss ("loss") or damage.                any potential or actual problems described in
   1.   The failure, malfunction or inadequacy of:                   Paragraph A.I. of this endorsement.
        a. Any of the following, whether belonging to        B. If an excluded Cause of Loss as described in
           any insured or to others:                            Paragraph A. of this endorsement results:
          (1) Computer hardware, including micropro-              1. In a Covered Cause of Loss under the Crime
              cessors;                                               and Fidelity Coverage Part, the Commercial In-
                                                                     land Marine Coverage Part or the Standard
          (2) Computer application software;                         Property Policy; or
          (3) Computer operating systems and related              2. Under the Commercial Property Coverage Part:
              software;
                                                                     a. In a "Specified Cause of Loss", or in eleva-
          (4) Computer networks;                                        tor collision resulting from mechanical
          (5) Microprocessors (computer chips) not                      breakdown, under the Causes of Loss         -


              part of any computer system; or                           Special Form; or
          (6) Any other computerized or electronic                   b. In a Covered Cause of Loss under the
              equipment or components; or                               Causes Of Loss Basic Form or the Caus-
                                                                                          -




        b. Any other products, and any services, data                   es Of Loss Broad Form;
                                                                                    -




           or functions that directly or indirectly use or        we will pay only for the loss ("loss") or damage
           rely upon, in any manner, any of the items             caused by such "Specified Cause of Loss", eleva-
           listed in Paragraph A.1.a. of this endorse-            tor collision, or Covered Cause of Loss.
           ment;                                             C.   We will not pay for repair, replacement or modifi-
        due to the inability to correctly recognize, pro-         cation of any items in Paragraphs A.1.a. and
        cess, distinguish, interpret or accept one or             A.1.b. of this endorsement to correct any deficien-
        more dates or times. An example is the inability          cies or change any features.
        of computer software to recognize the year
        2000.




IL 09 35 07 02                               0ISO Properties, Inc., 2001                                 Page 1 of I     0
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This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART


A. When this endorsement is attached to Standard              When loss or damage to exterior paint or
   Property Policy CP 00 99, the term Coverage Part           waterproofing material is excluded, we will not
   in this endorsement is replaced by the term Policy.        include the value of paint or waterproofing material
B. The following provision applies when a                     to determine:
   Coinsurance percentage is shown in the                        a. The amount of the Windstorm or Hail
   Declarations:                                                    Deductible; or
   Florida law states as follows:                                b. The value of Covered Property when
   Coinsurance contract: The rate charged in this                   applying the Coinsurance Condition.
   policy is based upon the use of the coinsurance        D The Loss Payment Condition dealing with the
   clause attached to this policy, with the consent of      number of days within which we must pay for
   the Insured.                                             covered loss or damage is replaced by the
C. The following is added:                                  following:
   If windstorm is a Covered Cause of Loss and loss           Provided you have complied with all the terms of
   or damage to Covered Property is caused by or              this Coverage Part, we will pay for covered loss or
   results from windstorm, the following exclusion            damage upon the earliest of the following:
   applies in:                                                      (1) Within 20 days after we receive the
   1. Broward County;                                                   sworn proof of loss and reach written
                                                                        agreement with you;
   2. Dade County;
                                                                    (2) Within 30 days after we receive the
   3. Martin County;                                                    sworn proof of loss and:
   4. Monroe County;                                                   (a) There is an entry of a final judgment;
   5. Palm Beach County; and                                               or
   6. All the areas east of the west bank of the                       (b) There is a filing of an appraisal
      Intracoastal Waterway in the counties of:                            award with us; or
      a. Indian River; and                                          (3) Within 90 days of receiving notice of an
                                                                        initial, reopened or supplemental claim,
      b. St. Lucie.
                                                                        unless we deny the claim during that
   Windstorm Exterior Paint And Waterproofing                           time or factors beyond our control
   Exclusion                                                            reasonably prevent such payment. If a
   We will not pay for loss or damage caused by                         portion of the claim is denied, then the
   windstorm to:                                                        90-day time period for payment of claim
                                                                        relates to the portion of the claim that is
   1. Paint; or
                                                                        not denied.
   2. Waterproofing material;
                                                                        Paragraph (3) applies only to the
   applied to the exterior of buildings unless the                      following:
   building to which such loss or damage occurs also
                                                                       (a) A claim under a policy covering
   sustains other loss or damage by windstorm in the
                                                                           residential property;
   course of the same storm event. But such
   coverage applies only if windstorm is a Covered                     (b) A claim for building or contents
   Cause of Loss.                                                          coverage if the insured structure is
                                                                           10,000 square feet or less and the
                                                                           policy covers only locations in
                                                                           Florida; or




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              (c) A claim for contents coverage under                 Catastrophic Ground Cover Collapse
                  a tenant's policy if the rented                     We will pay for direct physical loss or damage to
                  premises are 10,000 square feet or                  Covered Property caused by or resulting from
                  less and the policy covers only                     catastrophic ground cover collapse, meaning
                  locations in Florida.                               geological activity that results in all of the
E. Sinkhole Collapse Coverage Removed                                 following:
   Sinkhole Collapse coverage is removed, as                              1. The abrupt collapse of the ground cover;
   indicated in Paragraphs E.1. through E.4.; and                         2. A depression in the ground cover clearly visible
   coverage for Catastrophic Ground Cover Collapse                           to the naked eye;
   is added instead as set forth in Paragraph F.
                                                                          3. "Structural damage" to the building, including
   1. In the Causes Of Loss Basic Form and in the
                              -
                                                                             the foundation; and
      Standard Property Policy, Sinkhole Collapse is
      deleted from the Covered Causes of Loss and                         4. The insured structure being condemned and
      sinkhole collapse is no longer an exception to                         ordered to be vacated by the governmental
      the Earth Movement Exclusion.                                          agency authorized by law to issue such an
                                                                             order for that structure.
   2. In the Causes Of Loss Broad Form, Sinkhole
                                  -


      Collapse is deleted from the Covered Causes                     However, damage consisting merely of the settling
      of Loss and from the Additional Coverage              -
                                                                      or cracking of a foundation, structure or building
      Collapse; and sinkhole collapse is no longer an                 does not constitute loss or damage resulting from
      exception to the Earth Movement Exclusion.                      a catastrophic ground cover collapse.
   3. In the Causes Of Loss           Special Form,
                                      -
                                                                      The Earth Movement Exclusion and the Collapse
      Sinkhole Collapse is deleted from the                           Exclusion do not apply to coverage for
      "specified causes of loss" and is no longer an                  Catastrophic Ground Cover Collapse.
      exception to the Earth Movement Exclusion.                      Coverage for Catastrophic Ground Cover Collapse
   4. In the Mortgageholders Errors And Omissions                     does not increase the applicable Limit of
      Coverage Form, Sinkhole Collapse is deleted                     Insurance. Regardless of whether loss or damage
      from the Covered Causes of Loss under                           attributable to catastrophic ground cover collapse
      Coverage B and from the "specified causes of                    also qualifies as Sinkhole Loss or Earthquake (if
      loss", and is no longer an exception to the                     either or both of those causes of loss are covered
      Earth Movement Exclusion.                                       under this Coverage Part), only one Limit of
                                                                      Insurance will apply to such loss or damage.
   Further, this Coverage Part does not insure
   against Sinkhole Loss as defined in Florida law                 G. The following applies to the Additional Coverage
   unless an endorsement for Sinkhole Loss is made                    - Civil Authority under the Business Income (And
   part of this policy. However, if Sinkhole Loss                     Extra Expense) Coverage Form, Business Income
   causes Catastrophic Ground Cover Collapse,                         (Without Extra Expense) Coverage Form and
   coverage is provided for the resulting Catastrophic                Extra Expense Coverage Form:
   Ground Cover Collapse even if an endorsement                       1. The Additional Coverage      Civil Authority
                                                                                                            -


   for Sinkhole Loss is not made part of this policy.                    includes a requirement that the described
F. The following is added to this Coverage Part as a                     premises are not more than one mile from the
   Covered Cause of Loss. In the Causes Of Loss             -
                                                                         damaged property. With respect to described
   Special Form and Mortgageholders Errors And                           premises located in Florida, such one-mile
   Omissions Coverage Form, the following is also                        radius does not apply.
   added as a "specified cause of loss". However, as                  2. The Additional Coverage      Civil Authority is
                                                                                                        -


   a "specified cause of loss", the following does not                   limited to a coverage period of up to four
   apply to the Additional Coverage Collapse.
                                          -                              weeks. With respect to described premises
                                                                         located in Florida, such four-week period is
                                                                         replaced by a three-week period.
                                                                          3. Civil Authority coverage is subject to all other
                                                                             provisions of that Additional Coverage.




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H. The following provisions are added to the Duties            2. Foundation displacement or deflection in
   In The Event Of Loss Or Damage Loss                            excess of acceptable variances as defined in
   Condition:                                                     ACI 318-95 or the Florida Building Code, which
         (1) A claim, supplemental claim or                       results in settlement related damage to the
             reopened claim for loss or damage                    primary structural members or primary
             caused by hurricane or other windstorm               structural systems that prevents those
             is barred unless notice of claim is given            members or systems from supporting the loads
             to us in accordance with the terms of                and forces they were designed to support to
             this policy within three years after the             the extent that stresses in those primary
             hurricane first made landfall or a                   structural members or primary structural
             windstorm other than hurricane caused                systems exceed one and one-third the nominal
             the covered damage. (Supplemental                    strength allowed under the Florida Building
             claim or reopened claim means an                     Code for new buildings of similar structure,
             additional claim for recovery from us for            purpose, or location;
             losses from the same hurricane or other           3. Damage that results in listing, leaning, or
             windstorm which we have previously                   buckling of the exterior load bearing walls or
             adjusted pursuant to the initial claim.)             other vertical primary structural members to
             This provision concerning time for                   such an extent that a plumb line passing
             submission of claim, supplemental claim              through the center of gravity does not fall
             or reopened claim does not affect any                inside the middle one-third of the base as
             limitation for legal action against us as            defined within the Florida Building Code;
             provided in this policy under the Legal           4. Damage that results in the building, or any
             Action Against Us Condition, including               portion of the building containing primary
             any amendment to that condition.                     structural members or primary structural
         (2) Any inspection or survey by us, or on                systems, being significantly likely to imminently
             our behalf, of property that is the subject          collapse because of the movement or
             of a claim, will be conducted with at                instability of the ground within the influence
             least 48 hours' notice to you. The 48-               zone of the supporting ground within the sheer
             hour notice may be waived by you.                    plane necessary for the purpose of supporting
                                                                  such building as defined within the Florida
   The following definition of structural damage is               Building Code; or
   added with respect to the coverage provided
   under this endorsement:                                     5. Damage occurring on or after October 15,
                                                                  2005, that qualifies as substantial structural
   "Structural damage" means a covered building,                  damage as defined in the Florida Building
   regardless of the date of its construction, has                Code.
   experienced the following.
   1. Interior floor displacement or deflection in
      excess of acceptable variances as defined in
      ACI 117-90 or the Florida Building Code, which
      results in settlement related damage to the
      interior such that the interior building structure
      or members become unfit for service or
      represent a safety hazard as defined within the
      Florida Building Code;




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                                                                                 II. 0175 09 07




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This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART


The following replaces the second paragraph of the
Legal Action Against Us Condition:
      W-11 01   11,101   ZZAP"   1i
Legal action against us involving direct physical loss
or damage to property must be brought within 5 years
from the date the loss occurs.




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                                                                                                                          0
Florida Changes Cancellation and Nonrenewal
                                -
                                                                                                                      ZURICH



This endorsement modifies insurance provided under the:
    ~;ommon Policy Conditions
    Commercial Property Coverage Part



A. Common Policy Conditions Section A. Cancellation is amended as follows:
    1. Paragraph 2. Of the Cancellation Common Policy Condition is replaced by the following:
                                             fliWtI'I '1t'Ii.JI!
            If this policy has been in effect for 90 days or less, we may cancel this policy by mailing or delivering to the
            first Named Insured written notice of cancellation, accompanied by the specific reason for cancellation, at
            least:
            a. 10 days before the effective date of cancellation if we cancel for nonpayment of premium; or
            b. 20 days before the effective date of cancellation if we cancel for any other reason, except we may cancel
               immediately if there has been:
                (1) A material misstatement or misrepresentation; or
                (2) A failure to comply with underwriting requirements established by the insurer.
    2. The following is added to the Cancellation Common Policy Condition:
                   IFrI        i     Ir!T ni *i             irm i itI'i'r
            If this policy has been in effect for more than 90 days, we may cancel this policy by mailing or delivering to the
            first Named Insured written notice of cancellation, accompanied by the specific reasons for cancellation, at
            least:
            a. 10 days before the effective date of cancellation if cancellation is for nonpayment of premium; or
            b. 45 days before the effective date of cancellation, if cancellation is for any other reason.
B. The following is added:


   1. If we decide not to renew this policy we will mail or deliver to the first Named Insured written notice of nonrenewal,
        accompanied by the specific reason for nonrenewal, at least 45 days prior to the expiration of this policy. This
        requirement does not apply if:
        a. We have manifested our willingness to renew, and the offer is not rescinded prior to expiration of the policy; or
        b. A notice of cancellation for nonpayment of premium is provided as set forth above.
    2. Any notice of nonrenewal will be mailed or delivered to the first Named Insured at the last mailing address known
       to us. If notice is mailed, proof of mailing will be sufficient proof of notice.


All other terms, conditions, provisions and exclusions of this policy remain the same.



                                                                                                                      STF-CP-387-A (06/16)
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                                                                                                            0
Important Notice                                                                                       ZURICH a
Service of Suit and In Witness Clause



Service of Suit

In the event an action or proceeding arises under the contract, it is agreed that the Company, at your request, will submit
to the jurisdiction of a court of competent jurisdiction within the United States. Nothing in this condition constitutes or
should be understood to constitute a waiver or limitation of the right to arbitration as set forth herein or to commence an
action in any court of competent jurisdiction in the United States to remove an action to a United States District Court or to
seek a transfer of a case to another court as permitted by the laws of the United States or any state in the United States.
It is further agreed that service of process in such suit may be made upon Illinois Corporation Service Company, 801
Adlai Stevenson Drive, Springfield, IL 62703. In any suit instituted against the Company upon this policy, the Company
will abide by the final decision of such court or of any appellate court in the event of an appeal.

Further, pursuant to any statute of any state, territory, or district of the United States which makes provision therefore, the
Company hereby designates the Superintendent, Commissioner or Director of Insurance, other officer specified for that
purpose in the statute, or his successors in office as its true and lawful attorney upon whom may be served any lawful
process in any action, suit, or proceeding instituted by or on behalf of the Insured of any beneficiary hereunder arising out
of this policy of insurance and hereby designates the above named Illinois Corporation Service Company as the entity to
whom the said officer is authorized to mail such process or a true copy thereof.


In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.

IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




             President                                                                 Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your,
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                Zurich in North America
                                                Customer Inquiry Center
                                                     1299 Zurich Way
                                            Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am 4pm [CT])
                                                                              -


                                            Email: info.source@zurichna.com




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.             FLORIDA
              DEPARTMENT OF

             HNANCAL SERVICES



    Filing Number:            406647
    Filing Accepted:          9/2012018
        Warning! Information submitted as part of this civil remedy notice is a public record. Data entered into
        this form will be displayed on the DFS website for public review. Please DO NOT enter Social Security
        Numbers, personal medical information, personal financial information or any other information you do not
        want available for public review.

        The submitter hereby states that this notice is given in order to perfect the rights of the person(s)
        damaged to pursue civil remedies authorized by Section 624.155, Florida Statutes.

MMIPL
 Name:                        LAS BRISAS CONDOMINIUM HOMES CONDOMINIUM ASSOCIATION, INC.
 Street Address:              9050, 9060, 9070 PALMAS GRANDES BOULEVARD; AND 28060 PALMAS GRANDES
                              LANE
 City, State Zip:             BONITA SPRINGS, FL 34135
 Email Address:
 Complainant Type:            Insured




 Name:                        LAS BRISAS CONDOMINIUM HOMES CONDOMINIUM ASSOCIATION, INC.
 Policy #:                    ECL9490372-04
 Claim #:                     5630013280




 Name:                        SHAUN J MARKER
 Street Address:              222 LAKEVIEW AVENUE, SUITE 1250
 City, State Zip:             WEST PALM BEACH, FLORIDA 33401
    Email Address:




 Insurer Type:                Authorized Insurer
    Name:                     EMPIRE INDEMNITY INSURANCE COMPANY
    Street Address:
    City, State Zip:

    Please identify the person or persons representing the insurer who are most responsible for/knowledgeable of the
    facts giving rise to the allegations in this notice.




    Type of Insurance:        Commercial Property & Casualty

DFS-10-363
Rev. 11/2007
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          FLORIDA
          DEPARTMENT OF

          FINANCIAL SERVICES



 Filing Number:           406647



 Reasons for Notice:
         Claim Denial
         Claim Delay
         Unfair Trade Practice

 PURSUANT TO SECTION 624.155, F.S. please indicate all statutory provisions alleged to have been violated.
         624.155(1)(b)(1)          Not attempting in good faith to settle claims when, under all the circumstances,
                                   it could and should have done so, had it acted fairly and honestly toward its
                                   insured and with due regard for her or his interests.
         624.155(1)(b)(3)          Except as to liability coverages, failing to promptly settle claims, when the
                                   obligation to settle a claim has become reasonably clear, under one portion of
                                   the insurance policy coverage in order to influence settlements under other
                                   portions of the insurance policy coverage.
         626.9541(1)(i)(3)(a)      Failing to adopt and implement standards for the proper investigation of
                                   claims.
         626.9541(1)(i)(3)(b)      Misrepresenting pertinent facts or insurance policy provisions relating to
                                   coverages at issue.
         626.9541(1)(i)(3)(c)      Failing to acknowledge and act promptly upon communications with respect to
                                   claims.
         626.9541(1)(i)(3)(d)      Denying claims without conducting reasonable investigations based upon
                                   available information.
         626.9541(1)(i)(3)(f)      Failing to promptly provide a reasonable explanation in writing to the insured
                                   of the basis in the insurance policy, in relation to the facts or applicable law,
                                   for denial of a claim or for the offer of a compromise settlement.

 Reference to specific policy language that is relevant to the violation, if any. If the person bringing the civil action is a
 third party claimant, she or he shall not be required to reference the specific policy language if the authorized insurer
 has not provided a copy of the policy to the third party claimant pursuant to written request
 Building coverage provisions; additional coverages; ordinance and law; duties in event of loss policy
 provisions; all terms and conditions of Section I of the insurance policy; the insurance policy's definition
 section; the insurance policy's exclusion of coverage provisions; loss payment policy provision; ensuing
 damages provision; the declarations page; we will adjust all losses with you.

 To enable the insurer to investigate and resolve your claim, describe the facts and circumstances giving rise to the
 insurer's violation as you understand them at this time.




DFS-10-363
Rev. 11/2007
           Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 85 of 97 PageID 95

 In Florida, the work of adjusting insurance claims engages the public trust. Empire Indemnity Insurance
 Company, ("Empire"), has breached this duty by its handling of the Insured, Las Brisas Condominium
 Homes Condominium Association, Inc.'s claim of loss (Claim Number 5630013280; D.O.L. 09/10/2017).
 Empire has failed to create and implement adequate guidelines for proper investigation to evaluate claims
 handling and for training and supervision of employees and representatives resulting in statutory violations
 as set forth above. Empire has failed and/or refused to thoroughly, accurately, and completely investigate
 and evaluate the Insured's insurance claim for damages This claim arises from covered damages sustained
 by the Insured from Hurricane Irma and ensuing damages occurring on or about September 10, 2017. To
 date, notwithstanding the Insured's pleas otherwise, Empire has continued to refuse to acknowledge its
 obligation to tender all insurance proceed monies due and owing the Insured, or assist the Insured in
 mitigation of the damages. Empire has not properly addressed, evaluated and paid all of the covered
 damages that were caused by this loss. The policyholder has maintained the property involved in this claim
 very efficiently before the catastrophe of Hurricane Irma. Following Hurricane Irma, the claim was timely
 submitted to Empire and the policyholder and its representatives cooperated with Empire's requests for
 inspections and information. Empire has not properly addressed, evaluated and paid all of the covered
 damages caused by this loss. Empire's adjustment of this claim found wind damage to the buildings within
 the association. In this assessment, Empire proposed to harvest tiles from a building that it would pay for
 an entire roof replacement on and re-use those tiles for the repair of the other buildings. The issue with this
 is the simple fact that there is no product approval for this roof tile that was existing on the buildings' roofs
 at the time of Hurricane Irma Furthermore, contractors that have attempted to pull permits in the Bonita
 Springs area for mining of materials of the same product, and the Local Building Department officials have
 issued written opinions that installing different tiles in the mined area is not allowed by Code Section 904.2
 because the new tile does not meet compatibility requirements of that section. As such, it is impossible to
 conduct the repair that Empire proposes in this estimate. It is clear that Empire is adjusting this loss and
 misrepresenting the fact that this repair is even possible Additionally, there is significant uplift of tiles
 across these buildings from Hurricane Irma that has resulted in additional damages to the membranes of
 these roofs in addition to the tile issues and repairs addressed above Empire's harvesting concept does
 not account for repair of this damage. The Insured has fully complied with the policy of insurance and
 Florida law, and Empire continues to wrongfully refuse to tender the insurance proceeds that are due and
 owing it The insurer has failed and refused to acknowledge coverage and restore the Insured to its pre-loss
 condition. Empire has sufficient information upon which to evaluate the Insured's claim for damages, and
 certainly has been provided with an independent means by which to determine the amount of loss. The
 Insured has otherwise fully complied with the insurer's requests for post-loss compliance. Empire has not
 properly paid all of the covered damages. These actions by Empire occur with such frequency to indicate a
 general business practice of the company. The Insured has complied with the policy of insurance and
 Florida law, and Empire continues to wrongfully refuse to tender the insurance proceeds that are due and
 owing the Insured The concept of insurance is the granting of timely and prompt indemnity or security
 against a contingent loss. Florida statute section 624.02 defines "insurance" as a contract whereby one
 undertakes to indemnify another or pay a specified amount or a determinable benefit upon determinable
 contingencies. Inherent is the fact that payment must be made timely and promptly so that the Insured may
 be put back into the position it was in prior to the loss as quickly as possible. Empire breached this duty.
 The Insured was and still is forced to expend out of pocket monies to submit the insurance claim, to force
 Empire to honor its obligations under the insurance policy to pay all the insurance proceeds due and owing
 it. Empire has clearly displayed bad faith in its handling, processing, and wrongful denial of this claim. The
 Insured merely requests that Empire "adjust the loss" with it in accordance with the policy of insurance for
 which Empire has accepted a premium, and in accordance with Florida law. Empire's conduct has been
 reckless and unfair to its Insured, and has caused and continues to cause additional damages. These
 actions by Empire occur with such frequency to indicate a general business practice Therefore to cure the
 defects outlined in this civil remedy notice, Empire must: (1) pay the claim pursuant to the estimates
 submitted; (2) immediately agree to pay interest, at the statutory rate, for all amounts paid in response to
 this notice.




 User Id                          Date Added                Comment




DFS-10-363
Rev. 11/2007
               Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 86 of 97 PageID 96




   WEST PALM BEACH, FL
   222 LAKE VIEW AVENUE
        SUITE 1250
WEST PALM BEACH. FL     33401                                  September 20, 2018
 TELEPHONE: (561) 855-2120
     FAX: (561) 249-1213         .

                   via Email at usz.zunch.claims.documenzunc
                   Via Certified Mail, Return Receipt No. 7017 3380
                   Empire Indemnity Insurance Company
                   Attn: Claims Manager
                   1299 Zurich Way
                   Schaumberg, IL 60196-1056

                                        Ii'ittiJT1i1       T1            rL'L   iM;I'I'I'I'      Iii [   I4.flc]
                   c/o Illinois Corporation Service
                   801 Adlai Stevenson Drive
                   Springfield, IL 62703



                   Empire Indemnity Insurance Company
                   1299 Zurich Way
                   Schaumberq, IL 60196-1056
                     Z{              iuII.i              Condominium Homes Condominium
                                               Association, Inc.
                                Claim No.:     5630013280
                                Policy No:     ECL9490372-04
                                Date of Loss:
                                         I
                                               September 10, 2017
                                Loss I cation: 9050,            Palmas Grandes Boulevard, Bonita
                                                                 1 ••

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                         Thank you for your professional courtesy and assistance in this regard.
                   Should you have any questions or concerns, please do not hesitate to contact the
                   undersigned.

                                                                 Sincerely,

                                                                 i'i11   1II I V.VA'LcI 11.111

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                   SJM/vsq
                                                                         V1tL*r.iujia:
                   Enclosures
                   cc: Las Brisas Condominium Homes
                                                               MerlinLawGroup.com
                                                                                                                   EEXHIBIT
                      American Building Contractors, 1 &g: PropertylnsuranceCoverageLaw.com
                            Chicago, IL • Denver, CO • Houston, TX Los Angeles, CA • New York, NY Phoenix, AZ
                                                                                                            °                 J
                                                 Red Bank, NJ e Tampa, FL • West Palm Beach, FL
            Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 87 of 97 PageID 97




                                                                                                    M
                                                                                                      08/07/2019
                         Via Certifled/Return Receipt and Electronic Mail

                         Las Brisas Condominium Homes Condominium Association, Inc.
                         C/O Merlin Law Group
                         Attn: Shaun Marker
                         222 Lakeview Ave, Suite 1250
                         West Palm Beach, FL 33401

                         RE: Claim Number:        5630021444
                         Named Insured:           Las Brisas Condominium Homes Condominium Association, Inc.
                         Policy Number:           ECL-9490372-04
                         Date of Loss:            09-10-2017
                         Loss Location:           9070 Palmas Grandes Blvd, 4 buildings Bonita Springs, FL
                         Company:                 Empire Indemnity Ins. Co.

Zurich North America     Dear Mr. Shaun Marker,
P0 Box 968057
Schaumburg, IL 60196      Please allow this correspondence to serve as Empire Indemnity Insurance Company's
Phone     941-708.0278
                         demand for appraisal pursuant to Policy No. ECL-9490372-04 (the "Policy"), with an
Fax:      855-856.5666   effective Policy period of March 27th, 2017 to March 27th, 2018, for the properties located
                         at 9070 Palmas Grandes Blvd, 4 buildings Bonita Springs (the "Property").
Scott Kiaben
General Adjuster
                         We refer you to the pertinent Policy language:

                         FLORIDA CHANCES MEDIATION OR APPRAISAL
                                                   -


                         (COMMERCIAL RESIDENTIAL PROPERTY)
                         Mediation Or Appraisal

                         If we and you:

                         B. Disagree on the value of the property or the amount of loss, either may request an
                            appraisal of the loss, in writing. In this event, each party will select a competent and
                            impartial appraiser. The two appraisers will select an umpire. If they cannot agree, either
                            may request that selection be made by a judge of a court having jurisdiction. The
                            appraisers will state separately the value of the property and amount of loss. If they fail to
                            agree, they will submit their differences to the umpire. A decision agreed to by any two
                            will be binding. Each party will:

                           1.Pay its chosen appraiser; and
                           2. Bear the other expenses of the appraisal and umpire equally.

                           If there is an appraisal, we will still retain our right to deny the claim.
                           However, you are not required to submit to, or participate in, any appraisal of the loss as a
                           precondition to action against us for failure to pay the loss, if we:


                          1.Requested mediation and either party rejected the mediation result; or

                          2. Failed to notify you of your right to participate in the mediation program.
Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 88 of 97 PageID 98




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           Empire Indemnity Insurance Company names its appraiser as Patrick Lewis whose contact
           information is:

                                                   Patrick Lewis
                                                 70 Lawton Ave.
                                                Oviedo, FL 32765
                                              Office: (407) 353-0266
                                               Cell: (407) 466-6626
                                              plewis@ics-llcinc.com

           Please notify the undersigned of the competent and impartial appraiser selected by the
           Insured, so that the two might select a umpire.

           By demanding appraisal, Empire Indemnity Insurance Company does not intend to waive any
           defences or rights, or any terms or conditions of the Policy. Empire Indemnity Insurance
           Company expressly reserves all rights as set forth in the Policy and Florida Statutes.

           By this letter, we reserve all of our rights and defences available under the policy and at law.
           Our investigation of the claim and all efforts taken in regard to the determination of coverage
           was without waiver of the terms and conditions of the policy.

           Empire Indemnity Insurance Company


           Scott Klaben
           941-204-7356 (Office)
           General Adjuster
           Scott.Klaben@Zurichna.com
       Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 89 of 97 PageID 99



                                                                              fii141ti


                                                                                                            08/03/2020
                             Via Certified/Return Receipt and Electronic Mail

                             Las Brisas Condominium Homes Condominium Association, Inc.
                             C/O Merlin Law Group
                             Attn: Shaun Marker
                             222 Lakeview Ave, Suite 1250
                             West Palm Beach, FL 33401

                             RE: Claim Number:           5630021444
                             Named Insured:              Las Brisas Condominium Homes Condominium Association, Inc.
                             Policy Number:              ECL-9490372-04
                             Date of Loss:               09-10-2017
                             Loss Location:              9070 Palmas Grandes Blvd, 4 buildings Bonita Springs, FL
                             Company:                    Empire Indemnity Ins. Co.

Zurich North America             Dear Mr. Marker:
P0 Box 968057
Schaumburg. IL 60196             This follows our recent discussion about the Appraisal Award signed on July 8, 2020, by two out
          94l7O8278
                                 of three members of the appraisal panel. The appraisal resolved the dispute on actual cash
Fax:      855456-5666            value. Empire is prepared to pay the actual cash value of the appraisal award after applying
                                 deductibles and prior payments, resulting in a net payment due of $272,257.81. This letter
Scott Kiaben                     explains how I arrived at this amount.
General Adjuster
                                 For ease of reference, please find the pertinent part of the appraisal award below.


                                         Coverage               RC Amount Of Loss                    ACV Amount Of Loss

                                  Building: 28060 Palmas Grandes
                                         Roof                          $331,436.95                        $294.727.93
                                         Emergency Services            Not Appraised
                                         Interior Repairs              Not Appraised
                                 Building: 9060 Palmas Grandes
                                         Roof                          $56,389.60                          $50,673.23
                                         Emergency Services            Not Appraised
                                         Interior Repairs              Not Appraised
                                  Building 9050 Palmas Grandes
                                         Roof                          $29.425.15                          $26.513.04
                                         Emergency Services           -Not Appraised
                                         Interior Repairs              Not Appraised

                                 Building 9070 Palmas Grandes
                                        Roof                           $330978.37                         $294.319.82
                                        Emergency Services             Not Appraised
                                        Interior Repairs               Not Appraised




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                          Page 2




                          The following chart explains how the Appraisal Award figures were used to calculate the payment
                          of actual cash value.




                          Las Brisas has not performed the roof repairs. Therefore, Empire owes only actual cash value
                          until repairs are performed in accordance with the scope of the estimate attached to the Appraisal
                          Award. When the roof repairs are performed within the scope of the Appraisal Award, Empire
                          will pay Las Brisas the total amount actual spent for such repairs up to the RCV amounts
                          indicated, minus prior payments and deductibles, resulting in a maximum net payment of
                           $89,083.94, as calculated in the chart above as Recoverable Depreciation. The following policy
                          provision sets forth the requirements for payment of Replacement Cost benefits:

                          3. Replacement Coat
                              a. Replacement Cost (without deduction for depreciation) replaces Actual Cash Value in the
                                 Loss Condition, Valuation, of this Coverage Form.
                              b. This Optional Coverage does not apply to:
                                (1)Personal property of others;
                                (2)Contents of a residence; or
                                (3)Works of art, antiques or rare articles, including etchings, pictures, statuary, marbles,
                                    bronzes, porcelains and bric-a-brac. Under the terms of this Replacement Cost Optional
                                    Coverage, personal property owned Indivisibly by all unit-owners, and the property
                                    covered under Paragraph A.1.a.(6) of this Coverage Form, are not considered to be the
                                    personal property of others.
                                    c. You may make a claim for loss or damage covered by this insurance on an actual
                                        cash value basis instead of on a replacement cost basis. In the event you elect to
                                        have loss or damage settled on an actual cash value basis, you may still make a claim
                                        for the additional coverage this Optional Coverage provides if you notify us of your
                                        intent to do so within 180 days after the loss or damage.
                                    d. We will not pay on a replacement cost basis for any loss or damage:
                                       (1)Until the lost or damaged property is actually repaired or replaced; and
                                       (2)Unless the repairs or replacement are made as soon as reasonably possible after

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Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 91 of 97 PageID 101




                       Page 3
                                      the loss or damage.




                                 a. We will not pay more for loss or damage on a replacement cost basis than the least of
                                    (1), (2) or (3), subject to f. below:
                                    (1) The Limit of Insurance applicable to the lost or damaged property;

                                 2) The cost to replace the lost or damaged property with other property:
                                    (a) Of comparable material and quality; and
                                    (b) Used for the same purpose; or
                                (3) The amount actually spent that is necessary to repair or replace the lost or damaged
                                     property. If a building Is rebuilt at a new premises, the cost described In e.(2) above is
                                     limited to the cost which would have been Incurred If the building had been rebuilt at
                                     the original premises.
                                F.   The cost of repair or replacement does not include the increased cost attributable to
                                     enforcement of any ordinance or law regulating the construction, use or repair of any
                                     property.

                       Note also that the Appraisal Award did not appraise Law and Ordinance. Ordinance or Law
                       coverage exists only for those repairs occurring within two (2) year of the date of loss. Therefore,
                       the deadline for recovery of such benefits has expired. The following provision in the Ordinance
                       or Law Coverage endorsement sets forth the requirements for this coverage.

                           Unless Paragraph E.5 applies, loss payment under Coverage C -Increased Cost of
                           Construction will be determined as follows:

                           a. We will note pay under coverage C:
                             (I) Until the property is actually repaired or replaced, at the same or another premise; and
                             (2) Unless the repairs or replacement are made as soon as reasonably possible after the loss
                                  or damage, not to exceed two years. We may extend this period in writing during the
                                  two years.



                       Please notify me immediately if you disagree with my calculation of the post-Appraisal Award
                       ACV payment due.

                       Regards,



                       Scott Klaben
                       Empire Indemnity Insurance Company
                       941-204-7356 (Office)
                       General Adjuster
                       Scott.Klaben@Zurichna.com




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Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 92 of 97 PageID 102




           Zurich
           P.O. Box 66941
           Chicago, IL 60666




                               Merlin Law Group
                               Attn: Shaun Marker, Esq.
                               222 Lakeview Ave. Suite 1250
                               West Palm Beach, FL. 33401
   Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 93 of 97 PageID 103




                            ARgmisal Of Insurance Claim            -       Award Form

       Insured:              Las Brisas Condominium Homes Condominium Association
       Loss Location:        28060 Palmas Grandes Lane, Bonita Springs, FL 34135
       Insurance Co:         Zurich NA
       Policy #:             9490372
       Claim#:               5630021444
       Date of Loss:         September 10, 2017



We, the undersigned appraisers, have investigated and considered all the material facts and available
information pertaining to this claim and have decided on the appraisal award as described below.
       Coverage                RC Amount Of Loss                   ACV Amount Of Lou

Building: 28060 Palmas Grandes
       Roof                           $331,436.95                               $294,727.93
       Emergency Services             Not Appraised
       Interior Repairs               Not Appraised

Building: 9060 Palmas Grandes
       Roof                           $56,389.60                                $50,673.23
       Emergency Services             Not Appraised
       Interior Repairs               Not Appraised

Building 9050 Palmas Grandes
       Roof                           $330,978.37                               $294,319.82
       Emergency Services             Not Appraised
       Interior Repairs               Not Appraised

Building 9070 Palmas Grandes
       Roof                           $29,425.15                                $26,513.04
       Emergency Services             Not Appraised
       Interior Repairs               Not Appraised

                    Per Attached Estimate which is an integral part of this award document.
This appraisal award shall be valid and binding upon all parties concerned when at least two of the three parties
named below concur in a decision, as evidenced by their signatures below. This award is made without any
consideration of any deductible amount, prior payments issued to the insured or any other terms, conditions,
provisions or exclusions of the above policy. This award is made subject to the terms and conditions of the
policy.




The deliberation of the appraisal panel is confidential and exempt from deposit ions or suit in case the award is
challenged, or a bad faith claim is filed. Furthermore, to the maximum extent permitted by law, no party will
assert any claims against the named appraisers or-named umpireor their respective firms, seeking to hold them
or their firms liable for any act or omission in performing their duties'as an appraiser or umpire.

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       Insured:             Las Brisas Condominium Homes Condominium Association
       Loss Location:       28060 Palmas Grandes Lane, Bonita Springs, FL 34135
       Insurance Co:        Zurich NA
       Policy M.            9490372
       Claim#:              5630021444
       Date of Loss:        September 10, 2017


All executed copies shall be considered as counterpart originals,




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        ror The Insured




 Tpraiser or     e I" ii
                                                                         .       fl Digitally signed by
                                                                    IVHC         adL
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                                                                                     Date:12020.07.13
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         Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 95 of 97 PageID 105
Filing# 118528354 E-Filed 12/21/2020 10:39:22 AM



                            IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL
                                 CIRCUIT IN AND FOR LEE COUNTY, FLORIDA

                                                CIVIL DIVISION

                                                                                   CASE NO.:   20—CA-008541
        LAS BRISAS CONDOMINIUM HOMES
        CONDOMINIUM ASSOCIATION, INC.,

                 Plaintiff,

        vs.

        EMPIRE INDEMNITY INSURANCE COMPANY,

                 Defendant.
                                                             /

                            NOTICE OF PROVIDING ELECTRONIC MAIL ADDRESS

                 PLEASE TAKE NOTICE that the following email addresses are to be used for

        mandatory electronic service pursuant to Florida's Rule of Judicial Administration Rule

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                                             •jA '




                 Dated: December 21, 2020

                                                     Is! Shaun J. Marker, Esquire
                                                     SHAUN J. MARKER, ESQUIRE
                                                     Florida Bar No. 0017378
                                                     ROBERT H. GREGORY, ESQUIRE
                                                     Florida Bar No. 0101736
                                                     MERLIN LAW GROUP, P.A.
                                                     222 Lakeview Avenue, Suite 1250
                                                     West Palm Beach, FL 33401
                                                     561-855-2120 / 561-249-1283 fax
                                                     s. marker(merlinlawqroup. com
                                                     rqreqory(merlinlawqroup.com
                                                     dmyskowski(merlinlawqroup com
                                                     Attorneys for Petitioners
Case 2:21-cv-00041-KCD Document 1-3 Filed 01/15/21 Page 96 of 97 PageID 106

              12/23/2020 1:51 PM FILED LEE COUNTY CLERK OF COURTS

     IN THE CIRCUIT COURT FOR THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR
     LEE COUNTY, FLORIDA                                   CIVIL ACTION

                                          CASE NO: 20-CA-008541
LAS BRISAS CONDOMINIUM HOMES CONDOMINIUM ASSOCIATION INC
   Plaintiff
vs
EMPIRE INDEMNITY INSURANCE COMPANY
   Defendant


     STANDING ORDER IN CIVIL CASES IN THE TWENTIETH JUDICIAL CIRCUIT

                                          Amended March 10, 2020

        PURSUANT to Florida Rule of Civil Procedure 1.200(a), Florida Rule of Judicial
Administration 2.545, and Administrative Order 1.13 entered by the Chief Judge of this Circuit,
the parties are ordered to adhere to the following information and procedures applicable to civil
lawsuits:

        1. SERVICE OF THIS ORDER. The Plaintiff is directed to serve a copy of this order
with each Summons issued in this case. One copy of this Order is to be filed with the Clerk of
the Circuit Court with proof of service. The Plaintiff shall pay the appropriate statutory clerk's
fees on copies for each Standing Order issued and attached to the Summons.

        2. CIVIL CASE MANAGEMENT SYSTEM. The Supreme Court of Florida has
established guidelines for the prompt processing and resolution of civil cases. This Court has
adopted a case management system to help meet those guidelines. In contested cases (other than
residential mortgage foreclosures which have a separate standing order and case management
track), and involuntary commitment of sexually violent predators "Jimmy Rice" cases unless
otherwise ordered by the presiding judge, the parties are required to participate in the case
management system The case management system requires early consultation and cooperation
among the parties for the preparation and submission of an Agreed Case Management Plan, early
interaction with a Civil Case Manager and early involvement by the Court. The Agreed Case
Management Plan requires the parties to identify a case track, confer in a good faith attempt to
narrow the matters in controversy, identify the issues that require direct involvement by the
Court, and establish a schedule for addressing those issues.' The Agreed Case Management Plan
may be accessed at the Court's website at: [http://www.ca.cjis20.org/web/main/civil.asp].
        Unless all of the Defendants have been served and have defaulted, an Agreed Case
Management Plan will be submitted to Lee County Civil Case Management, at 1700 Monroe
Street Fort Myers, Florida 33919 or by email to CivilcmCa.cjis20.org, on or before 150 days
from the date of filing of the initial complaint. If all defendants have been defaulted an Agreed
Case Management Plan is not required and the plaintiff shall file a Motion for a Default Final

1
    Case Track options include Expedited, Standard or Complex. Case Tracks have been established in order to
comply with the case disposition standards set forth in Florida Rule of Judicial Administration 2.250(a)(1)(B).
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Judgment and set same for an evidentiary hearing. If the parties are unable to agree on an Agreed
Case Management Plan, a case management conference will be scheduled by the Court. If a case
management conference is scheduled, attendance by trial counsel and those parties who are not
represented by counsel is mandatory.

        3. ALTERNATIVE DISPUTE RESOLUTION (ADR). ADR provides parties with an
out-of-court alternative to settling disagreements, The Court requires the parties to participate in
ADR prior to trial. Mediation is mandatory unless the parties agree to another form of ADR.
Mediation is a conference at which an independent third party attempts to arrange a settlement
between the parties. Non-binding arbitration maybe required for jury trials of more than 3 days
and non jury trials of more than 2 days or less at the discretion of the presiding judge.

        4. RULES OF PROFESSIONALISM. The Twentieth Judicial Circuit has adopted
Administrative Order 2.20, which sets forth standards of professional courtesy and conduct for
all counsel or pro-se litigants practicing within the Circuit. The Court requires that all
familiarize themselves and comply with Administrative Order 2.20. Administrative Order 2.20
may be viewed on the Court's website at: http://www.ca.ciis20.org/web/main/ao admin.asp

         5. CONTACT INFORMATION. Attorneys and self-represented litigants are required
to keep the court apprised of their current address, telephone and email address. This information
is also required to be included in all pleadings filed in your case.

       DONE AND ORDERED in Chambers at Fort Myers, Lee County, Florida.


                                                             /s/Alane C. Laboda
                                                             Administrative Circuit Judge



****original on file in the office of the Circuit Court Administrative Judge, Lee County
